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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION

 CARLOS TURNER                          :
 265 WOODSTREAM DRIVE
 SPRINGBORO, OH 45066                   :     JUDGE: RICE/GENTRY
                                              CASE NO.: 3:23-cv-00371
 and                                    :

 DIANA DAVOLI-TURNER                    :
 265 WOODSTREAM DRIVE
 SPRINGBORO, OH 45066                   :

 and                                    :

 MIAMI VALLEY FAIR HOUSING              :
 CENTER, INC.
 505 RIVERSIDE DRIVE                    :
 DAYTON, OH 45406
                                        :
      Plaintiffs,
                                        :
 v.
                                        :
 HENLEY APPRAISALS, LLC
 ATTN: US CORP. OF AGENTS               :
 1991 CROCKER ROAD, #600-755
 WESTLAKE, OH 44145                     :

 and                                    :

 KEVIN D. HENLEY                        :
 1818 ASHLEY DRIVE
 MIAMISBURG, OH 45342                   :

 and                                    :

 U.S. BANCORP, INC. D/B/A               :     AMENDED COMPLAINT
 U.S. BANK                                    JURY TRIAL DEMANDED
 800 NICOLLET MALL                      :
 MINNEAPOLIS, MN 55402
                                        :
 and
                                        :

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    U.S. BANK NATIONAL                                        :
    ASSOCIATION
    ATTN: CT Corporation System                               :
    4400 EASTON COMMONS WAY,
    SUITE #125                                                :
    COLUMBUS, OH 43219
                                                              :
       Defendants.


                                                    COMPLAINT

           Now come Plaintiffs, Carlos Turner, Diana Davoli-Turner, and the Miami Valley Fair

Housing Center, Inc. (collectively the “Plaintiffs”), by and through counsel, and for their

AMENDED COMPLAINT1 state as follows:

                                                 INTRODUCTION

       1. Plaintiffs bring this civil action for damages, injunctive relief, and declaratory relief against

          Defendants, Henley Appraisals, LLC, Kevin D. Henley, U.S. Bancorp, Inc. d/b/a U.S. Bank,

          and U.S. Bank National Association (collectively the “Defendants”), to seek redress for

          violations of the Fair Housing Act, 42 U.S.C. § 3601 et seq., the Equal Credit Opportunity

          Act, 15 U.S.C. § 1691 et seq., the Civil Rights Act of 1866, 42 U.S.C. §§ 1981, 1982, the

          Ohio Fair Housing Act, Ohio Rev. Code § 4112.01, et seq., and Ohio tort law.

       2. Defendants, Henley Appraisals, LLC, and Kevin Henley, discriminated against Plaintiffs,

          Carlos Turner and Diana Davoli-Turner, by dramatically undervaluing their home in an

          appraisal because of the race of Plaintiff Carlos Turner and national origin of Plaintiff Diana

          Davoli-Turner.

       3. Plaintiff Carlos Turner is a Black, African-American male. Plaintiff Diana Davoli-Turner is

          a Canadian citizen with permanent residency in the United States.



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    This Amended Complaint is timely filed pursuant to Fed. R. Civ. P. 15(a)(1).

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   4. Defendants, U.S. Bancorp, Inc. d/b/a U.S. Bank, and U.S. Bank National Association

     (collectively referred to as “U.S. Bank”), discriminated against Plaintiffs, Carlos Turner and

     Diana Davoli-Turner, by knowingly relying on the discriminatory appraisal to deny

     Plaintiffs lending and financing opportunities, and by failing to maintain any supervision or

     review process over appraisals when discrimination complaints are made.

   5. Defendant U.S. Bank further discriminated against Carlos Turner because of his race and

     Diana Davoli-Turner because of her national origin when they offered unfavorable terms

     and conditions in applying for and extending credit to the Turner Plaintiffs.

   6. Defendant U.S. Bank further discriminated against Plaintiffs by asking inappropriate

     questions and making unlawful statements to Plaintiff Diana Davoli-Turner regarding her

     citizenship status prior to the appraisal process.

   7. Plaintiff Diana Davoli Turner visited a branch and discussed at length her national origin

     and the race of Plaintiff Carlos Turner which resulted in discriminatory treatment throughout

     the loan process. Additionally, U.S. Bank created unlawful barriers for the Turner Plaintiffs

     to refinance their home, which resulted in significant delay and further harmed Plaintiffs.

   8. Defendants’ discriminatory misconduct frustrates the mission of Plaintiff, the Miami Valley

     Fair Housing Center, and forced them to divert their scarce resources to counteract the

     discrimination.

   9. Plaintiffs, Diana Davoli-Turner, owns real property at 265 Woodstream Drive, Springboro,

     OH 45066 (the “Subject Property” or “residence”). Plaintiff, Carlos Turner, resides at the

     Subject Property. The Subject Property in Springboro is a large home, with nearly 4,000 SQ

     FT of living area with a 2-car attached garage. Springboro, as well as the Turner Plaintiffs’

     neighborhood, is predominantly white, with the Black population making up less than 2%



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     of the town’s total population. The Turner Plaintiffs purchased their home in November

     2020 for $442,000 and made substantial alterations and improvements to the property after

     that time.

   10. Defendants, Henley Appraisals, LLC, and Kevin D. Henley violated the federal and state

     Fair Housing Act, the Civil Rights Act of 1866, and state tort law when they dramatically

     undervalued the Subject Property. Defendant Henley Appraisals, LLC knew or should have

     known that the significant undervaluing of the Subject Property would result in adverse

     credit decisions by the lender, U.S. Bank.

   11. Defendant, U.S. Bank, violated the federal and state Fair Housing Act, the Civil Rights Act

      of 1866, the Equal Credit Opportunity Act, and state tort law when they denied the Turner

      Plaintiffs’ refinance loan and home equity loan applications for pretextual reasons.

      Defendant, U.S. Bank, further violated the state and federal Fair Housing Act when they

      imposed unfavorable terms and conditions on the Turner Plaintiffs and offered them a less

      favorable Home Equity Line of Credit (“HELOC”) at 60% Loan to Value (LtV) with a

      variable interest rate rather than a fixed interest rate.

   12. U.S. Bank, by and through its employees and loan officers, stated that they could not do

      80% LtV, which is U.S. Bank’s standard practice, because of Diana Davoli-Turner’s

      national origin.

   13. Defendant, U.S. Bank, ignored critical civil rights protections for consumers when they

      failed to supervise or audit Defendant Henley Appraisals, LLC’s appraisal of the Subject

      Property, and failed to offer an appeals process to Plaintiffs to protect them from Henley’s

      discriminatory appraisal.




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   14. Defendants’ appraisal and interactions with the Turner Plaintiffs are consistent with a

      pattern of discriminatorily undervaluing homes and offering unfavorable loan terms to

      minorities. As a resident, Carlos Turner was discriminated against in housing because of

      his race and Diana Davoli Turner, as the owner of the residence, was treated less favorably

      in the appraisal and lending process because of her national origin.

   15. The Turner Plaintiffs informed Defendant, U.S. Bank that Defendant, Henley Appraisals,

      LLC’s appraisal was riddled with errors and omissions. Central to the complaints to U.S.

      Bank was that the Henley Defendants’ appraisal was biased and prejudiced against them

      because of Carlos Turner’s race and Diana Davoli Turner’s national origin. Despite

      Plaintiffs’ complaints, U.S. Bank failed to offer an independent appraisal of the Subject

      Property or offer any type of appeals process. This fact is made particularly egregious when

      considering that an exterior only appraisal that did not take into account the recently

      finished basement arrived at a value in excess of Henley’s discriminatory appraisal. U.S.

      Bank failed to take any substantive action to remedy or correct Henley’s wrongdoing.

   16. Plaintiffs later conducted a “whitewashed” appraisal with an independent appraiser.

      Plaintiffs whitewashed the Subject Property by removing all family photographs and

      artwork that would be associated with Black or Canadian culture.

   17. The independent appraiser valued the Subject Property at $655,000, more than 39% percent

      higher than that of Defendant Kevin Henley of Henley Appraisals, LLC. That value far

      outpaces the year over year increase in property values in Springboro and the Turner

      Plaintiffs’ neighborhood. There is no legitimate justification for the Henley Defendants’

      appraisal to come back 39% percent less than the Whitewashed Appraisal. Had U.S. Bank

      performed this reappraisal a year earlier, the Turner Plaintiffs would have secured a loan



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      that would meet both their short-term and long-term goals, and the loan process would not

      have been influenced by the discriminatory motivations of the Henley Defendants.

   18. The final home appraisal (the “Whitewashed Appraisal”) was more consistent with the real

      estate market in the area.

   19. Defendants’ unlawful actions resulted in harm to Plaintiffs. The Turner Plaintiffs lost the

      opportunity to refinance their home with an interest rate of 4%. The Turner Plaintiffs also

      lost the opportunity to obtain a home equity loan at 5.9%. They had to obtain a HELOC at

      a variable rate which is now over 10%. Furthermore, the HELOC had significantly worse

      terms and conditions compared to the original refinance loan for which they applied and

      that was advertised and available to other applicants of U.S. Bank at the same time.

   20. Upon information and belief, the Henley appraisal would have been closer in line to the

      Whitewashed Appraisal and U.S. Bank would not have endorsed the discriminatory

      appraisal but for Carlos Turner being a Black, African-American male, and Diana Davoli

      Turner being Canadian.

   21. During the period that the Turner Plaintiffs pursued a loan with U.S. Bank and attempted

      to overcome various barriers created by U.S. Bank’s actions and discriminatory LtV

      policies, refinance rates in the Cincinnati market increased by approximately 2%.

   22. As a result of Defendants’ unlawful actions, the Turner Plaintiffs contacted the Plaintiff,

      Miami Valley Fair Housing Center, Inc., to see what their rights were. Plaintiff, Miami

      Valley Fair Housing Center (“MVFHC”), launched an investigation into the alleged

      lending and financing discrimination. Defendants’ discriminatory misconduct forced

      MVFHC to drain their limited resources. Defendants’ unlawful actions impaired MVFHC’s

      ability to operate as a fair housing organization.



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   23. Plaintiffs suffered concrete and particularized harm and injury as a result of Defendants’

      unlawful actions as described herein.

   24. Now come Plaintiffs seeking injunctive relief, damages, and any other relief that they are

      entitled to in this action.

                                    JURISDICTION AND VENUE

   25. Jurisdiction is appropriate in that this civil action is brought under the Federal Fair Housing

      Act (“FHA”), Federal Fair Housing Amendments Act (“FHAA”), 42 U.S.C. §§ 3601, et

      seq., the Equal Credit Opportunity Act, and the Civil Rights Act of 1866.

   26. This Court has jurisdiction over this matter pursuant to 28 U.S.C. § 1331, as the complaint

      raises federal questions under the FHA, FHAA, the Equal Credit Opportunity Act, and the

      Civil Rights Act of 1866. Additionally, this Court has supplemental jurisdiction over related

      state law claims, Ohio Rev. Code § 4112.01, et seq. (the “Ohio Fair Housing Act”), and

      Plaintiffs’ Ohio tort law claims, under 28 U.S.C. § 1367.

   27. The Defendants are subject to the jurisdiction of this Court as they are “Persons” under the

      FHA and Ohio Fair Housing Act, and the acts described herein occurred primarily in

      Springboro, Ohio.

   28. Defendants conduct business across Ohio, including in Warren County, Ohio. Each

      Defendant conducts substantial business in the greater Miami Valley region.

   29. Venue is proper in this Court in that the discriminatory acts occurred primarily in

      Springboro, Ohio.

   30. Wherefore, Plaintiff respectfully requests that this Court take jurisdiction of this Complaint

      and award such relief as is appropriate under the federal and state fair housing laws.




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                                            PARTIES

   31. Plaintiff, Carlos Turner (“Plaintiff Turner”), is a Springboro, Ohio resident. Plaintiff Turner

      is a Black, African-American male. Plaintiff Turner resides at the Subject Property with

      Plaintiff Diana Davoli-Turner. Plaintiff Turner is collectively referred to as the “Turner

      Plaintiffs” throughout this Complaint along with Plaintiff, Diana Davoli-Turner.

   32. Plaintiff, Diana Davoli-Turner (“Plaintiff Davoli-Turner”), is a Springboro, Ohio resident.

      Plaintiff Davoli-Turner is a Canadian citizen and permanent resident of the United States.

      Plaintiff, Diana Davoli-Turner, is collectively referred to as the “Turner Plaintiffs”

      throughout this Complaint along with Plaintiff, Carlos Turner.

   33. Plaintiff, Miami Valley Fair Housing Center, Inc. (“MVFHC”), is a private, non-profit

      corporation, organized under the laws of the State of Ohio. MVFHC is governed by a

      volunteer board of directors and has a principal place of business in Dayton, Montgomery

      County, Ohio. The mission of MVFHC is to eliminate housing discrimination and ensure

      equal housing opportunity for all people in the region, the State of Ohio, and nationally.

   34. Defendant, Henley Appraisals, LLC, is an Ohio corporation. Upon information and belief,

      Kevin D. Henley is a licensed appraiser and the owner of Henley Appraisals, LLC.

      Defendant maintains a principal place of business at 1818 Ashley Drive Miamisburg, OH

      45342. Throughout the Complaint, this Defendant is collectively referred to as “Defendant

      Henley” or the “Henley Defendants” along with Defendant, Kevin D. Henley.

   35. Defendant, Kevin D. Henley, is a Miamisburg, Ohio resident. Defendant Kevin Henley

      owns, operates, and manages Defendant, Henley Appraisals, LLC. Throughout the

      Complaint, this Defendant is collectively referred to as “Defendant Henley” or the “Henley

      Defendants” along with Defendant, Henley Appraisals, LLC.



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   36. Defendant, U.S. Bancorp, Inc. (hereinafter “U.S. Bank”), is an American bank holding

      company based in Minneapolis, Minnesota, and incorporated in Delaware. It is the parent

      company of U.S. Bank National Association, and it is the fifth largest banking institution

      in the United States. Defendant, U.S. Bank does business across the United States,

      including in the State of Ohio, and the Miami Valley region.

   37. Defendant, U.S. Bank National Association (collectively referred to as “U.S. Bank” along

      with its parent company, U.S. Bancorp, Inc.) is a large bank that offers a range of services

      and products. The U.S. Bank National Association provides banking and lending services

      throughout the United States. This Defendant does business across the united States,

      including the State of Ohio, and the Miami Valley region.

   38. Defendant, U.S. Bank’s, business is subject to laws that regulate the method by which

      appraisals are ordered and reviewed. These laws also regulate its interactions with

      appraisers.

   39. In acting or omitting to act as alleged herein, each Defendant acted through its employees,

      officers, and/or agents and is liable on the basis of the acts and omissions of its employees,

      officers, and/or agents.

   40. In acting or omitting to act as alleged herein, each employee, officer, or agent of each

      Defendant was acting in the course and scope of his or her actual or apparent authority

      pursuant to such agencies, or the alleged acts or omissions of each employee or officer as

      agent was subsequently ratified and adopted by one or more Defendants as principal.

                                            FACTS

   41. Plaintiffs reallege and restate each and every allegation contained in Paragraphs 1 through

      40 as if fully restated herein.



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     42. Plaintiff Turner is a Black, African-American male and therefore protected from

         discrimination on the basis of race. Plaintiff Turner resides at the Subject Property with

         Plaintiff Davoli-Turner. Plaintiff Turner is also a guarantor and mortgagor on the Turner

         Plaintiffs’ mortgages.

     43. Plaintiff Turner and Plaintiff Davoli-Turner are an “aggrieved person” under 42 U.S.C.

         3602(i).2 Plaintiff Turner was injured by a discriminatory practice on the basis of his race

         as a Black, African-American male, and his wife, Plaintiff Davoli-Turner, was injured by

         a discriminatory practice because of her national origin.

     44. Plaintiff Davoli-Turner is a Canadian citizen with permanent residency in the United

         States. She is protected from discrimination on the basis of national origin. Plaintiff Davoli-

         Turner handled most of the communications with Defendants because she is the owner and

         co-mortgagor of the Subject Property and more familiar with credit transactions. Plaintiff

         Davoli-Turner shares the residence with her family, including Plaintiff Turner and their

         children.

     45. The Turner Plaintiffs’ residence (i.e., the Subject Property) is a large home built in 2012. It

         has nearly 4,000 square feet of living space with 4 bedrooms and 2.5 bathrooms. Prior to

         the Turner Plaintiffs’ purchasing the Subject Property, it had an unfinished basement.

     46. The Turner Plaintiffs purchased the Subject Property in November 2020 for approximately

         $442,000.00 when interest rates were at a historic low. The Turner Plaintiffs are both

         guarantors and mortgagors.




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  An “aggrieved person” under the FHA includes any person who is (1) injured by a discriminatory housing practice;
 or (2) believes that such a person will be injured by a discriminatory housing practice that is about to occur. 42
 U.S.C. 3602(i). The Supreme Court has repeatedly written that the FHA’s definition of person “aggrieved” reflects a
 congressional intent to confer standing broadly. Bank of Am. Corp. v. City of Miami, 581 U.S. 189, 197 (2017).

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    47. After taking possession of the Subject Property, the Turner Plaintiffs made substantial

       improvements to the Subject Property. The improvements included, but were not limited

       to, finishing the basement to increase the livable space at the Subject Property and

       providing general maintenance and upgrades to the residence. The cost to refinish the

       basement was in excess of $30,000.00. Since rates were beginning to rise, the Turner

       Plaintiffs thought this was the right time to refinance their home to pay off debts they

       incurred in renovating and improving the Subject Property.

    48. The Turner Plaintiffs knew they would need an appraisal to determine the value of the

       Subject Property. Obtaining a real estate appraisal is generally a necessary step on the path

       to obtaining a mortgage or refinancing the mortgage of a house in the United States.

       Mortgage lenders require appraisals – defined by the Uniform Standards of Professional

       Appraisal Practice (USPAP) as professional, reasoned, and credible assessments of a

       property’s value as of a given date – before approving loans. With few exceptions, home

       buyers and borrowers cannot obtain a mortgage, and homeowners and borrowers cannot

       refinance a mortgage, without submitting to an appraisal. Because the vast majority of

       home sales in the United States require mortgage financing, the vast majority of home sales

       require the use of a professional appraiser to generate an appraisal report of value.

    49. The Turner Plaintiffs first contacted their lender at the time about refinancing. The Turner

       Plaintiffs obtained an appraisal that came back with a value of $520,000.00 in March 2022.

       This appraisal was conducted by Jeff Newsom of Appraisal Ohio, LLC. This appraisal is

       attached as Plaintiffs’ Exhibit #1.




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    50. The Turner Plaintiffs failed to lock in the interest rate with their lender at the time and rates

        began increasing while they shopped. Since their lender’s rate looked higher than others,

        the Turner Plaintiffs began looking elsewhere for better rates and terms.

    51. In March or April 2022, the Turner Plaintiffs observed advertisements to refinance at 4%

        by Defendant, U.S. Bank.

    52. Plaintiff Davoli-Turner then began communicating with U.S. Bank in order to refinance

        and cash out approximately $60,000.00. Plaintiff Davoli-Turner had a pre-existing

        relationship with U.S. Bank and thought they would be a good long-term partner. Plaintiff

        Turner also was familiar with U.S. Bank dating back to 2004 when he was required to sign

        loan paperwork to release his dower rights in a mortgage transaction. Plaintiff Turner also

        believed that U.S. Bank would be a good partner.

    53. The Turner Plaintiffs then completed an online loan application with Defendant U.S. Bank,

        in April 2022. The Turner Plaintiffs were denied after a hard credit check. The Turner

        Plaintiffs were unaware of any major delinquencies, so this prompted Plaintiff Davoli-

        Turner to visit U.S. Bank at a local branch, located 20 N Main St, Springboro, OH 45066.

    54. During that visit, Plaintiff Davoli-Turner was steered toward a home equity loan by a U.S.

        Bank employee named Stephanie. This occurred after a review of the Turner Plaintiffs’

        credit history. Defendant, U.S. Bank, provided a loan disclosure statement for a home

        equity loan of $55,000 at 5.9% interest, and a 20-year term. Plaintiff Davoli-Turner was

        told that approval of their home equity loan would not be an issue.

    55. Upon information and belief, Plaintiff Davoli-Turner went forward with that application as

        interest rates were beginning to steadily rise. Plaintiff Turner also knew that he would likely

        have to co-sign and guarantor any loan that was approved. As such, Plaintiff Turner and



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       Plaintiff Davoli-Turner worked collaboratively to participate and cooperate with U.S. Bank

       in obtaining credit.

    56. During the application phase, Plaintiff Davoli-Turner notified U.S. Bank that her family,

       including Plaintiff Turner resided at the residence. This disclosure put U.S. Bank on notice

       that multiple persons resided at the Subject Property and that its loan decisions would affect

       more than just Plaintiff Davoli-Turner.

    57. After a review of their application, Defendant, U.S. Bank, issued a second denial to the

       Turner Plaintiffs. Upon information and belief, there were no legitimate reasons for the

       denial.

    58. After a few days of communicating back and forth with Defendant, U.S. Bank, the Turner

       Plaintiffs received a new offer for a $15,000.00 home equity loan (the “Second Home

       Equity Loan”). This offer came with a 6.25% interest rate and 20-year term. Plaintiff

       Davoli-Turner confirmed there would not be an additional hard pull on their credit report.

       That representation was material to Plaintiff Davoli-Turner agreeing to move forward.

    59. A second hard credit check was made despite U.S. Bank’s promise not to do so. This

       represented a material misrepresentation in that it resulted in a new hard inquiry on Plaintiff

       Davoli-Turner’s credit report which further reduced her score and the chances of securing

       a fair loan.

    60. The Second Home Equity Loan was denied a few days later. The pretextual reasons given

       by Defendant U.S. Bank were (1) denial based on collateral; and (2) denial based on history

       of delinquency. Upon information and belief, these pretextual reasons were baseless as

       there was no significant history of delinquency, and their collateral was more than sufficient

       for the loan requested, as evidenced by Newsom’s earlier appraisal.



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    61. After extensive discussions, Plaintiff Davoli-Turner texted a U.S. Bank loan officer named

       Stephanie. Plaintiff Davoli-Turner also emailed Stephanie’s supervisor named Bruce.

       These communications were prompted by a prior verbal conversation with U.S Bank that

       they would be unable to do up to 80% Loan-to-Value Ratio (LtV) because of Plaintiff

       Davoli-Turner’s status as a Canadian.

    62. The U.S. Bank loan officer stated she could not confirm internal company policy. However,

       the Turner Plaintiffs and Plaintiff, MVFHC, later confirmed through the U.S. Bank website

       and U.S. Bank chat feature, that 80% LtV was the standard for U.S. Bank for their home

       equity loans.

    63. The MVFHC investigation demonstrated that 80% LtV for loans is the standard at U.S.

       Bank so long as you are from the United States, unlike Plaintiff Davoli-Turner, and not a

       Black, African-American male, unlike Plaintiff Turner.

    64. After this, in April 2022, Defendant U.S. Bank, requested that Plaintiff Davoli-Turner

       email U.S. Bank her green card as evidence of her Permanent Resident status. Although

       Plaintiff Davoli-Turner questioned the legitimacy and reason for the request, she provided

       the requested information to U.S. Bank.

    65. This request, along with the discussion about the change in LtV policy, placed Plaintiff

       Davoli-Turner on high alert of potential lending and financing discrimination from U.S.

       Bank.

    66. After providing the requested paperwork, the Turner Plaintiffs were told by U.S. Bank that

       a Home Equity Line of Credit (HELOC) could be approved. The Turner Plaintiffs

       completed yet another application with Defendant U.S. Bank. U.S. Bank, for the first time,




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       ordered an appraisal of the Subject Property even though it had been appraised just 27 days

       before in March 2022.

    67. As referenced in this Complaint, the first appraisal came back and valued the Subject

       Property at $520,000. The Turner Plaintiffs were told first by Defendant U.S. Bank that the

       appraisal had to have occurred within thirty (30) days. When Plaintiff Davoli-Turner

       questioned why the appraisal from 27 days prior was not valid, U.S. Bank altered its

       rationale and instead stated that they preferred to use their own appraisers. As such, a new

       appraisal initiated by U.S. Bank was ordered.

    68. The second appraisal was an external, drive-by appraisal, conducted by Thomas

       Augspurger of Residential Equity Specialists. The second drive-by appraisal valued the

       Subject Property at $485,000. That appraisal did not consider the improvements to the

       interior, including the recently finished basement and increased living space. This appraisal

       is attached as Plaintiffs’ Exhibit #2.

    69. Plaintiff Davoli-Turner initially questioned the Defendant, U.S. Bank about the appraisal,

       as it did not include a review of the interior of the residence. Defendant, U.S. Bank, and its

       loan officer, Stephanie, said they would work on overriding the second appraisal as it was

       unreliable.

    70. Defendant, Henley Appraisals, LLC, was then assigned to appraise the Subject Property on

       behalf of Defendant, U.S. Bank. Upon information and belief, Defendant Kevin Henley,

       owner of Defendant Henley Appraisals, LLC, visited the Subject Property when the Turner

       Plaintiffs were home. The sole purpose of the visit was to appraise the Subject Property on

       behalf of U.S. Bank.




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    71. The Henley Defendants: intentionally failed to measure, or incorrectly measured, inside

       the Subject Property; questioned why the Turners sent their children to a private Catholic

       school for athletics rather than Springboro High School; and failed to consider all other

       improvements and upgrades made by the Turner Plaintiffs at the Subject Property. The

       Henley Defendants’ appraisal is attached as Plaintiffs’ Exhibit #3.

    72. To appraise the Turner Plaintiff’s home, Defendant Henley used the sales comparison

       approach. In this common appraisal method, an appraiser assesses the value of a home by

       identifying recent sales prices of similar homes in the area, called “comparables” or

       “comps.” The rationale underlying this approach is that the sales prices of comparable

       properties from the same neighborhood from a similar time period are considered the best

       indicator of value. However, it simultaneously presents significant fair lending risks, as

       appraisers have broad discretion in selecting comps and establishing neighborhood

       boundaries, which opens the door for discrimination.

    73. As explained herein, the Henley Defendants’ undervaluation of the Turner Plaintiffs’ home

       reflected Defendant Henley’s belief that, because Plaintiff Turner is Black, and Plaintiff

       Davoli-Turner is not a U.S. citizen, but rather is from Canada, that they did not belong in

       Springboro, a predominantly white city made up primarily of affluent United States

       residents.

    74. Because of his discriminatory beliefs, Defendant Henley did not follow proper and well-

       established appraisal standards including searching for and selecting similar homes

       throughout the neighborhood to use as comps or measuring the interior of the property.

       Instead, Defendant Henley arbitrarily and without justification restricted the area from

       which he selected comps, selected ill-suited homes with low values as comps, intentionally



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       failed to accurately measure inside the residence, and further improperly devalued the

       comps he selected.

    75. Defendant, Henley Appraisals, LLC, undervalued the Subject Property at $470,000. This

       appraisal was riddled with errors, omissions, and intentional inaccuracies. For example:

           A. the square footage on the Turner Plaintiff’s home was incorrect,

           B. Defendant utilized older comps,

           C. the square footage inaccuracies inflated the square foot value of those comps,

           D. Defendant’s appraisal was $15,000 less than the second appraisal, which did not

               even include information about the recently finished basement or interior of the

               residence, and

           E. Defendant used one comp that was nineteen (19) months before the Turner

               Plaintiffs’ appraisal when the real estate market was substantially different and even

               pre-dated the Turner Plaintiff’s purchase of the Subject Property. The 266

               Woodstream comp may have been appropriate at the time of purchase, but it was

               not reliable 19 months later.

    76. After receiving this appraisal, Plaintiff Davoli-Turner questioned Defendant U.S. Bank on

       its veracity and inquired about her options to appeal the valuation. She requested

       reconsideration of the appraisal as there would be no rationale for this appraisal to come

       back over $50,000 less than the first appraisal, nor was there any legitimate reason that an

       appraisal of the entire property would come back $15,000 less than the second appraisal,

       which was merely a drive-by appraisal that did not take into consideration the recently

       finished basement and increased living space.




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    77. Plaintiff Davoli-Turner notified U.S. Bank that she suspected the appraisal was

       discriminatory in nature and infected with the Henley Defendants’ bias and prejudice.

       Rather than investigate the claims or offer the Turner Plaintiffs the opportunity to secure a

       new appraisal, U.S. Bank make an intentional and reckless decision to double down on

       their endorsement of Henley’s discriminatory appraisal by offering him a second

       opportunity to analyze the value of the Turner residence.

    78. Defendant, U.S. Bank then stated there would be no further reconsideration or appeals

       process and they would be utilizing Defendant Henley’s appraisal. Defendant, U.S. Bank,

       ignored the realities that the appraisal was flawed, riddled with errors and intentional

       inaccuracies, and came with an indication of bias because of the Turner-Henley

       conversations that Plaintiff Davoli-Turner reported to U.S. Bank.

    79. Bruce from U.S. Bank communicated with Plaintiff Davoli-Turner and acknowledged the

       errors and omissions in the Henley Defendants’ appraisal, yet he failed to take any

       substantive action to prevent the discriminatory appraisal from influencing U.S. Bank’s

       loan decision.

    80. In June 2022, Defendant, U.S. Bank offered a home equity line of credit (the “HELOC”)

       with a credit limit of $34,363.00 for 30-year term with a variable interest rate. This offer

       was made pursuant to the appraisal by Defendant, Henley Appraisals, LLC. The Turner

       Plaintiffs, having recognized that the real estate market was drastically changing, were

       forced to accept this offer due to changing market conditions and the discriminatory

       appraisal conducted by the Henley Defendants and endorsed by U.S. Bank. At U.S. Bank’s

       request, both Carlos Turner and Diana Davoli-Turner signed and executed the U.S. Bank

       loan paperwork.



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    81. U.S. Bank did not offer any appeals process for challenging the discriminatory appraisal.

       Furthermore, U.S. Bank went back to the Henley Defendants, who were already accused

       of discrimination by Plaintiff Davoli-Turner, just to obtain his second opinion, which was

       just as much affected by his discriminatory views as his initial appraisal. U.S. Bank can

       proffer no legitimate justification for such a decision after receiving complaints about

       Henley’s performance, demeanor, and potential bias and prejudicial views aimed at the

       Turner Plaintiffs and their children.

    82. U.S. Bank failed to properly train and supervise Bruce, Stephanie, and other employees

       who are unknown at this time, regarding: (1) how to analyze and evaluate loan applications;

       (2) how to process an appraisal appeal when discrimination is suspected; (3) how to audit

       or supervise the work of a contracted appraiser; and (4) how to underwrite a loan where

       appraisal discrimination has been suspected or reported.

    83. U.S. Bank had knowledge of the incompetence because U.S. Bank employees were notified

       by Plaintiff Davoli-Turner that there were several issues with the appraisal, and that

       discrimination was suspected, yet they took no meaningful action other than to ask the

       wrongdoer for a second opinion.

    84. Upon information and belief, U.S. Bank failed to train the employees referenced herein

       and then retained those employees to continue endorsing discriminatory appraisals. Upon

       information and belief, U.S. Bank also continued utilizing the Henley Defendants for

       appraisals after the Plaintiff Davoli-Turner’s complaints. Such negligence on the part of

       U.S. Bank and its employees caused significant injury to the Turner Plaintiffs and MVFHC.

    85. Because of the discriminatory appraisal, terms of the HELOC were drastically different

       than the original offers made by Defendant, U.S. Bank. The Turner Plaintiffs are now



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       paying variable interest, which is currently over 10% per month on the HELOC. A default

       would cause substantial harm to both Plaintiff Turner and Plaintiff Davoli-Turner as they

       both signed the loan paperwork that U.S. Bank required in order to become borrowers.

    86. The Henley Defendants intentionally discriminated against the Turner Plaintiffs in the

       provision of their appraisal services because of Plaintiff Turner’s race and Plaintiff Davoli-

       Turner’s national origin.

    87. The Henley Defendants treated Plaintiff Turner and Plaintiff Davoli-Turner differently in

       evaluating the Subject Property because of his beliefs that the Turner Plaintiffs did not

       belong in an affluent and primarily white community.

    88. U.S. Bank was made aware of this treatment during the loan process, yet they failed to act

       and instead endorsed the discriminatory treatment that the Turner Plaintiffs experienced.

    89. U.S. Bank intentionally discriminated against the Turner Plaintiffs by (1) endorsing the

       discriminatory appraisal; (2) offering Henley a second opportunity to negatively influence

       the lending process with his discriminatory views; (3) applying a new LtV standard after

       learning that Plaintiff Davoli-Turner was Canadian and residing with a Black, African-

       American male; (4) failing to initiate an appeals process for the Turner Plaintiffs whereby

       they could obtain an appraisal not infected with discriminatory animus towards them and

       their family; and (5) failing to properly train its staff on how to respond to an appraisal

       complaint.

    90. U.S. Bank’s policy of reducing the LtV from 80% for White, American citizens to 60% for

       applicants like the Turner Plaintiffs results in a severe financing and lending disparities for

       minorities, immigrants, and persons of color, such as the Turner Plaintiffs.




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    91. U.S. Bank’s policy of not permitting appraisal appeals when discrimination is suspected

       caused severe and substantial injury to minorities, immigrants, and persons of color, such

       as the Turner Plaintiffs, who could benefit from an independent appraisal to determine the

       true value of their home.

    92. The U.S. Bank policy of not permitting appraisal appeals when discrimination is suspected

       will undoubtably cause severe and substantial injury to minorities, immigrants, and persons

       of color, who will not be able to fully enjoy the true value of their home because of U.S.

       Bank’s continued reliance on discriminatory appraisals.

    93. The actions of the Defendants in this matter resulted in the Turner Plaintiffs losing access

       to much-needed capital at a fair and reasonable rate. The Turner Plaintiffs would have

       qualified for more favorable loan conditions but for Plaintiff Turner’s race and Plaintiff

       Davoli-Turner’s national origin.

    94. Because of this discriminatory treatment, the Turner Plaintiffs sought guidance from

       Plaintiff, MVFHC, regarding their rights.

 MVFHC INVESTIGATION AND WHITEWASHED APPRAISAL

    95. After speaking with the Turner Plaintiffs, Plaintiff, MVFHC launched an investigation into

       Defendant, U.S. Bank’s policy and procedures with respect to lending and refinancing.

       MVFHC also investigated Defendant Henley’s appraisal.

    96. Suspecting bias in the lending and appraisal process, Plaintiff, MVFHC, along with the

       Turner Plaintiffs decided to test a whitewashed appraisal. This was the fourth appraisal

       conducted on the Subject Property and was conducted after Defendant Henley’s appraisal.

       The Whitewashed Appraisal is attached as Plaintiffs’ Exhibit #4.




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    97. “Whitewashing” is where a Black homeowner removes markers of Black identity, such as

       family photographs, from their home and enlists a white person to stand in as the

       homeowner when an appraiser is present, thereby making it seem to the appraiser that the

       house is owned by white people. Black homeowners regularly see valuations of their homes

       increase appreciably under whitewashing tests compared to regular market conditions. The

       increased prevalence of whitewashing is responsible for raising awareness of appraisal

       discrimination.

    98. Before the Whitewashed Appraisal, Plaintiffs removed family photographs and other

       markers of Black and Canadian identity from their home.

    99. The Turner Plaintiffs felt embarrassed, humiliated, and angered that they had to carry out

       this experiment.

    100. The Turner Plaintiffs and their children also lost the opportunity to fully use and enjoy

       their residence which resulted in further embarrassment and humiliation.

    101. The Whitewashed Appraisal was conducted on or around May 15, 2023. By all

       appearances, Plaintiffs’ home was owned by a white family from the United States.

    102. The Whitewashed Appraisal came back with a value of $655,000. This valuation far

       outpaces the increase in property values in the Springboro housing market year over year.

       As such, there is no legitimate justification for Henley’s appraisal of $470,000 one year

       earlier.

    103. In fact, it defies all logic and reason that the Turners’ residence would appreciate at a rate

       of nearly 40% in one year without any substantial upgrades or improvements to the

       residence or surrounding area. The local housing market supports an increase of




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       approximately 11% year over year, yet the Whitewashed Appraisal far exceeded that

       number.

    104. Plaintiffs made no significant improvements in their home in the interim, and although

       median home prices had increased, the movement from Defendant Henley’s appraisal of

       $470,000 to the Whitewashed Appraisal of $655,000 represented a 39.4% increase in value,

       which far exceeds the expected value increase on an annual basis in the Springboro housing

       market.

    105. The first appraisal and Whitewashed Appraisal confirm that Defendant Henley’s appraisal

       was grossly inconsistent with appraisal guidelines and principles and that their excuses for

       devaluing the Turner Plaintiffs’ home were intentional, invalid, and pretextual.

    106. Despite being made aware of the intentional misconduct of the Henley Defendants, U.S.

       Bank failed to act and intentionally endorsed the discriminatory appraisal which resulted

       in injury to the Turner Plaintiffs.

 INJURY TO PLAINTIFFS

    107. The harm caused by appraisal discrimination to minority families and society at large is

       staggering. This discrimination prevents people and families of color from being able to

       purchase homes and access the equity in the homes they already own, thus preventing them

       from building generational wealth via homeownership, as so many Americans have done.

       This contributes to the nation’s widening racial wealth gap.

    108. Plaintiffs have suffered similar harm due to the appraisal and lending discrimination

       caused by Defendants, U.S. Bank, Kevin Henley, and Henley Appraisals, LLC.

    109. Defendant Henley intentionally engaged in discriminatory practices in appraising the

       Turner Plaintiffs’ home, by (1) arbitrarily selecting comps, which were in effect, not true



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       “comps”; (2) failing to measure and intentionally miscalculating the square footage and

       increased living space, including the finished basement; and (3) further depressing the

       appraisal by making unjustifiable adjustments that further devalued the Turner Plaintiffs

       home.

    110. The Henley Defendants did so because of their beliefs that Plaintiff Turner and Plaintiff

       Davoli-Turner, a mixed-race couple, did not belong in Springboro, an attractive and

       predominantly affluent, white town. Henley’s undervaluation also reflected their belief that

       the Turner Plaintiffs’ home is worth less than other homes in Springboro because the

       homeowners are a mixed-race couple, consisting of an African-American male, Canadian

       female, and their children.

    111. Additionally, Defendant Henley made disparaging comments during the appraisal process

       about the Turner Plaintiffs sending their children to a private school for sports rather than

       contributing to Springboro High School athletics. The Turner Plaintiffs construed these

       comments as racially motivated.

    112. Despite complaints to U.S. Bank about Henley’s biased and prejudicial statements and

       conduct, Defendant U.S. Bank not only went forward with accepting the appraisal but also

       endorsed it by offering an opportunity for Henley to provide a second biased opinion of the

       value of the Turner Plaintiffs’ residence.

    113. The Henley Defendants’ discrimination prevented the Turner Plaintiffs from realizing the

       benefit of their home’s true value with U.S. Bank. As a result of Defendant Henley’s

       discriminatory appraisal, and his second opinion which was just as biased as his initial

       appraisal, the Turner Plaintiffs’ borrowing limit for the HELOC was substantially lower

       than they needed and came with unfavorable terms and conditions. For example, U.S.



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       Bank, upon learning that Plaintiff Davoli-Turner was Canadian, stated that they could no

       longer do an 80% LtV on any loan that she was included on as an applicant.

    114. Plaintiff Turner was additionally harmed because he was forced to co-sign and guarantee

       the U.S. Bank HELOC, which was the result of U.S. Bank endorsing a discriminatory

       appraisal. The U.S. Bank loan paperwork is attached as Plaintiffs’ Exhibit #5.

    115. Defendant Henley’s actions also caused the Turner Plaintiffs and their children significant

       emotional distress, including humiliation and embarrassment, arising from being subject

       to discrimination and having to whitewash their own home.

    116. The Whitewashed Appraisal resulted in the Turner Plaintiffs not being able to fully use

       and enjoy their residence as they had to remove their family photographs and markers of

       Black and Canadian identity.

    117. U.S. Bank’s loan decision to endorse the unlawful and discriminatory appraisal has both

       short-term and long-term effects on the ability of Plaintiff Davoli-Turner to own the

       residence and make upgrades and improvements. This decision also results in direct harm

       to Plaintiff Turner who is a resident of the property and co-mortgagor.

    118. U.S. Bank’s loan decision to endorse the unlawful and discriminatory appraisal affects

       Plaintiff Turner’s ability to use and enjoy the premises, and to inherit, purchase, lease, sell,

       hold, and convey real and personal property. Plaintiff Turner is now obligated to abide by

       the unfavorable terms and conditions of the U.S. Bank HELOC as co-mortgagor along with

       Plaintiff Davoli-Turner.

    119. Defendant U.S. Bank injured Plaintiffs by relying on Defendant Henley’s discriminatory

       appraisal to deny the Turner Plaintiffs’ loan despite the fact that it knew or should have

       known that the appraisal was racially discriminatory—it was an obvious and egregious



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       undervaluation of the Springboro home, and the Turner Plaintiffs notified their loan officer

       at U.S. Bank that they understood the valuation to be caused by some type of bias or

       unlawful motive on the basis of their protected characteristics and status as a mixed-race

       couple in a predominately white community.

    120. This injury was compounded by U.S. Bank’s refusal to meaningfully investigate or

       respond to the Turner Plaintiffs’ reconsideration request of the appraisal. Instead, U.S. Bank

       handled the Turner Plaintiffs’ reconsideration request by stating they would not pay for

       another appraisal, rather than rightly recognizing that the Henley Defendants’ appraisal was

       infected by discrimination and sending it to a new appraiser for a second opinion.

    121. In fact, U.S. Bank endorsed the discriminatory appraisal by offering Henley a second

       opportunity to evaluate the Subject Property after U.S. Bank was notified of his intentional

       wrongdoing and motivations to reduce the value of their home. As a result, the Turner

       Plaintiffs were unable to realize the benefit of their home’s true value.

    122. The Turner Plaintiffs were further steered toward a different type of financing with U.S.

       Bank, the HELOC, which came with a variable interest rate, for which the Turner Plaintiffs

       are now being charged double in interest what they would have received if U.S. Bank did

       not deny their earlier applications for loans with better terms because of Plaintiff Davoli-

       Turner’s national origin and immigration status and Plaintiff Turner’s race.

    123. Defendant U.S. Bank further injured the Turner Plaintiffs and their children by causing

       them significant emotional distress, including humiliation and embarrassment, arising from

       being subjected to discrimination and having to erase themselves from their home to assess

       whether they were the basis of the lower valuation. Defendants’ actions as described herein

       were willful and/or taken in reckless disregard of the civil right protections of the Plaintiffs.



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    124. As a direct, proximate, and foreseeable result of Defendants’ actions as described herein,

       Plaintiff, MVFHC, has suffered, continues to suffer, and will suffer in the future substantial,

       particularized, and concrete injuries.

    125. Defendants’ unlawful conduct, policies, and practices as described herein have frustrated

       and impaired MVFHC’s mission and purpose, forced them to drain their limited and scarce

       resources, and interfered with their ability to operate as a Fair Housing Initiatives Program.

    126. Defendants’ unlawful conduct, policies, and practices as described herein frustrated

       MVFHC’s mission by interfering with their mission-related activities, impairing their

       ability to achieve their goals of ensuring equal and fair access to housing and lending

       opportunities, and harming their community.

    127. Defendants’ discriminatory conduct has forced and required MVFHC to engage in

       numerous activities to identify and counteract the Defendants’ unlawful conduct, policies,

       and practices, in order to protect residents from unlawful housing discrimination.

    128. Plaintiff, MVFHC, has conducted extensive investigations of race and national origin-

       related issues now for over a year to determine if this is a pattern or practice of the

       Defendants.

    129. The investigations included research, whitewashing the Subject Property, education and

       outreach, post-testing research, and extensive discussions with experts and staff to resolve

       and ameliorate the discriminatory housing policies, practices, and services of Defendants.

    130. MVFHC’s diversion of time and resources to address Defendant’s discriminatory conduct

       forced MVFHC to suspend, cancel, or postpone other projects that would have furthered

       its mission, including: conducting training sessions; investigating other housing providers,

       lenders, and appraisers; missing speaking engagements; missing grant opportunities



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       including ARPA funding; delaying its Analysis of Impediments to Fair Housing Study in

       Montgomery County, Ohio; and other testing-related activity.

    131. Defendants’ unlawful conduct, policies, and practices as described herein have frustrated

       MVFHC’s mission and its ability to achieve its mission was perceptibly impaired by the

       race and national origin discrimination of the Defendants.

    132. MVFHC will continue to divert its scarce resources and have its mission frustrated until

       Defendants’ egregious discriminatory conduct ceases and the harms caused by Defendants

       on residents and prospective applicants are remedied and resolved.

                  COUNT I – VIOLATION OF THE FAIR HOUSING ACT

                                 (All Plaintiffs v. All Defendants)

                                     42 U.S.C. § 3601, et seq.

    133. Plaintiffs restate and reallege each and every allegation contained in Paragraphs 1 through

       132 as if fully restated herein.

    134. Defendants’ conduct, policies, and practices, as alleged herein, violate multiple provisions

       of the Fair Housing Act. Defendants injured Plaintiffs because of Plaintiff Davoli-Turner’s

       national origin and Plaintiff Turner’s race in violation of the Fair Housing Act by

       committing the following discriminatory practices:

            A. Discrimination in the terms, conditions, or privileges of a sale of a dwelling, or in

                the provision of services or facilities in connection therewith, because of race,

                color, or national origin, in violation of 42 U.S.C. § 3604(b);

            B. Discrimination in making available a residential real estate-related transaction, or

                in the terms or conditions of such a transaction, because of race, color, or national

                origin, in violation of 42 U.S.C. § 3605;



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            C. Interfering with any person in the exercise or enjoyment of any right granted or

                  protected by the Fair Housing Act, including 42 U.S.C. §§ 3604, 3605, 3606, in

                  violation of 42 U.S.C. § 3617;

            D. Making or printing a statement with respect to the sale of a dwelling that indicates

                  preference, limitation, or discrimination based on race, or an intention to make

                  such a preference, limitation or discrimination, in violation of 42 U.S.C. § 3604(c).

    135. Accordingly, Plaintiffs are aggrieved persons under 42 U.S.C. § 3602, who are entitled to

       relief. 42 U.S.C. § 3613 (c).

    136. Wherefore, Plaintiffs request compensatory and punitive damages in excess of $25,000,

       together with costs and reasonable attorney fees, in an amount to be determined at trial.

             COUNT II – VIOLATION OF THE CIVIL RIGHTS ACT OF 1866

                            (Plaintiff Carlos Turner v. All Defendants)

    137. Plaintiffs restate and reallege each and every allegation contained in Paragraphs 1 through

       136 as if fully restated herein.

    138. In acting as alleged herein, Defendants have injured Plaintiff Turner by making him a

       mortgagor on a HELOC with discriminatory terms and conditions and (1) impairing his

       right to make and enforce contracts and to the full and equal benefit of the laws for security

       of property as is enjoyed by white citizens, in violation of 42 U.S.C. §§ 1981 and 1982; (2)

       impairing his right to inherit, purchase, lease, sell, hold, and convey real and personal

       property, in violation of 42 U.S.C. § 1982; and (3) impairing his right to use and enjoy his

       residential property, in violation of 42 U.S.C. 1982.

    139. Accordingly, Plaintiff Turner is entitled to relief under 42 U.S.C. §§ 1981,1982 and

       1988(a).



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    140. Wherefore, Plaintiffs request compensatory and punitive damages in excess of $25,000,

       together with costs and reasonable attorney fees, in an amount to be determined at trial.

             COUNT III – VIOLATION OF THE OHIO FAIR HOUSING ACT

                                 (All Plaintiffs v. All Defendants)

                                Ohio Rev. Code § 4112.01, et seq.

    141. Plaintiffs restate and reallege each and every allegation contained in Paragraphs 1 through

       140 as if fully restated herein.

    142. Defendants’ conduct, policies, and practices, as alleged herein, violate multiple provisions

       of the Ohio Fair Housing Act. Defendants injured Plaintiffs because of Plaintiff Davoli-

       Turner’s national origin and Plaintiff Turner’s race in violation of the Ohio Fair Housing

       Act by committing the following discriminatory practices:

           A. Discrimination in the terms, conditions, or privileges of a sale of a dwelling, or in

               the provision of services or facilities in connection therewith, because of race, color,

               or national origin, in violation of Ohio Rev. Code § 4112.02(H)(4).

           B. Discrimination in making available a residential real estate-related transaction, or

               in the terms or conditions of such a transaction, because of race, color, or national

               origin, in violation of Ohio Rev. Code § 4112.02(H).

           C. Interfering with any person in the exercise or enjoyment of any right granted or

               protected by the Fair Housing Act, including Ohio Rev. Code § 4112.02(H)(12).

           D. Making or printing a statement with respect to the sale of a dwelling that indicates

               preference, limitation, or discrimination based on race, or an intention to make such

               a preference, limitation or discrimination, in violation of Ohio Rev. Code §

               4112.02(H)(7).



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    143. Accordingly, Plaintiffs are aggrieved persons under Ohio Rev. Code § 4112.01(A)(23)

       and are entitled to relief under the Ohio Fair Housing Act.

    144. Wherefore, Plaintiffs request compensatory and punitive damages in excess of $25,000,

       together with costs and reasonable attorney fees, in an amount to be determined at trial.

                 COUNT IV - Violation of the Equal Credit Opportunity Act

                              (The Turner Plaintiffs v. U.S. BANK)

                                     15 U.S.C. § 1691, et seq.

    145. Plaintiffs restate and reallege each and every allegation contained in Paragraphs 1 through

       144 as if fully restated herein.

    146. Defendant U.S. Bank is a “creditor” within the meaning of 15 U.S.C.§ 1691a(e).

    147. Defendant U.S. Bank’s conduct, as alleged herein, constitutes discrimination with respect

       to aspects of a credit transaction on the basis of race and national origin, in violation of 15

       U.S.C. § 1691(a)(1).

    148. Defendant U.S. Bank required Plaintiff Turner and Plaintiff Davoli-Turner to sign as co-

       borrowers and mortgagors as a condition for the extension of credit. U.S. Bank as a creditor

       can enforce their discriminatory terms and conditions against both Plaintiff Turner and

       Plaintiff Davoli-Turner.

    149. Accordingly, The Turner Plaintiffs are aggrieved applicants and entitled to relief under 15

       U.S.C. § 1691(a)(1).

    150. Wherefore, Plaintiffs request compensatory and punitive damages in excess of $25,000,

       together with costs and reasonable attorney fees, in an amount to be determined at trial.




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                    COUNT V – NEGLIGENT MISREPRESENTATION

                           (The Turner Plaintiffs v. Henley Defendants)

    151. Plaintiffs restate and reallege each and every allegation contained in Paragraphs 1 through

       150 as if fully restated herein.

    152. The Henley Defendants owed a duty to Plaintiffs to provide an unbiased appraisal of the

       Subject Property based on all available information.

    153. The Henley Defendants claimed that they were providing an unbiased appraisal of the

       Subject Property.

    154. The Henley Defendants’ representations in their appraisal were untrue and unsupported

       by reliable data. Thus, Defendant Henley supplied false information including unreliable

       comps and an unsupported valuation of the Subject Property.

    155. Plaintiffs reasonably relied on Defendant Henley’s representations in order to obtain

       credit from Defendant U.S. Bank.

    156. Defendant Henley’s misrepresentations resulted in pecuniary loss to Plaintiffs, as

       Plaintiffs obtained a HELOC from Defendant, U.S. Bank which came with a higher interest

       rate and a reduced borrowing capacity due to Defendant Henley’s discriminatory appraisal

       and negligent misrepresentations. The HELOC was obtained because refinance and home

       equity loans were no longer an option due to the low appraisal and arbitrary U.S. Bank

       policy of 60% LtV due to Plaintiff Davoli-Turner’s national origin as described herein.

    157. Wherefore, Plaintiffs request compensatory and punitive damages in excess of $25,000,

       together with costs and reasonable attorney fees, in an amount to be determined at trial.

          COUNT VI – NEGLIGENT HIRING, TRAINING, AND SUPERVISION

                             (The Turner Plaintiffs v. All Defendants)



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    158. Plaintiffs restate and reallege each and every allegation contained in Paragraphs 1 through

        157 as if fully restated herein.

    159. The Henley Defendants are in the business of real estate appraisals.

    160. Defendant, U.S. Bank, is in the business of lending and financing for real estate

        transactions.

    161. Defendants owe a duty of reasonable care to hire, train, and supervise employees, agents,

        and contractors with respect to all applicable laws and regulations.

    162. Defendants breached their duty by failing to hire, properly train, and supervise employees,

        agents, and contractors with respect to appraisals and residential lending transactions.

    163. As a direct and proximate result of Defendants’ negligent hiring, training, and supervision

        of the Henley Defendants and U.S. Bank employees, including Stephanie, Bruce, and

        currently unknown underwriters and other U.S. Bank employees, Plaintiffs were harmed

        and therefore entitled to relief.

    164. Wherefore, Plaintiffs request compensatory and punitive damages in excess of $25,000,

        together with costs and reasonable attorney fees, in an amount to be determined at trial.

        WHEREFORE, due to Defendants’ discriminatory conduct, policies, and practices, as

 described herein, Plaintiffs respectfully requests that this Court grant judgment in its favor, and

 against Defendants, as follows:

            A. Declaring that Defendants’ actions violate the Federal Fair Housing Act, 42 U.S.C.

                § 3601.01, et seq., Ohio Rev. Code § 4112.01, et seq., the Civil Rights Act of 1866,

                the Equal Credit Opportunity Act, and state tort law;

            B. Permanently enjoining Defendants from engaging in the conduct described herein

                and directing Defendants to take all affirmative steps necessary to remedy the



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                 effects of the conduct described herein and to prevent additional instances of such

                 conduct or similar conduct from occurring in the future;

             C. Awarding compensatory and punitive damages in an amount in excess of

                 $25,000.00, together with costs and reasonable attorney fees pursuant to 42 U.S.C.

                 § 3613(c) and other applicable laws and regulations.

             D. Mandate that the Defendants and all of their agents and employees receive training

                 on fair housing laws; and

             E. Grant such additional legal and equitable relief as the Court deems just and proper.


                                      DEMAND FOR JURY TRIAL

          Pursuant to Fed. R. Civ. P. 38(b), Plaintiff hereby demands a trial by jury on all issues

  triable as of right.

                                               Respectfully submitted,

                                               /s/ C. Jacob Davis
                                               __________________________
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                                               Jacob.Davis@nallslaw.com

                                               Attorney for Plaintiffs, The Miami Valley
                                               Fair Housing Center, Inc., Carlos Turner, and
                                               Diana Davoli-Turner



 DATED: February 26, 2024




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                                 CERTIFICATE OF SERVICE

        I hereby certify that service is being made upon Defendants in accordance with the Federal

 Rules of Civil Procedure. Defendant, U.S. Bancorp, Inc. d/b/a U.S. Bank, having already filed a

 notice of appearance, will receive an electronic notice of this filing via PACER. U.S. Bank and its

 counsel will be able to access this filing by utilizing the Court’s E-filing system. Defendants U.S.

 Bank National Association, Kevin D. Henley, and Henley Appraisals, LLC, will be served

 in accordance with the Federal Rules of Civil Procedure, by certified mail, return receipt

 requested, or another method under the Federal Rules of Civil Procedure.


                                               Respectfully submitted,

                                               /s/ C. Jacob Davis
                                               __________________________
                                               C. Jacob Davis (#0101745)
                                               Attorney for Plaintiffs, The Miami Valley
                                               Fair Housing Center, Inc., Carlos Turner, and
                                               Diana Davoli-Turner




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                           EXHIBIT #1 – First Appraisal




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                                                                        FHA/VA Case No.




                                                              SUMMARY OF SALIENT FEATURES




                               Subject Address               265 Woodstream Dr

                               Legal Description             SPRINGS 3 LOT: 88

                               City                          Springboro
 SUBJECT INFORMATION




                               County                        Warren

                               State                         OH

                               Zip Code                      45066

                               Census Tract                  0309.01

                               Map Reference                 17140
 SALES PRICE




                               Sale Price                $

                               Date of Sale




                               Borrower/Client               Diana Davoli-Turner
 CLIENT




                               Lender                        Union Home Mortgage




                               Size (Square Feet)            3,988

                               Price per Square Foot     $
 DESCRIPTION OF IMPROVEMENTS




                               Location                      N;Res;

                               Age                           10

                               Condition                     C3

                               Total Rooms                   10

                               Bedrooms                      4

                               Baths                         2.1
 APPRAISER




                               Appraiser                     Jeff Newsom

                               Date of Appraised Value       03/29/2022
 VALUE




                               Opinion of Value          $ 520,000




                                                         Form SSD2 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
Case: 3:23-cv-00371-WHR-CHG Doc #: 9 Filed: 02/26/24 Page: 38 of 152 PAGEID      #: 254Page # 2 of 37
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                                   Accupraisal Ohio LLC




                              APPRAISAL OF REAL PROPERTY



                                                LOCATED AT:
                                               265 Woodstream Dr
                                               SPRINGS 3 LOT: 88
                                              Springboro, OH 45066




                                                       FOR:
                                             Union Home Mortgage
                                                 8241 Dow Circle
                                             Strongsville, OH 44136




                                                     AS OF:
                                                     03/29/2022




                                                         BY:
                                                 Jeff Newsom
                                            Accupraisal Ohio LLC
                                                  PO Box 883
                                            Springboro, OH 45066
                                                 513-260-8700
                                           www.accupraisalohio.com




                        Form GA5 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
         Case: 3:23-cv-00371-WHR-CHG Doc #: 9 Filed: 02/26/24 Page: 39 of 152 PAGEID      #: 255
                                                                                 FHA/VA Case No.



Borrower/Client         Diana Davoli-Turner                                                                                                                                                            File No. 0322035
Property Address        265 Woodstream Dr
City                    Springboro                                                                          County Warren                                                               State OH                     Zip Code 45066
Lender                  Union Home Mortgage


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                                                                                                                                                                                         812170
                                                                          Uniform Residential Appraisal Report                                                                   File # 0322035
               The purpose of this summary appraisal report is to provide the lender/client with an accurate, and adequately supported, opinion of the market value of the subject property.
               Property Address 265 Woodstream Dr                                                                        City Springboro                                   State OH       Zip Code 45066
               Borrower Diana Davoli-Turner                                                  Owner of Public Record Diana Davoli-Turner                                    County Warren
               Legal Description SPRINGS 3 LOT: 88
               Assessor's Parcel # 0403173004                                                                            Tax Year 2021                                     R.E. Taxes $ 6,010
               Neighborhood Name Springs/ Springboro                                                                     Map Reference 17140                               Census Tract 0309.01
SUBJECT




               Occupant         Owner          Tenant         Vacant                         Special Assessments $ 0                                           PUD    HOA $ 900            per year    per month
               Property Rights Appraised            Fee Simple           Leasehold            Other (describe)
               Assignment Type            Purchase Transaction              Refinance Transaction             Other (describe)
               Lender/Client     Union Home Mortgage                                            Address 8241 Dow Circle, Strongsville, OH 44136
               Is the subject property currently offered for sale or has it been offered for sale in the twelve months prior to the effective date of this appraisal?                    Yes        No
               Report data source(s) used, offering price(s), and date(s).            Dayton MLS search.

               I      did        did not analyze the contract for sale for the subject purchase transaction. Explain the results of the analysis of the contract for sale or why the analysis was not
               performed.
CONTRACT




               Contract Price $ 0                     Date of Contract                      Is the property seller the owner of public record?        Yes         No Data Source(s)
               Is there any financial assistance (loan charges, sale concessions, gift or downpayment assistance, etc.) to be paid by any party on behalf of the borrower?                                     Yes       No
               If Yes, report the total dollar amount and describe the items to be paid.



               Note: Race and the racial composition of the neighborhood are not appraisal factors.
                            Neighborhood Characteristics                                      One-Unit Housing Trends                                                   One-Unit Housing              Present Land Use %
               Location      Urban              Suburban           Rural          Property Values         Increasing           Stable             Declining            PRICE            AGE         One-Unit         100 %
               Built-Up      Over 75%           25-75%             Under 25%      Demand/Supply           Shortage             In Balance         Over Supply         $ (000)           (yrs)       2-4 Unit                %
NEIGHBORHOOD




               Growth        Rapid              Stable             Slow           Marketing Time          Under 3 mths         3-6 mths
                                                                                                                          379 Low                 Over 6 mths                                1      Multi-Family            %
               Neighborhood Boundaries          Route 741 west, Yankee east, Lytle Five Pts south, Austin Pike nort.      674 High                                                           30     Commercial              %
                                                                                                                          450 Pred.                                                          15     Other                   %
               Neighborhood Description          Shopping, schools, employment, and other such amenities within 2 miles of subject.


               Market Conditions (including support for the above conclusions)               Conventional financing is prevalant, though FHA, VA, and alternate programs are
               readily available.

               Dimensions Slightly irregular                                              Area 10019 sf                              Shape Fairly rect                                  View N;Res;
               Specific Zoning Classification PUD                                         Zoning Description SFR
               Zoning Compliance          Legal        Legal Nonconforming (Grandfathered Use)          No Zoning         Illegal (describe)
               Is the highest and best use of subject property as improved (or as proposed per plans and specifications) the present use?              Yes                        No    If No, describe

               Utilities         Public Other (describe)                                       Public Other (describe)                      Off-site Improvements - Type              Public     Private
               Electricity                                                      Water                                                       Street Asphalt
SITE




               Gas                                                              Sanitary Sewer                                              Alley None
               FEMA Special Flood Hazard Area               Yes          No FEMA Flood Zone X                   FEMA Map # 39165C0030E                                   FEMA Map Date 12/17/2010
               Are the utilities and off-site improvements typical for the market area?              Yes      No If No, describe
               Are there any adverse site conditions or external factors (easements, encroachments, environmental conditions, land uses, etc.)?                     Yes      No If Yes, describe
                No illegal or non-conforming uses noted.


                            General Description                                      Foundation                        Exterior Description                materials/condition Interior                   materials/condition
               Units       One      One with Accessory Unit        Concrete Slab             Crawl Space         Foundation Walls     Conc/ Avg            Floors         WdCptVnlLVT/Avg
               # of Stories          2                             Full Basement             Partial Basement    Exterior Walls       BrkStnSid/avg        Walls          Drywall/ Avg
               Type        Det.     Att.      S-Det./End Unit Basement Area                        1,857 sq.ft. Roof Surface          Asph Shingles/ Avg Trim/Finish      Wd/Comp/Avg
                    Existing      Proposed        Under Const. Basement Finish                         95     % Gutters & Downspouts Metal/Avg             Bath Floor     VnlCT/Avg
               Design (Style)        Neo eclectic                  Outside Entry/Exit           Sump Pump        Window Type          Therm/Avg            Bath Wainscot FbrglsCT/Avg
               Year Built            2012                      Evidence of         Infestation                   Storm Sash/Insulated Therm/Avg            Car Storage          None
               Effective Age (Yrs) 5                               Dampness            Settlement                Screens              Yes/Avg                  Driveway     # of Cars   2
               Attic                        None               Heating        FWA          HWBB          Radiant Amenities                Woodstove(s) # 0 Driveway Surface       Conc/Avg
                    Drop Stair              Stairs                 Other                 Fuel Nat gas                Fireplace(s) # 2     Fence Rear           Garage       # of Cars   2
                    Floor                   Scuttle            Cooling         Central Air Conditioning              Patio/Deck Dk        Porch Stoop          Carport      # of Cars   0
                    Finished                Heated                 Individual                 Other                  Pool None            Other Conc pad       Att.          Det.       Built-in
IMPROVEMENTS




               Appliances        Refrigerator       Range/Oven           Dishwasher           Disposal         Microwave           Washer/Dryer             Other (describe)
               Finished area above grade contains:                  10 Rooms           4 Bedrooms          2.1 Bath(s)                                       3,988 Square Feet of Gross Living Area Above Grade
               Additional features (special energy efficient items, etc.).  Fin bsmt (rec rm, theater, bonus rm).

               Describe the condition of the property (including needed repairs, deterioration, renovations, remodeling, etc.).
                                                                                                       C3;No updates in the prior 15 years;A well-built
               and adequately maintained dwelling which projects average appeal. Functional utility is average, with adequately sized rooms, ample
               closet space, and an efficient layout. This dwelling meets functional and aesthetic expectations of purchasers in this price range.


               Are there any physical deficiencies or adverse conditions that affect the livability, soundness, or structural integrity of the property?                               Yes        No If Yes, describe




               Does the property generally conform to the neighborhood (functional utility, style, condition, use, construction, etc.)?                           Yes          No If No, describe



 Freddie Mac Form 70 March 2005                                              UAD Version 9/2011              Page 1 of 6                                                           Fannie Mae Form 1004 March 2005


                                                                        Form 1004UAD - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
                                        Case: 3:23-cv-00371-WHR-CHG Doc #: 9 Filed: 02/26/24 Page: 41 of 152 PAGEID      #: 257Page # 4 of 37
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                                                                                                                                                                                         812170
                                                                                     Uniform Residential Appraisal Report                                                         File # 0322035
                            There are          6    comparable properties currently offered for sale in the subject neighborhood ranging in price from $ 410,000                     to $ 584,900               .
                            There are        45     comparable sales in the subject neighborhood within the past twelve months ranging in sale price from $ 379,900                      to $ 673,500              .
                                         FEATURE                    SUBJECT                   COMPARABLE SALE # 1                        COMPARABLE SALE # 2                        COMPARABLE SALE # 3
                            Address 265 Woodstream Dr                                21 Stanton Dr                              30 Willow Grove Dr                        80 Millard Ct
                                         Springboro, OH 45066                        Springboro, OH 45066                       Springboro, OH 45066                      Springboro, OH 45066
                            Proximity to Subject                                     0.31 miles W                               0.15 miles NW                             0.77 miles W
                            Sale Price                        $                   0                       $          495,000                        $          489,900                         $          530,000
                            Sale Price/Gross Liv. Area        $               sq.ft. $     136.93 sq.ft.                        $     160.52 sq.ft.                       $      159.73 sq.ft.
                            Data Source(s)                                           Day MLS 847097;DOM 53                      Day MLS 845921;DOM 35                     Day MLS 847588;DOM 47
                            Verification Source(s)                                   Aud MLS                                    Aud MLS                                   Aud MLS
                            VALUE ADJUSTMENTS                     DESCRIPTION           DESCRIPTION         +(-) $ Adjustment       DESCRIPTION       +(-) $ Adjustment       DESCRIPTION        +(-) $ Adjustment
                            Sales or Financing                                       ArmLth                                     ArmLth                                    ArmLth
                            Concessions                                              Conv;0                                     Conv;0                                    VA;0
                            Date of Sale/Time                                        s10/21;Unk                                 s09/21;Unk                                s10/21;Unk
                            Location                          N;Res;                 N;Res;                                     N;Res;                                    N;Res;
                            Leasehold/Fee Simple              Fee Simple             Fee Simple                                 Fee Simple                                Fee Simple
                            Site                              10019 sf               12319 sf                                 0 11500 sf                                0 15464 sf                                 0
                            View                              N;Res;                 N;Res;                                     N;Res;                                    N;Res;
                            Design (Style)                    DT2;neo eclecticDT2;neo eclectic                                  DT2;neo eclectic                          DT2;neo eclectic
                            Quality of Construction           Q3                     Q3                                         Q3                                        Q3
                            Actual Age                        10                     17                                       07                                        0 21                                       0
                            Condition                         C3                     C3                                         C3                                        C3
                            Above Grade                        Total Bdrms. Baths Total Bdrms. Baths                             Total Bdrms. Baths                        Total Bdrms. Baths
                            Room Count                          10      4     2.1 10          4     2.1                           10     4    2.1                           11      4      2.1                     0
                            Gross Living Area                        3,988 sq.ft.           3,615 sq.ft.             +13,055           3,052 sq.ft.            +32,760            3,318 sq.ft.            +23,450
                            Basement & Finished               1857sf1764sfin 1904sf1050sfin                            +2,500 1314sf674sfin                             0 1747sf750sfin                            0
                            Rooms Below Grade                 1rr0br0.0ba2o 1rr0br0.0ba1o                                     0 1rr1br1.0ba0o                           0 1rr0br1.0ba0o                            0
                            Functional Utility                Average                Avg assumed                              0 Avg assumed                             0 Avg assumed                              0
SALES COMPARISON APPROACH




                            Heating/Cooling                   Cent/ Cent             Cent/ Cent                                 Cent/ Cent                                Cent/ Cent
                            Energy Efficient Items            Therm win              Therm win                                  Therm win                                 Therm win
                            Garage/Carport                    2ga2dw                 2ga2dw                                     2ga2dw                                    3ga3dw                           -10,000
                            Porch/Patio/Deck                  Stp, lg deck           Pch, pat, dk                             0 Pch, pat                                0 Patio,Porch                              0
                            Misc.


                            Net Adjustment (Total)                                               +          - $             15,555               +          - $         32,760         +            -  $              13,450
                            Adjusted Sale Price                                         Net Adj.         3.1 %                        Net   Adj.         6.7 %                Net Adj.           2.5 %
                            of Comparables                                              Gross Adj.       3.1 % $          510,555 Gross Adj.             6.7 % $      522,660 Gross Adj.         6.3 % $            543,450
                            I      did       did not research the sale or transfer history of the subject property and comparable sales. If not, explain



                            My research          did        did not reveal any prior sales or transfers of the subject property for the three years prior to the effective date of this appraisal.
                            Data Source(s)       Aud/ Wlkthrgh/ Owner
                            My research          did        did not reveal any prior sales or transfers of the comparable sales for the year prior to the date of sale of the comparable sale.
                            Data Source(s)       Auditor, public record, MLS
                            Report the results of the research and analysis of the prior sale or transfer history of the subject property and comparable sales (report additional prior sales on page 3).
                                              ITEM                                     SUBJECT                          COMPARABLE SALE #1                        COMPARABLE SALE #2                   COMPARABLE SALE #3
                            Date of Prior Sale/Transfer                 11/09/2020
                            Price of Prior Sale/Transfer                $442,000
                            Data Source(s)                              Aud Wlkthrgh Owner                       Aud MLS                                   Aud MLS                                 Aud MLS
                            Effective Date of Data Source(s)            03/29/2022                               03/29/2022                                03/29/2022                              03/29/2022
                            Analysis of prior sale or transfer history of the subject property and comparable sales                  Sales appear to be arms-length transactions (open-market,
                            unrelated, etc).




                            Summary of Sales Comparison Approach
                                                              Since not every subject can be compared to "ideal" comparable sales, the appraiser has chosen the
                            best available sales from a market search which meets the investor underwriting standards. Every effort has been made to conform to
                            FNMA guidelines, and, in most cases, an even stricter interpretation which is common to most investors has been used.

                            Unable to bracket subject GLA with above ground square footage. It is not an overimprovement/ oversized for the market, but this
                            typically leads to a lower price/ sf thus the price/ sf is adjusted accordinly on the grid.

                            All seven properties are in the Settlers Walk development.
                            Indicated Value by Sales Comparison Approach $ 520,000
                            Indicated Value by: Sales Comparison Approach $               520,000            Cost Approach (if developed) $                         Income Approach (if developed) $
                            See addendum.
RECONCILIATION




                            This appraisal is made        "as is",       subject to completion per plans and specifications on the basis of a hypothetical condition that the improvements have been
                            completed,         subject to the following repairs or alterations on the basis of a hypothetical condition that the repairs or alterations have been completed, or subject to the
                            following required inspection based on the extraordinary assumption that the condition or deficiency does not require alteration or repair: No warranty of the subject is
                            given or implied. No liability is assumed for the structural or mechanical elements of the property.
                            Based on a complete visual inspection of the interior and exterior areas of the subject property, defined scope of work, statement of assumptions and limiting
                            conditions, and appraiser's certification, my (our) opinion of the market value, as defined, of the real property that is the subject of this report is
                            $     520,000      , as of          03/29/2022           , which is the date of inspection and the effective date of this appraisal.
   Freddie Mac Form 70 March 2005                                                       UAD Version 9/2011             Page 2 of 6                                                  Fannie Mae Form 1004 March 2005


                                                                                   Form 1004UAD - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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                                                                                                                                                                                        812170
                                                                               Uniform Residential Appraisal Report                                                           File # 0322035
                      Blank
                      See addendum
ADDITIONAL COMMENTS




                                                                                         COST APPROACH TO VALUE (not required by Fannie Mae)
                      Provide adequate information for the lender/client to replicate the below cost figures and calculations.
                      Support for the opinion of site value (summary of comparable land sales or other methods for estimating site value)
                                                                                                                Not required by FNMA. The cost approach is
                      not completed because no weight would be placed on it (especially for a house of this age). Weight in this report is on the Sales
                      Comparison approach.
COST APPROACH




                      ESTIMATED           REPRODUCTION OR          REPLACEMENT COST NEW                                  OPINION OF SITE VALUE                                                        =$         47,200
                      Source of cost data                                                                                DWELLING                              Sq.Ft. @ $                             =$
                      Quality rating from cost service              Effective date of cost data                                                                Sq.Ft. @ $                             =$
                      Comments on Cost Approach (gross living area calculations, depreciation, etc.)                                                                                                  =$
                      Site value is per county auditor. Neither this value, nor any                                      Garage/Carport                      Sq.Ft. @ $                               =$
                      derivative of it, should be used for insurance purposes.                                           Total Estimate of Cost-New                                                   =$
                      Established neighborhood/ market with no vacant land sales                                         Less              Physical        Functional        External
                      found.                                                                                             Depreciation                                                                 =$(                    )
                                                                                                                         Depreciated Cost of Improvements                                             =$
                      If the site value is >30% of the appraised value, this is an                                       "As-is" Value of Site Improvements                                           =$
                      underwriting issue, not an appraisal issue.
                      Estimated Remaining Economic Life (HUD and VA only)                                45 Years INDICATED VALUE BY COST APPROACH                                                    =$
                                                                                    INCOME APPROACH TO VALUE (not required by Fannie Mae)
INCOME




                      Estimated Monthly Market Rent $                             X Gross Rent Multiplier                        =$                                                     Indicated Value by Income Approach
                      Summary of Income Approach (including support for market rent and GRM)              NA Owner occupied.

                                                                                             PROJECT INFORMATION FOR PUDs (if applicable)
                      Is the developer/builder in control of the Homeowners' Association (HOA)?                Yes       No      Unit type(s)        Detached          Attached
                      Provide the following information for PUDs ONLY if the developer/builder is in control of the HOA and the subject property is an attached dwelling unit.
                      Legal Name of Project
                      Total number of phases                             Total number of units                                Total number of units sold
PUD INFORMATION




                      Total number of units rented                       Total number of units for sale                       Data source(s)
                      Was the project created by the conversion of existing building(s) into a PUD?                 Yes       No If Yes, date of conversion.
                      Does the project contain any multi-dwelling units?              Yes        No Data Source
                      Are the units, common elements, and recreation facilities complete?                  Yes        No If No, describe the status of completion.



                      Are the common elements leased to or by the Homeowners' Association?                   Yes        No If Yes, describe the rental terms and options.

                      Describe common elements and recreational facilities.


  Freddie Mac Form 70 March 2005                                                  UAD Version 9/2011            Page 3 of 6                                                       Fannie Mae Form 1004 March 2005


                                                                              Form 1004UAD - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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                                                                                  FHA/VA Case No.

                                                                                                                             812170
                                          Uniform Residential Appraisal Report                                          File # 0322035

  This report form is designed to report an appraisal of a one-unit property or a one-unit property with an accessory unit;
  including a unit in a planned unit development (PUD). This report form is not designed to report an appraisal of a
  manufactured home or a unit in a condominium or cooperative project.

  This appraisal report is subject to the following scope of work, intended use, intended user, definition of market value,
  statement of assumptions and limiting conditions, and certifications. Modifications, additions, or deletions to the intended
  use, intended user, definition of market value, or assumptions and limiting conditions are not permitted. The appraiser may
  expand the scope of work to include any additional research or analysis necessary based on the complexity of this appraisal
  assignment. Modifications or deletions to the certifications are also not permitted. However, additional certifications that do
  not constitute material alterations to this appraisal report, such as those required by law or those related to the appraiser's
  continuing education or membership in an appraisal organization, are permitted.

  SCOPE OF WORK:        The scope of work for this appraisal is defined by the complexity of this appraisal assignment and the
  reporting requirements of this appraisal report form, including the following definition of market value, statement of
  assumptions and limiting conditions, and certifications. The appraiser must, at a minimum: (1) perform a complete visual
  inspection of the interior and exterior areas of the subject property, (2) inspect the neighborhood, (3) inspect each of the
  comparable sales from at least the street, (4) research, verify, and analyze data from reliable public and/or private sources,
  and (5) report his or her analysis, opinions, and conclusions in this appraisal report.

  INTENDED USE: The intended use of this appraisal report is for the lender/client to evaluate the property that is the
  subject of this appraisal for a mortgage finance transaction.

  INTENDED USER:        The intended user of this appraisal report is the lender/client.

  DEFINITION OF MARKET VALUE:          The most probable price which a property should bring in a competitive and open
  market under all conditions requisite to a fair sale, the buyer and seller, each acting prudently, knowledgeably and assuming
  the price is not affected by undue stimulus. Implicit in this definition is the consummation of a sale as of a specified date and
  the passing of title from seller to buyer under conditions whereby: (1) buyer and seller are typically motivated; (2) both
  parties are well informed or well advised, and each acting in what he or she considers his or her own best interest; (3) a
  reasonable time is allowed for exposure in the open market; (4) payment is made in terms of cash in U. S. dollars or in terms
  of financial arrangements comparable thereto; and (5) the price represents the normal consideration for the property sold
  unaffected by special or creative financing or sales concessions* granted by anyone associated with the sale.

  *Adjustments to the comparables must be made for special or creative financing or sales concessions. No adjustments are
  necessary for those costs which are normally paid by sellers as a result of tradition or law in a market area; these costs are
  readily identifiable since the seller pays these costs in virtually all sales transactions. Special or creative financing
  adjustments can be made to the comparable property by comparisons to financing terms offered by a third party institutional
  lender that is not already involved in the property or transaction. Any adjustment should not be calculated on a mechanical
  dollar for dollar cost of the financing or concession but the dollar amount of any adjustment should approximate the market's
  reaction to the financing or concessions based on the appraiser's judgment.

  STATEMENT OF ASSUMPTIONS AND LIMITING CONDITIONS:                              The appraiser's certification in this report is
  subject to the following assumptions and limiting conditions:

  1. The appraiser will not be responsible for matters of a legal nature that affect either the property being appraised or the title
  to it, except for information that he or she became aware of during the research involved in performing this appraisal. The
  appraiser assumes that the title is good and marketable and will not render any opinions about the title.

  2. The appraiser has provided a sketch in this appraisal report to show the approximate dimensions of the improvements.
  The sketch is included only to assist the reader in visualizing the property and understanding the appraiser's determination
  of its size.

  3. The appraiser has examined the available flood maps that are provided by the Federal Emergency Management Agency
  (or other data sources) and has noted in this appraisal report whether any portion of the subject site is located in an
  identified Special Flood Hazard Area. Because the appraiser is not a surveyor, he or she makes no guarantees, express or
  implied, regarding this determination.

  4. The appraiser will not give testimony or appear in court because he or she made an appraisal of the property in question,
  unless specific arrangements to do so have been made beforehand, or as otherwise required by law.

  5. The appraiser has noted in this appraisal report any adverse conditions (such as needed repairs, deterioration, the
  presence of hazardous wastes, toxic substances, etc.) observed during the inspection of the subject property or that he or
  she became aware of during the research involved in performing the appraisal. Unless otherwise stated in this appraisal
  report, the appraiser has no knowledge of any hidden or unapparent physical deficiencies or adverse conditions of the
  property (such as, but not limited to, needed repairs, deterioration, the presence of hazardous wastes, toxic substances,
  adverse environmental conditions, etc.) that would make the property less valuable, and has assumed that there are no such
  conditions and makes no guarantees or warranties, express or implied. The appraiser will not be responsible for any such
  conditions that do exist or for any engineering or testing that might be required to discover whether such conditions exist.
  Because the appraiser is not an expert in the field of environmental hazards, this appraisal report must not be considered as
  an environmental assessment of the property.

  6. The appraiser has based his or her appraisal report and valuation conclusion for an appraisal that is subject to satisfactory
  completion, repairs, or alterations on the assumption that the completion, repairs, or alterations of the subject property will
  be performed in a professional manner.




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                                         Form 1004UAD - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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                                                                                                                            812170
                                         Uniform Residential Appraisal Report                                          File # 0322035


  APPRAISER'S CERTIFICATION:          The Appraiser certifies and agrees that:

  1. I have, at a minimum, developed and reported this appraisal in accordance with the scope of work requirements stated in
  this appraisal report.

  2. I performed a complete visual inspection of the interior and exterior areas of the subject property. I reported the condition
  of the improvements in factual, specific terms. I identified and reported the physical deficiencies that could affect the
  livability, soundness, or structural integrity of the property.

  3. I performed this appraisal in accordance with the requirements of the Uniform Standards of Professional Appraisal
  Practice that were adopted and promulgated by the Appraisal Standards Board of The Appraisal Foundation and that were in
  place at the time this appraisal report was prepared.

  4. I developed my opinion of the market value of the real property that is the subject of this report based on the sales
  comparison approach to value. I have adequate comparable market data to develop a reliable sales comparison approach
  for this appraisal assignment. I further certify that I considered the cost and income approaches to value but did not develop
  them, unless otherwise indicated in this report.

  5. I researched, verified, analyzed, and reported on any current agreement for sale for the subject property, any offering for
  sale of the subject property in the twelve months prior to the effective date of this appraisal, and the prior sales of the subject
  property for a minimum of three years prior to the effective date of this appraisal, unless otherwise indicated in this report.

  6. I researched, verified, analyzed, and reported on the prior sales of the comparable sales for a minimum of one year prior
  to the date of sale of the comparable sale, unless otherwise indicated in this report.

  7. I selected and used comparable sales that are locationally, physically, and functionally the most similar to the subject property.

  8. I have not used comparable sales that were the result of combining a land sale with the contract purchase price of a home that
  has been built or will be built on the land.

  9. I have reported adjustments to the comparable sales that reflect the market's reaction to the differences between the subject
  property and the comparable sales.

  10. I verified, from a disinterested source, all information in this report that was provided by parties who have a financial interest in
  the sale or financing of the subject property.

  11. I have knowledge and experience in appraising this type of property in this market area.

  12. I am aware of, and have access to, the necessary and appropriate public and private data sources, such as multiple listing
  services, tax assessment records, public land records and other such data sources for the area in which the property is located.

  13. I obtained the information, estimates, and opinions furnished by other parties and expressed in this appraisal report from
  reliable sources that I believe to be true and correct.

  14. I have taken into consideration the factors that have an impact on value with respect to the subject neighborhood, subject
  property, and the proximity of the subject property to adverse influences in the development of my opinion of market value. I
  have noted in this appraisal report any adverse conditions (such as, but not limited to, needed repairs, deterioration, the
  presence of hazardous wastes, toxic substances, adverse environmental conditions, etc.) observed during the inspection of the
  subject property or that I became aware of during the research involved in performing this appraisal. I have considered these
  adverse conditions in my analysis of the property value, and have reported on the effect of the conditions on the value and
  marketability of the subject property.

  15. I have not knowingly withheld any significant information from this appraisal report and, to the best of my knowledge, all
  statements and information in this appraisal report are true and correct.

  16. I stated in this appraisal report my own personal, unbiased, and professional analysis, opinions, and conclusions, which
  are subject only to the assumptions and limiting conditions in this appraisal report.

  17. I have no present or prospective interest in the property that is the subject of this report, and I have no present or
  prospective personal interest or bias with respect to the participants in the transaction. I did not base, either partially or
  completely, my analysis and/or opinion of market value in this appraisal report on the race, color, religion, sex, age, marital
  status, handicap, familial status, or national origin of either the prospective owners or occupants of the subject property or of the
  present owners or occupants of the properties in the vicinity of the subject property or on any other basis prohibited by law.

  18. My employment and/or compensation for performing this appraisal or any future or anticipated appraisals was not
  conditioned on any agreement or understanding, written or otherwise, that I would report (or present analysis supporting) a
  predetermined specific value, a predetermined minimum value, a range or direction in value, a value that favors the cause of
  any party, or the attainment of a specific result or occurrence of a specific subsequent event (such as approval of a pending
  mortgage loan application).

  19. I personally prepared all conclusions and opinions about the real estate that were set forth in this appraisal report. If I
  relied on significant real property appraisal assistance from any individual or individuals in the performance of this appraisal
  or the preparation of this appraisal report, I have named such individual(s) and disclosed the specific tasks performed in this
  appraisal report. I certify that any individual so named is qualified to perform the tasks. I have not authorized anyone to make
  a change to any item in this appraisal report; therefore, any change made to this appraisal is unauthorized and I will take no
  responsibility for it.

  20. I identified the lender/client in this appraisal report who is the individual, organization, or agent for the organization that
  ordered and will receive this appraisal report.


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                                        Form 1004UAD - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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                                                                                                                                   812170
                                           Uniform Residential Appraisal Report                                             File # 0322035

  21. The lender/client may disclose or distribute this appraisal report to: the borrower; another lender at the request of the
  borrower; the mortgagee or its successors and assigns; mortgage insurers; government sponsored enterprises; other
  secondary market participants; data collection or reporting services; professional appraisal organizations; any department,
  agency, or instrumentality of the United States; and any state, the District of Columbia, or other jurisdictions; without having to
  obtain the appraiser's or supervisory appraiser's (if applicable) consent. Such consent must be obtained before this appraisal
  report may be disclosed or distributed to any other party (including, but not limited to, the public through advertising, public
  relations, news, sales, or other media).

  22. I am aware that any disclosure or distribution of this appraisal report by me or the lender/client may be subject to certain
  laws and regulations. Further, I am also subject to the provisions of the Uniform Standards of Professional Appraisal Practice
  that pertain to disclosure or distribution by me.

  23. The borrower, another lender at the request of the borrower, the mortgagee or its successors and assigns, mortgage
  insurers, government sponsored enterprises, and other secondary market participants may rely on this appraisal report as part
  of any mortgage finance transaction that involves any one or more of these parties.

  24. If this appraisal report was transmitted as an "electronic record" containing my "electronic signature," as those terms are
  defined in applicable federal and/or state laws (excluding audio and video recordings), or a facsimile transmission of this
  appraisal report containing a copy or representation of my signature, the appraisal report shall be as effective, enforceable and
  valid as if a paper version of this appraisal report were delivered containing my original hand written signature.

  25. Any intentional or negligent misrepresentation(s) contained in this appraisal report may result in civil liability and/or
  criminal penalties including, but not limited to, fine or imprisonment or both under the provisions of Title 18, United States
  Code, Section 1001, et seq., or similar state laws.

  SUPERVISORY APPRAISER'S CERTIFICATION:                     The Supervisory Appraiser certifies and agrees that:

  1. I directly supervised the appraiser for this appraisal assignment, have read the appraisal report, and agree with the appraiser's
  analysis, opinions, statements, conclusions, and the appraiser's certification.

  2. I accept full responsibility for the contents of this appraisal report including, but not limited to, the appraiser's analysis, opinions,
  statements, conclusions, and the appraiser's certification.

  3. The appraiser identified in this appraisal report is either a sub-contractor or an employee of the supervisory appraiser (or the
  appraisal firm), is qualified to perform this appraisal, and is acceptable to perform this appraisal under the applicable state law.

  4. This appraisal report complies with the Uniform Standards of Professional Appraisal Practice that were adopted and
  promulgated by the Appraisal Standards Board of The Appraisal Foundation and that were in place at the time this appraisal
  report was prepared.

  5. If this appraisal report was transmitted as an "electronic record" containing my "electronic signature," as those terms are
  defined in applicable federal and/or state laws (excluding audio and video recordings), or a facsimile transmission of this
  appraisal report containing a copy or representation of my signature, the appraisal report shall be as effective, enforceable and
  valid as if a paper version of this appraisal report were delivered containing my original hand written signature.




APPRAISER        Jeff Newsom                                                    SUPERVISORY APPRAISER (ONLY IF REQUIRED)

Signature                                                                       Signature
Name Jeff Newsom                                                                Name
Company Name          Accupraisal Ohio, LLC                                     Company Name
Company Address          PO Box 883                                             Company Address
                         Springboro, OH 45066
Telephone Number         (513) 260-8700                                         Telephone Number
Email Address       accuohio@yahoo.com                                          Email Address
Date of Signature and Report          03/30/2022                                Date of Signature
Effective Date of Appraisal        03/29/2022                                   State Certification #
State Certification #      2007000035                                           or State License #
or State License #                                                              State
or Other (describe)                              State #                        Expiration Date of Certification or License
State OH
Expiration Date of Certification or License       03/30/2023                    SUBJECT PROPERTY

ADDRESS OF PROPERTY APPRAISED                                                         Did not inspect subject property
 265 Woodstream Dr
                                                                                      Did inspect exterior of subject property from street
                                                                                      Date of Inspection
 Springboro, OH 45066
APPRAISED VALUE OF SUBJECT PROPERTY $                                                 Did inspect interior and exterior of subject property
                                                        520,000
                                                                                      Date of Inspection
LENDER/CLIENT
Name No AMC
                                                                                COMPARABLE SALES
Company Name    Union Home Mortgage
Company Address   8241 Dow Circle, Strongsville, OH 44136                             Did not inspect exterior of comparable sales from street
                                                                                      Did inspect exterior of comparable sales from street
Email Address                                                                         Date of Inspection



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                                          Form 1004UAD - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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                                                                                                               FHA/VA Case No.

                                                                                                                                                                                       812170
                                                                                   Uniform Residential Appraisal Report                                                         File # 0322035
                                        FEATURE                     SUBJECT                   COMPARABLE SALE # 4                           COMPARABLE SALE # 5                         COMPARABLE SALE # 6
                            Address      265 Woodstream Dr                    445 Woodstream Dr                        148 Winding Creek Dr                     50 Tyler Ct
                                         Springboro, OH 45066                 Springboro, OH 45066                     Springboro, OH 45066                     Springboro, OH 45066
                            Proximity to Subject                              0.13 miles E                             0.21 miles SE                            0.40 miles NW
                            Sale Price                  $                  0                     $          465,000                       $          449,900                       $          461,000
                            Sale Price/Gross Liv. Area  $              sq.ft. $    187.27 sq.ft.                       $    159.65 sq.ft.                       $    151.94 sq.ft.
                            Data Source(s)                                    Day MLS 841029;DOM 29                    Day MLS 852969;DOM 42                    Day MLS 856268;DOM 44
                            Verification Source(s)                            Aud MLS                                  Aud MLS                                  Aud MLS
                            VALUE ADJUSTMENTS               DESCRIPTION          DESCRIPTION       +(-) $ Adjustment      DESCRIPTION       +(-) $ Adjustment      DESCRIPTION       +(-) $ Adjustment
                            Sales or Financing                                ArmLth                                   ArmLth                                   ArmLth
                            Concessions                                       Unknown;0                                Cash;0                                   Conv;0
                            Date of Sale/Time                                 s07/21;c06/21                            s01/22;Unk                               s03/22;Unk
                            Location                    N;Res;                N;Res;                                   N;Res;                                   N;Res;
SALES COMPARISON APPROACH




                            Leasehold/Fee Simple        Fee Simple            Fee Simple                               Fee Simple                               Fee Simple
                            Site                        10019 sf              8756 sf                                0 9932 sf                                0 11108 sf                               0
                            View                        N;Res;                N;Res;                                   N;Res;                                   N;Res;
                            Design (Style)              DT2;neo eclecticDT1.5;Cape cod                               0 DT1.5;CapeCod                          0 DT2;neo eclectic
                            Quality of Construction     Q3                    Q3                                       Q3                                       Q3
                            Actual Age                  10                    17                                     0 17                                     0 20                                     0
                            Condition                   C3                    C3                                       C3                                       C3
                            Above Grade                  Total Bdrms. Baths Total Bdrms. Baths                -4,000 Total Bdrms. Baths                -4,000 Total Bdrms. Baths
                            Room Count                    10      4    2.1      7     2    3.0                       0 8       3    3.0                       0 10      4    2.1
                            Gross Living Area                  3,988 sq.ft.         2,483 sq.ft.            +52,675          2,818 sq.ft.            +40,950          3,034 sq.ft.            +33,390
                            Basement & Finished         1857sf1764sfin 1929sf1418sfin                                0 0sf                           +20,000 1708sf0sfin                               0
                            Rooms Below Grade           1rr0br0.0ba2o 1rr1br1.0ba1o                                  0                               +10,000                                  +10,000
                            Functional Utility          Average               Avg assumed                            0 Avg assumed                            0 Avg assumed                            0
                            Heating/Cooling             Cent/ Cent            Cent/ Cent                               Cent/ Cent                               Cent/ Cent
                            Energy Efficient Items      Therm win             Therm win                                Therm win                                Therm win
                            Garage/Carport              2ga2dw                3ga2dw                         -10,000 2ga2dw                                     2ga2dw
                            Porch/Patio/Deck            Stp, lg deck          Stp, pat, encl                         0 Patio,Porch                            0 Stp, pat                        +5,000
                            Misc.


                            Net Adjustment (Total)                                                 +         - $               38,675              +       - $                66,950              +       - $          48,390
                            Adjusted Sale Price                                           Net Adj.        8.3 %                           Net Adj.    14.9  %                            Net Adj.      10.5 %
                            of Comparables                                                Gross Adj. 14.3 % $                 503,675 Gross Adj. 16.7 % $                   516,850 Gross Adj. 10.5 % $               509,390
                            Report the results of the research and analysis of the prior sale or transfer history of the subject property and comparable sales (report additional prior sales on page 3).
                                              ITEM                                     SUBJECT                         COMPARABLE SALE # 4                   COMPARABLE SALE # 5                      COMPARABLE SALE # 6
                            Date of Prior Sale/Transfer                 11/09/2020
                            Price of Prior Sale/Transfer                $442,000
SALE HISTORY




                            Data Source(s)                              Aud Wlkthrgh Owner                      Aud MLS                                Aud MLS                                   Aud MLS
                            Effective Date of Data Source(s)            03/29/2022                              03/29/2022                             03/29/2022                                03/29/2022
                            Analysis of prior sale or transfer history of the subject property and comparable sales                 See main form(s).




                            Analysis/Comments       See main form(s).
ANALYSIS / COMMENTS




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                                                                              Form 1004UAD.(AC) - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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                                                        Subject Photo Page
Borrower/Client    Diana Davoli-Turner
Property Address   265 Woodstream Dr
City               Springboro                                County Warren                                  State OH       Zip Code 45066
Lender             Union Home Mortgage




                                                                                                                        Subject Front
                                                                                                             265 Woodstream Dr
                                                                                                             Sales Price       0
                                                                                                             Gross Living Area 3,988
                                                                                                             Total Rooms       10
                                                                                                             Total Bedrooms    4
                                                                                                             Total Bathrooms   2.1
                                                                                                             Location          N;Res;
                                                                                                             View              N;Res;
                                                                                                             Site              10019 sf
                                                                                                             Quality           Q3
                                                                                                             Age               10




                                                                                                                        Subject Rear




                                                                                                                       Subject Street




                                    Form PIC3x5.SR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
         Case: 3:23-cv-00371-WHR-CHG Doc #: 9 Filed: 02/26/24 Page: 48 of 152 PAGEID      #: 264
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                                                     Photograph Addendum
Borrower/Client    Diana Davoli-Turner
Property Address   265 Woodstream Dr
City               Springboro                                County Warren                                  State OH           Zip Code 45066
Lender             Union Home Mortgage



                                                                                                                    Front / side




                                                                                                                    Front/ side




                                                                                                                    Rear alt




                                     Form GPIC3X5 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
         Case: 3:23-cv-00371-WHR-CHG Doc #: 9 Filed: 02/26/24 Page: 49 of 152 PAGEID      #: 265
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                                                     Photograph Addendum
Borrower/Client    Diana Davoli-Turner
Property Address   265 Woodstream Dr
City               Springboro                                County Warren                                  State OH         Zip Code 45066
Lender             Union Home Mortgage



                                                                                                                    View to rear




                                                                                                                    Liv




                                                                                                                    Din




                                     Form GPIC3X5 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
         Case: 3:23-cv-00371-WHR-CHG Doc #: 9 Filed: 02/26/24 Page: 50 of 152 PAGEID      #: 266
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                                                     Photograph Addendum
Borrower/Client    Diana Davoli-Turner
Property Address   265 Woodstream Dr
City               Springboro                                County Warren                                  State OH       Zip Code 45066
Lender             Union Home Mortgage



                                                                                                                    Lav




                                                                                                                    Util




                                                                                                                    Util




                                     Form GPIC3X5 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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                                                     Photograph Addendum
Borrower/Client    Diana Davoli-Turner
Property Address   265 Woodstream Dr
City               Springboro                                County Warren                                  State OH          Zip Code 45066
Lender             Union Home Mortgage



                                                                                                                    Kit din




                                                                                                                    Fam




                                                                                                                    Study




                                     Form GPIC3X5 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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                                                     Photograph Addendum
Borrower/Client    Diana Davoli-Turner
Property Address   265 Woodstream Dr
City               Springboro                                County Warren                                  State OH        Zip Code 45066
Lender             Union Home Mortgage



                                                                                                                    Blank




                                                                                                                    Gar




                                                                                                                    Bed




                                     Form GPIC3X5 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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                                                     Photograph Addendum
Borrower/Client    Diana Davoli-Turner
Property Address   265 Woodstream Dr
City               Springboro                                County Warren                                  State OH       Zip Code 45066
Lender             Union Home Mortgage



                                                                                                                    Bath




                                                                                                                    Bed




                                                                                                                    Bed




                                     Form GPIC3X5 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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                                                     Photograph Addendum
Borrower/Client    Diana Davoli-Turner
Property Address   265 Woodstream Dr
City               Springboro                                County Warren                                  State OH           Zip Code 45066
Lender             Union Home Mortgage



                                                                                                                    Bed




                                                                                                                    En suite




                                                                                                                    en suite alt




                                     Form GPIC3X5 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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                                                     Photograph Addendum
Borrower/Client    Diana Davoli-Turner
Property Address   265 Woodstream Dr
City               Springboro                                County Warren                                  State OH       Zip Code 45066
Lender             Union Home Mortgage



                                                                                                                    Bath




                                                                                                                    Bsmt




                                                                                                                    Bsmt




                                     Form GPIC3X5 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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                                                     Photograph Addendum
Borrower/Client    Diana Davoli-Turner
Property Address   265 Woodstream Dr
City               Springboro                                County Warren                                  State OH        Zip Code 45066
Lender             Union Home Mortgage



                                                                                                                    Bsmt




                                                                                                                    Util




                                                                                                                    Blank




                                     Form GPIC3X5 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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                                                    Comparable Photo Page
Borrower/Client    Diana Davoli-Turner
Property Address   265 Woodstream Dr
City               Springboro                                County Warren                                  State OH             Zip Code 45066
Lender             Union Home Mortgage




                                                                                                                       Comparable 1
                                                                                                             21 Stanton Dr
                                                                                                             Prox. to Subject      0.31 miles W
                                                                                                             Sale Price            495,000
                                                                                                             Gross Living Area     3,615
                                                                                                             Total Rooms           10
                                                                                                             Total Bedrooms        4
                                                                                                             Total Bathrooms       2.1
                                                                                                             Location              N;Res;
                                                                                                             View                  N;Res;
                                                                                                             Site                  12319 sf
                                                                                                             Quality               Q3
                                                                                                             Age                   17




                                                                                                                       Comparable 2
                                                                                                             30 Willow Grove Dr
                                                                                                             Prox. to Subject  0.15 miles NW
                                                                                                             Sale Price        489,900
                                                                                                             Gross Living Area 3,052
                                                                                                             Total Rooms       10
                                                                                                             Total Bedrooms    4
                                                                                                             Total Bathrooms   2.1
                                                                                                             Location          N;Res;
                                                                                                             View              N;Res;
                                                                                                             Site              11500 sf
                                                                                                             Quality           Q3
                                                                                                             Age               7




                                                                                                                       Comparable 3
                                                                                                             80 Millard Ct
                                                                                                             Prox. to Subject      0.77 miles W
                                                                                                             Sale Price            530,000
                                                                                                             Gross Living Area     3,318
                                                                                                             Total Rooms           11
                                                                                                             Total Bedrooms        4
                                                                                                             Total Bathrooms       2.1
                                                                                                             Location              N;Res;
                                                                                                             View                  N;Res;
                                                                                                             Site                  15464 sf
                                                                                                             Quality               Q3
                                                                                                             Age                   21




                                    Form PIC3x5.CR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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                                                    Comparable Photo Page
Borrower/Client    Diana Davoli-Turner
Property Address   265 Woodstream Dr
City               Springboro                                County Warren                                  State OH             Zip Code 45066
Lender             Union Home Mortgage




                                                                                                                       Comparable 4
                                                                                                             445 Woodstream Dr
                                                                                                             Prox. to Subject  0.13 miles E
                                                                                                             Sale Price        465,000
                                                                                                             Gross Living Area 2,483
                                                                                                             Total Rooms       7
                                                                                                             Total Bedrooms    2
                                                                                                             Total Bathrooms   3.0
                                                                                                             Location          N;Res;
                                                                                                             View              N;Res;
                                                                                                             Site              8756 sf
                                                                                                             Quality           Q3
                                                                                                             Age               17




                                                                                                                       Comparable 5
                                                                                                             148 Winding Creek Dr
                                                                                                             Prox. to Subject  0.21 miles SE
                                                                                                             Sale Price        449,900
                                                                                                             Gross Living Area 2,818
                                                                                                             Total Rooms       8
                                                                                                             Total Bedrooms    3
                                                                                                             Total Bathrooms   3.0
                                                                                                             Location          N;Res;
                                                                                                             View              N;Res;
                                                                                                             Site              9932 sf
                                                                                                             Quality           Q3
                                                                                                             Age               17




                                                                                                                       Comparable 6
                                                                                                             50 Tyler Ct
                                                                                                             Prox. to Subject      0.40 miles NW
                                                                                                             Sale Price            461,000
                                                                                                             Gross Living Area     3,034
                                                                                                             Total Rooms           10
                                                                                                             Total Bedrooms        4
                                                                                                             Total Bathrooms       2.1
                                                                                                             Location              N;Res;
                                                                                                             View                  N;Res;
                                                                                                             Site                  11108 sf
                                                                                                             Quality               Q3
                                                                                                             Age                   20




                                    Form PIC3x5.CR - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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                                                                               Building Sketch
Borrower/Client         Diana Davoli-Turner
Property Address        265 Woodstream Dr
City                    Springboro                                               County Warren                                State OH          Zip Code 45066
Lender                  Union Home Mortgage




                                                                       15'                                                                        15'

                                      27'                                                                           27'




                                                                                                           Bedrm
                                                                     Fam Rm
                                   Kit/ Din                                                                                                      Bedrm
                                                                                        30'




                                                                         Study                            Bedrm                                   En Suite
                              Din Rm                                                                                         Loft
             44'




                                                                                                    44'




                                                                                                                                                                   46'
                                                         Mud Rm


                                                                                                          Bath
                                              Lav
                             Liv Rm                                                                                                               Bath
                                                                                                          Bedrm

                                              Entry
                                                                                        27'




                                                               2 Car Attached

                                      26'                                                                   15'
                   First Floor                                                                                                                    21'

                                                                                                                          Second Floor


                                                               11'
                                                                              11'




 TOTAL Sketch by a la mode, inc.                                               Area Calculations Summary

Living Area                                                                                                               Calculation Details
First Floor                                                                         1857 Sq ft                                                           44 × 26         = 1144
                                                                                                                                                         22 × 29         = 638
                                                                                                                                                         21 × 1          =    21
                                                                                                                                                         15 × 3          =    45
                                                                                                                                                         0.5 × 3 × 3     =   4.5
                                                                                                                                                         0.5 × 3 × 3     =   4.5

Second Floor                                                                        2131.25 Sq ft                                                        21 × 9        = 189
                                                                                                                                                         15 × 8        = 120
                                                                                                                                                         36 × 27       = 972
                                                                                                                                                         21.5 × 37     = 795.5
                                                                                                                                                         15 × 3        =    45
                                                                                                                                                         0.5 × 3 × 3.5 = 5.25
                                                                                                                                                         0.5 × 3 × 3 =     4.5

Total Living Area (Rounded):                                                        3988 Sq ft
Non-living Area
2 Car Attached                                                                       572 Sq ft                                                           22 × 25         =   550
                                                                                                                                                         2 × 11          =    22




                                                      Form SKT.BLDSKI - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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                                                                 Flood Map
Borrower/Client    Diana Davoli-Turner
Property Address   265 Woodstream Dr
City               Springboro                                County Warren                                 State OH   Zip Code 45066
Lender             Union Home Mortgage




                                    Form MAP.FLOOD - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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                                                             Location Map
Borrower/Client    Diana Davoli-Turner
Property Address   265 Woodstream Dr
City               Springboro                               County Warren                                 State OH   Zip Code 45066
Lender             Union Home Mortgage




                                    Form MAP.LOC - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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Borrower/Client    Diana Davoli-Turner
Property Address   265 Woodstream Dr
City               Springboro                                   County Warren                                 State OH         Zip Code 45066
Lender             Union Home Mortgage


                                                        Scope of Work

  I personally made a field inspection (when applicable) of the subject property unless otherwise noted.

 The property being appraised and the comparable sales relied upon in making this appraisal were as
 represented in the appraisal.

 To the best of my knowledge and belief the statements contained in the appraisal herein set forth are true,
 and the information upon which the opinions expressed therein are based is correct; subject to the limiting
 conditions therein set forth.

 I understand that such appraisal may be used in connection with the acquisition of property for a project
 utilizing U.S. Department of Housing and Urban Development funds.

 This appraisal has been made in conformity with appropriate laws, regulations, and policies and
 procedures applicable to appraisal of property for such purposes; and that to the best of my knowledge no
 portion of the value assigned to such property consists of items which are noncompensable under the
 established law of said State.

 Any decrease or increase in the fair market value of real property prior to the date of valuation caused by
 the project for which such property is acquired, or by the likelihood that the property would be acquired
 for such project, other than that due to physical deterioration within the reasonable control of the owner,
 was disregarded in determining the compensation for the property.

 Neither my employment nor my compensation for making this appraisal and report are in any way
 contingent upon the values reported herein.

 I have no direct or indirect present or contemplated future personal interest in such property or in any
 benefit from the acquisition of such property appraised.

 I have not revealed the findings and results of such appraisal to anyone other than the proper officials of
 the acquiring agency or officials of the U.S. Department of Housing and Urban Development and I will not
 do so until so authorized by said officials, or until I am required to do so by due process of law, or until I
 am released from this obligation by having publicly testified as to such findings.

 I have not given consideration to, or included in my appraisal, any allowance for relocation assistance
 benefits.
                                                                        End




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Property Address   265 Woodstream Dr
City               Springboro                                   County Warren                                 State OH         Zip Code 45066
Lender             Union Home Mortgage


                     Accupraisal Ohio General Addendum/ Notes
 This is a Appraisal Report.

 The intended user of this report is limited solely to the identified client. The rationale for how the appraiser
 arrived at the opinions and conclusions set forth in the report may not be understood properly without
 additional information in the appraisers workfile.

 Unless otherwise noted, no one provided significant real property appraisal assistance to the person
 signing this certification. If any individuals did provide significant real property appraisal assistance they
 are identified here along with a summary of the extent of the assistance provided in the report.

 The appraisal report is prepared for the sole and exclusive use of the appraiser's client. No third parties are
 authorized to rely upon this report without the express written consent of the appraiser and the appraiser's
 client. The client may not be the same party as the lender.
 Those parties listed in Paragraph 23 of page 6, as well as possible others, may rely on this report as stated.
  However, the Scope of Work for the appraisal and the level of detail provided in the report were based
 solely on the requirements of the intended user specifically stated.

 No employee, director, officer or agent of the lender, or any other third party acting as a joint venture
 partner, independent contractor, appraisal management company, or partner on behalf of the lender
 has influenced or attempted to influence the development, reporting, result or review of this
 assignment through coercion, extortion, collusion, compensation, instruction, inducement,
 intimidation, bribery or in any other manner.

 I have not been contacted by anyone other than the intended user (lender/client as identified on the
 first page of the report), borrower, or designated contact to make an appointment to enter the
 property.
 The source of definitions in this appraisal is FNMA.

 The appraisal is NOT a home inspection. The appraiser conducted only a visual observation of readily
 accessible areas. The appraisal cannot be relied upon to disclose nor reveal conditions and/ or defects in
 the property.

 The value estimated in this appraisal is based upon the following assumptions:
 -that there is an adequate supply of safe water.
 -that the sanitary waste is disposed of by a properly functioning system, either public or private.
 -that the subject property is free of soil contamination. That any above-ground or under-ground
 storage tanks are not leaking and are properly registered and, if abandoned, are free from
 contamination and were properly drained, filled and sealed.
 -that there are no hazardous waste sites on or nearby the subject property which could/ would
 negatively effect the value or safety of the property.
 -that there is no uncontained friable asbestos or other hazardous material on the property.
 -that there are no uncontained PCB’s on or nearby the property.
 -that the radon level is at or below EPA recommended levels.
 -that there is no significant area formaldehyde insulation or material on the property.

 When any of the environmental assumptions made in this addendum are not correct, the estimated
 value in this appraisal may not be valid.

 The appraiser is not a home inspector. The appraiser provides an opinion of value. The appraisal
 does not guarantee that the property is free of defects or environmental problems. The appraiser
 performs an inspection of visible and accessible areas only. Mold or other issues may be present in
 areas the appraiser cannot see. A professional home inspection or environmental inspection is
 recommended if there are concerns about these issues.

 Fees: The fee invoiced and billed for this report is for this report only. It does not include any other
 services, information, or appearances. If further services are requested or required, such as further
 research, testimony, court appearances, depositions, or similar, additional fees will be billed, and
 that invoice (or invoices) will be due within 30 days of the performed service. The person,


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Lender             Union Home Mortgage

 organization, or company which requests the service will be responsible for the invoice and
 payment.

 Accupraisal Ohio LLC uses electronic/digital signatures and photo imaging on all appraisals. The
 electronic signature used is the appraisers original signature. This technology is now the industry
 standard, and fully accepted.

 Valuation methodology: The valuation of residential property considers three approaches to value
 (Cost Approach, Sales Comparison Approach, and Income Approach). Though considered for all
 properties, not all three approaches apply to every property. Each approach utilizes data that is
 gathered from the marketplace. The Cost Approach is no longer required by FNMA, Freddie Mac,
 nor FHA except for Manufactured Homes. The income approach is only completed for
 non-owner-occupied properties.

 No warranty of the subject is given or implied. No liability is assumed for the structural or
 mechanical elements of the property. See above re: "not an inspector".

 Site notes: a site plan was not provided by the Client, nor was a survey of the subject site. The site
 dimensions included here (when applicable and available) are per the respective county auditor, and
 typically via their website. If there is any discrepancy between the actual vs. reported dimensions,
 totals, or acreage, the auditor should be notified. The information provided by the auditor is
 assumed to be accurate and correct.

 I do not have any present nor perceived future interest in the appraised property.

 No personal property is included in the appraised value.

 Neighborhood section, "Growth" refers to new construction/ expansion.

 Land use: "Other" land use encompasses green spaces, parks, places of worship, government buildings,
 etc. Things which don't fit cleanly into the other categories.

 If sold comps older than six months are used, they are included here in order to convey a better snapshot of
 the market and activity.

 The appraised value should not be viewed as the absolute value of the subject property. Any
 property has a range of value. The purpose of this appraisal is to assist the client/ lender in making a loan
 decision, and is used to show that a price/ cost is (or is not) reasonable for the area/ market. The value
 noted herein should be viewed as an estimate of what the property could be worth as of the date of the
 appraisal based on available sales in the market.

 Effective age: In order to obtain a credible opinion of effective age for the subject property, the Cost
 Approach to value would need to be completed. As the Cost Approach was not completed here (see
 above), a supported effective age could not be completed.

 The source of the definition of market value is obtained in HUD Handbook 4150.2, Paragraph 4-1A. See
 attached definition of market value contained in Fannie Mae Form 1004.

 Intended users: If applicable, FNMA and HUD are intended users.

 Housing trends: Demand/ supply vs. Marketing time: This isn't correlational, and neither number indicates
 the other. Demand supply is determined by a review of Actives vs Solds from the past year, and is
 exhibited above the Sales 1-3 grid in the URAR. Marketing time is per the 1004mc, and is taken from a
 larger sample of the market, per its instructions. Both numbers change independently.

 The GLA noted in this report is based upon the appraisers measurement of the building which may include
 interior and/ or exterior methods. The measurements are intended to give an idea of the square footage/
 size, and should not be viewed as exact. Irregularities may occur due to sloping, obstructions, distance
 measured from the dwelling, and/or ground imperfections. No guarantee is given nor implied as to the


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Lender             Union Home Mortgage

 actual square footage of the house. The square footage estimated herein was calculated from physical
 measurements taken by the appraiser. See attached sketch. The appraiser does not, and cannot, guarantee
 the square footage.

 An estimated exposure time for the subject is 47 days. There is no valid way to predict when a property
 will sell.

 I have performed no services, as an appraiser or in any other capacity, regarding the property
 that is the subject of the of this report within the three-year period immediately preceding
 acceptance of this assignment.

 The subject is a legally permissible use based on its current zoning. Also, the lot size, shape and
 land-to-building ratio allow the present structure and indicate a good utilization of the
 improvements.
 Based on current market conditions, the existing structure as a single family residence is its
 financially feasible and maximally productive use. The highest and best use, as if vacant, would be
 to construct a single family residence.

 NOTE: If, after the submission of the initial appraisal report to the lender, there is a request from the client
 or any other party to consider "alternate" or different properties as comparables, there will be a limit of
 three "alternates" to be researched and fee of $100 will be added to the invoice.

 Median value/ "predominant value": Median number is just the one value which happens to be
 in the middle if all values are lined up from lowest to highest. Being below or above this number
 means nothing at all. I'm often asked if the subject is an "under improved property" if its lower
 than the median, or an "overimprovement" if its higher. Its neither. If subject is lower than the
 lowest value for the neighborhood, or higher than the highest, then its an under- or
 over-improvement.

 The appraiser does not guarantee that the property is free from defects. The appraisal
 establishes the value of the property for mortgage purposes only.

 Utilities were "on" at the time of my walkthrough. See photos.




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                              Appraiser Independence Certification



  I do hereby certify, I have followed the appraiser independence safeguards in compliance with Appraisal
  Independence and any applicable state laws I may be required to comply with. This includes but is not
  limited to the following:
          I am currently licensed and/or certified by the state in which the property to be appraised is located
          My license is the appropriate license for the appraisal assignment(s) and is reflected on the
          appraisal report.
          I certify that there have been no sanctions against me for any reason that would impair my ability
          to perform appraisals pursuant to the required guidelines.

  I assert that no employee, director, officer, or agent of               Union Home Mortgage              ,
  or any other third party acting as joint venture partner, independent contractor, appraisal management
  company, or partner on behalf of               Union Home Mortgage              , influenced, or attempted
  to influence the development, reporting, result, or review of my appraisal through coercion, extortion,
  collusion, compensation, inducement, intimidation, bribery, or in any other manner.

  I further assert that             Union Home Mortgage                                  has never participated in any of the
  following prohibited behavior in our business relationship:

      1)    Withholding or threatening to withhold timely payment or partial payment for an appraisal report;

      2)    Withholding or threatening to withhold future business with me, or demoting or terminating or
            threatening to demote or terminate me;

      3)    Expressly or impliedly promising future business, promotions, or increased compensation for
            myself;

      4)    Conditioning the ordering of my appraisal report or the payment of my appraisal fee or salary or
            bonus on the opinion, conclusion, or valuation to be reached, or on a preliminary value estimate
            requested from me;

      5)    Requesting that I provide an estimated, predetermined, or desired valuation in an appraisal report
            prior to the completion of the appraisal report, or requesting that I provide estimated values or
            comparable sales at any time prior to my completion of an appraisal report;

      6)    Provided me an anticipated, estimated, encouraged, or desired value for a subject property or a
            proposed or target amount to be loaned to the borrower, except that a copy of the sales contract
            for purchase transactions may be provided;

      7)    Provided to me, or my appraisal company, or any entity or person related to me as appraiser,
            appraisal company, stock or other financial or non-financial benefits;

      8)    Any other act or practice that impairs or attempts to impair my independence, objectivity, or
            impartiality or violates law or regulation, including, but not limited to, the Truth in Lending Act
            (TILA) and Regulation Z, or the USPAP.




                                                                      03/30/2022
Signature                                                             Date
Jeff Newsom                                                           2007000035
Appraiser's Name                                                      State License or Certification #
                                                                      03/30/2023                                            OH
State Title or Designation                                            Expiration Date of License or Certification          State

265 Woodstream Dr, Springboro, OH 45066
Address of Property Appraised

                                                                                                                                05/13




                             Form APPRIND2 - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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DEFINITION OF MARKET VALUE:               The most probable price which a property should bring in a competitive and open market under all conditions
requisite to a fair sale, the buyer and seller, each acting prudently, knowledgeably and assuming the price is not affected by undue stimulus. Implicit in this
definition is the consummation of a sale as of a specified date and the passing of title from seller to buyer under conditions whereby: (1) buyer and seller are
typically motivated; (2) both parties are well informed or well advised, and each acting in what they considers their own best interest; (3) a reasonable time is allowed
for exposure in the open market; (4) payment is made in terms of cash in U.S. dollars or in terms of financial arrangements comparable thereto; and (5) the price
represents the normal consideration for the property sold unaffected by special or creative financing or sales concessions granted by anyone associated with
the sale. (Source: FDIC Interagency Appraisal and Evaluation Guidelines, October 27, 1994.)

SCOPE OF REVIEW: The scope of this review is limited to the information being provided by the original appraiser, and is to form an opinion as to the apparent adequacy
and relevance of the data and the propriety of any adjustments to the data; form an opinion as to the appropriateness of the appraisal methods
and techniques used and develop the reasons for any disagreement; form an opinion as to whether the analyses, opinions, and conclusions in the
report under review are appropriate and reasonable, and develop the reasons for any disagreement.

                                     CERTIFICATION AND STATEMENT OF LIMITING CONDITIONS
CERTIFICATION:       The reviewer certifies and agrees that, to the best of his/her knowledge and belief:

1. The statements of fact contained in this report are true and correct.

2. The reported analyses, opinions, and conclusions are limited only by the reported assumptions and limiting conditions and are my personal, impartial, and unbiased
professional analyses, opinions, and conclusions.

3. Unless otherwise indicated, I have no present or prospective interest in the property that is the subject of the work under review and no personal interest with
respect to the parties involved.

4. Unless otherwise indicated, I have performed no services, as an appraiser or in any other capacity, regarding the property that is the subject of the work under review
within the three-year period immediately preceding acceptance of this assignment.

5. I have no bias with respect to the property that is the subject of the work under review or to the parties involved with this assignment.

6. My engagement in this assignment was not contingent upon developing or reporting predetermined results.

7. My compensation is not contingent on an action or event resulting from the analyses, opinions, or conclusions in this review or from its use.

8. My compensation for completing this assignment is not contingent upon the development or reporting of predetermined assignment results or assignment results that
favors the cause of the client, the attainment of a stipulated result, or the occurrence of a subsequent event directly related to the intended use of this appraisal review.

9. My analyses, opinions, and conclusions were developed and this review report was prepared in conformity with the Uniform Standards of Professional Appraisal Practice.

10. Unless otherwise indicated, I have not made a personal inspection of the subject of the work under review.

11. Unless otherwise indicated, no one provided significant appraisal, appraisal review, or appraisal consulting assistance to the person(s) signing this certification
(if there are exceptions, the name of each individual providing significant real property appraisal assistance is stated elsewhere in this report).




CONTINGENT AND LIMITING CONDITIONS: The certification of the Reviewer appearing in the review report is subject to the following conditions
and to such other specific and limiting conditions as are set forth by the Reviewer in the review report.

1. The Reviewer assumes no responsibility for matters of a legal nature affecting the property which is the subject of this review or the title thereto, nor does
the Reviewer render any opinion as to the title, which is assumed to be good and marketable.

2. The Reviewer will not give testimony or appear in court because he or she reviewed an appraisal of the property in question, unless specific arrangements to
do so have been made beforehand, or as otherwise required by law.

3. The Reviewer assumes that there are no hidden or unapparent conditions of the property, subsoil, or structures, which would render it more or less valuable.
The Reviewer assumes no responsibility for such conditions, or for engineering which might be required to discover such factors. This review report must not be
considered an environmental assessment of the subject property.

4. Information, estimates, and opinions furnished to the Reviewer, and contained in the review report, were obtained from sources considered reliable and
believed to be true and correct. However, no responsibility for accuracy of such items furnished to the Reviewer can be assumed by the Reviewer.

5.    Disclosure of the contents of the report is governed by the Uniform Standards of Professional Appraisal Practice, the Bylaws and Regulations of the
professional appraisal organizations with which the Reviewer is associated, and any applicable federal, state or local laws.

6. Neither all, nor any part of the content of the review report, or copy thereof (including the conclusions of the review, the identity of the Reviewer,
professional designations, reference to any professional appraisal organizations, or the firm with which the Reviewer is connected), shall be used for any purpose
by anyone but the client specified in the review report, its successors and assigns, professional appraisal organizations, any state or federally approved
financial institution, any department, agency, or instrumentality of the United States or any state or the District of Columbia, without the previous written
consent and approval of the Reviewer.

7. No change of any item in the review report shall be made by anyone other than the Reviewer and the Reviewer shall have no responsibility for any such
unauthorized change.




APPRAISER:                                                                                    SUPERVISORY or CO-APPRAISER (if applicable):

Signature:                                                                                    Signature:
Name:      Jeff Newsom                                                                        Name:
Title:                                                                                        Title:
State Certification #: 2007000035                                                             State Certification #:
or State License #:                                                                           or State License #:
State: OH           Expiration Date of Certification or License:   03/30/2023                 State:              Expiration Date of Certification or License:
Date Signed: 03/30/2022                                                                       Date Signed:
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                                    UNLIMITED USE LICENSE AGREEMENT


     This Unlimited Use License Agreement (''LICENSE'') is a legal agreement between you (either an
     individual or a single entity, also referred to as (''LICENSEE'') and me, the creator (''OWNER'') of
     this work. This LICENSE is granted to you in consideration of payment of the LICENSE fee and
     upon condition that you accept the terms of this LICENSE.

     By purchasing this LICENSE, you are granted a non-exclusive, non-transferable LICENSE
     as follows:

     \B\U\IUnlimited Use.\i\u\b LICENSEE to use and copy the WORK solely or any derivative thereof outside
     of your organization for any purpose.

     \B\UFee.\u\b An additional fee will be applied

     \B\UNotice.\u\b LICENSEE shall include the copyright notice on every copy of the WORK. Unauthorized
     use, including copying of this WORK is expressly prohibited unless an Unlimited Use LICENSE is
     obtained.

     \B\UWarranties.\u\b OWNER WARRANTS THAT IT OWNS OR HAS THE FULL RIGHT AND
     AUTHORITY TO LICENSE THE WORK.

     This LICENSE represents the entire understanding between the parties with respect to its subject
     matter.

     YOU ACKNOWLEDGE THAT YOU HAVE READ THIS AGREEMENT, THAT YOU
     UNDERSTAND THIS AGREEMENT, AND UNDERSTAND THAT BY ACCEPTING THIS, BY
     LOADING, OR BY PLACING OR COPYING THE WORK ONTO YOUR COMPUTER HARD
     DRIVE, YOU AGREE TO BE BOUND BY THIS AGREEMENT'S TERMS AND CONDITIONS.
     FURTHER AGREE THAT, THIS AGREEMENT IS A COMPLETE AND EXCLUSIVE
     STATEMENT OF THE RIGHTS AND LIABILITIES OF THE PARTIES.

     ALL RIGHTS NOT SPECIFICALLY GRANTED BY THIS LICENSE ARE RESERVED BY
     OWNER.

     By not purchasing this LICENSE, you shall receive a Restricted Use License (''RESTRICTED USE'') to
     use my WORK at no additional fee.

     \URESTRICTED Use\u - to use and copy the WORK solely for purposes of managing the loan associated with
     this WORK. The lender/client specified in this appraisal report may distribute the report to: the
     borrower; another lender at the request of the borrower; the mortgagee or its successors and assigns
     for servicing said loan; and/or to all lenders in your organization to use the WORK and to sell said
     WORK as a package with the loan as intended.

     Limitations on Restricted Use
     LICENSEE shall use the WORK only for the purposes set forth in Section above. LICENSEE shall not
         Reproduce the WORK in copies or electronic form;
         Prepare a Derivative work based upon the WORK;
         Distribute copies of the WORK by sale or other transfer of ownership, or by rental, lease, or lending;
         in any form electronic, paper, or otherwise. This includes Internet application or Software
         application unless specified in this Agreement, including in any third party proprietary format,
         unless provided for in this Agreement;
         Allow endusers to resell the WORK or a derivation, or to resell data or services which are derived
         from the WORK.




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                                                  APPRAISER DISCLOSURE STATEMENT
                                           In Compliance with Ohio Revised Code Section 4763.12(C)
                                                                                                                            812170
                                                                                                                 File No.   0322035


      Name of Appraiser:            Jeff Newsom

      Class of Certification/Licensure:                    Certified General
                                                           Certified Residential
                                                           Licensed Residential
                                                           Temporary                   General              Licensed



      Certification/Licensure Number:                   2007000035


      Scope: This Report                    is within the scope of my Certification or License
                                            is not within the scope of my Certification or License



      Service Provided by:                  Disinterested & Unbiased Third Party
                                            Interested & Biased Third Party
                                            Interested Third Party on Contingent Fee Basis



      Signature of person preparing and reporting the Appraisal:




      This form must be included in conjunction with all appraisal assignments or specialized services performed by a
      state-certified or state-licensed real estate appraiser




                                                                              State of Ohio
                                                                       Department of Commerce
                                                                Division of Real Estate Appraiser Section
                                                                       Cleveland (216) 787-3100




                                        Form OADS - "TOTAL" appraisal software by a la mode, inc. - 1-800-ALAMODE
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                                                                                                                        File No.   0322035

                          UNIFORM APPRAISAL DATASET (UAD) DEFINITIONS ADDENDUM
                                (Source: Fannie Mae UAD Appendix D: UAD Field-Specific Standardization Requirements)

Condition Ratings and Definitions

C1
The improvements have been very recently constructed and have not previously been occupied. The entire structure and all components are new
and the dwelling features no physical depreciation.*


*Note: Newly constructed improvements that feature recycled materials and/or components can be considered new dwellings provided that the
dwelling is placed on a 100% new foundation and the recycled materials and the recycled components have been rehabilitated/re-manufactured
into like-new condition. Recently constructed improvements that have not been previously occupied are not considered “new” if they have any
significant physical depreciation (i.e., newly constructed dwellings that have been vacant for an extended period of time without adequate
maintenance or upkeep).


C2
The improvements feature no deferred maintenance, little or no physical depreciation, and require no repairs. Virtually all building components
are new or have been recently repaired, refinished, or rehabilitated. All outdated components and finishes have been updated and/or replaced
with components that meet current standards. Dwellings in this category either are almost new or have been recently completely renovated and
are similar in condition to new construction.

C3
The improvements are well maintained and feature limited physical depreciation due to normal wear and tear. Some components, but not every
major building component, may be updated or recently rehabilitated. The structure has been well maintained.

C4
The improvements feature some minor deferred maintenance and physical deterioration due to normal wear and tear. The dwelling has been
adequately maintained and requires only minimal repairs to building components/mechanical systems and cosmetic repairs. All major building
components have been adequately maintained and are functionally adequate.

C5
The improvements feature obvious deferred maintenance and are in need of some significant repairs. Some building components need repairs,
rehabilitation, or updating. The functional utility and overall livability is somewhat diminished due to condition, but the dwelling remains
useable and functional as a residence.

C6
The improvements have substantial damage or deferred maintenance with deficiencies or defects that are severe enough to affect the safety,
soundness, or structural integrity of the improvements. The improvements are in need of substantial repairs and rehabilitation, including many
or most major components.




Quality Ratings and Definitions

Q1
Dwellings with this quality rating are usually unique structures that are individually designed by an architect for a specified user. Such
residences typically are constructed from detailed architectural plans and specifications and feature an exceptionally high level of workmanship
and exceptionally high-grade materials throughout the interior and exterior of the structure. The design features exceptionally high-quality
exterior refinements and ornamentation, and exceptionally high-quality interior refinements. The workmanship, materials, and finishes
throughout the dwelling are of exceptionally high quality.

Q2
Dwellings with this quality rating are often custom designed for construction on an individual property owner’s site. However, dwellings in
this quality grade are also found in high-quality tract developments featuring residence constructed from individual plans or from highly
modified or upgraded plans. The design features detailed, high quality exterior ornamentation, high-quality interior refinements, and detail. The
workmanship, materials, and finishes throughout the dwelling are generally of high or very high quality.

Q3
Dwellings with this quality rating are residences of higher quality built from individual or readily available designer plans in above-standard
residential tract developments or on an individual property owner’s site. The design includes significant exterior ornamentation and interiors
that are well finished. The workmanship exceeds acceptable standards and many materials and finishes throughout the dwelling have been
upgraded from “stock” standards.

Q4
Dwellings with this quality rating meet or exceed the requirements of applicable building codes. Standard or modified standard building plans
are utilized and the design includes adequate fenestration and some exterior ornamentation and interior refinements. Materials, workmanship,
finish, and equipment are of stock or builder grade and may feature some upgrades.




                                                                   UAD Version 9/2011

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                          UNIFORM APPRAISAL DATASET (UAD) DEFINITIONS ADDENDUM
                                (Source: Fannie Mae UAD Appendix D: UAD Field-Specific Standardization Requirements)

Quality Ratings and Definitions (continued)

Q5
Dwellings with this quality rating feature economy of construction and basic functionality as main considerations. Such dwellings feature a
plain design using readily available or basic floor plans featuring minimal fenestration and basic finishes with minimal exterior ornamentation
and limited interior detail. These dwellings meet minimum building codes and are constructed with inexpensive, stock materials
with limited refinements and upgrades.

Q6
Dwellings with this quality rating are of basic quality and lower cost; some may not be suitable for year-round occupancy. Such dwellings
are often built with simple plans or without plans, often utilizing the lowest quality building materials. Such dwellings are often built or
expanded by persons who are professionally unskilled or possess only minimal construction skills. Electrical, plumbing, and other mechanical
systems and equipment may be minimal or non-existent. Older dwellings may feature one or more substandard or non-conforming additions
to the original structure




Definitions of Not Updated, Updated, and Remodeled

Not Updated
           Little or no updating or modernization. This description includes, but is not limited to, new homes.
           Residential properties of fifteen years of age or less often reflect an original condition with no updating, if no major
           components have been replaced or updated. Those over fifteen years of age are also considered not updated if the
           appliances, fixtures, and finishes are predominantly dated. An area that is ‘Not Updated’ may still be well maintained
           and fully functional, and this rating does not necessarily imply deferred maintenance or physical/functional deterioration.

Updated
           The area of the home has been modified to meet current market expectations. These modifications
           are limited in terms of both scope and cost.
           An updated area of the home should have an improved look and feel, or functional utility. Changes that constitute
           updates include refurbishment and/or replacing components to meet existing market expectations. Updates do not
           include significant alterations to the existing structure.

Remodeled
           Significant finish and/or structural changes have been made that increase utility and appeal through
           complete replacement and/or expansion.
           A remodeled area reflects fundamental changes that include multiple alterations. These alterations may include
           some or all of the following: replacement of a major component (cabinet(s), bathtub, or bathroom tile), relocation
           of plumbing/gas fixtures/appliances, significant structural alterations (relocating walls, and/or the addition of)
           square footage). This would include a complete gutting and rebuild.




Explanation of Bathroom Count

           Three-quarter baths are counted as a full bath in all cases. Quarter baths (baths that feature only a toilet) are not
           included in the bathroom count. The number of full and half baths is reported by separating the two values using a
           period, where the full bath count is represented to the left of the period and the half bath count is represented to the
           right of the period.


           Example:
           3.2 indicates three full baths and two half baths.




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                      UNIFORM APPRAISAL DATASET (UAD) DEFINITIONS ADDENDUM
                           (Source: Fannie Mae UAD Appendix D: UAD Field-Specific Standardization Requirements)

Abbreviations Used in Data Standardization Text

    Abbreviation                               Full Name                                       Fields Where This Abbreviation May Appear
 ac                    Acres                                                             Area, Site
 AdjPrk                Adjacent to Park                                                  Location
 AdjPwr                Adjacent to Power Lines                                           Location
 A                     Adverse                                                           Location & View
 ArmLth                Arms Length Sale                                                  Sale or Financing Concessions
 ba                    Bathroom(s)                                                       Basement & Finished Rooms Below Grade
 br                    Bedroom                                                           Basement & Finished Rooms Below Grade
 B                     Beneficial                                                        Location & View
 Cash                  Cash                                                              Sale or Financing Concessions
 CtySky                City View Skyline View                                            View
 CtyStr                City Street View                                                  View
 Comm                  Commercial Influence                                              Location
 c                     Contracted Date                                                   Date of Sale/Time
 Conv                  Conventional                                                      Sale or Financing Concessions
 CrtOrd                Court Ordered Sale                                                Sale or Financing Concessions
 DOM                   Days On Market                                                    Data Sources
 e                     Expiration Date                                                   Date of Sale/Time
 Estate                Estate Sale                                                       Sale or Financing Concessions
 FHA                   Federal Housing Authority                                         Sale or Financing Concessions
 GlfCse                Golf Course                                                       Location
 Glfvw                 Golf Course View                                                  View
 Ind                   Industrial                                                        Location & View
 in                    Interior Only Stairs                                              Basement & Finished Rooms Below Grade
 Lndfl                 Landfill                                                          Location
 LtdSght               Limited Sight                                                     View
 Listing               Listing                                                           Sale or Financing Concessions
 Mtn                   Mountain View                                                     View
 N                     Neutral                                                           Location & View
 NonArm                Non-Arms Length Sale                                              Sale or Financing Concessions
 BsyRd                 Busy Road                                                         Location
 o                     Other                                                             Basement & Finished Rooms Below Grade
 Prk                   Park View                                                         View
 Pstrl                 Pastoral View                                                     View
 PwrLn                 Power Lines                                                       View
 PubTrn                Public Transportation                                             Location
 rr                    Recreational (Rec) Room                                           Basement & Finished Rooms Below Grade
 Relo                  Relocation Sale                                                   Sale or Financing Concessions
 REO                   REO Sale                                                          Sale or Financing Concessions
 Res                   Residential                                                       Location & View
 RH                    USDA - Rural Housing                                              Sale or Financing Concessions
 s                     Settlement Date                                                   Date of Sale/Time
 Short                 Short Sale                                                        Sale or Financing Concessions
 sf                    Square Feet                                                       Area, Site, Basement
 sqm                   Square Meters                                                     Area, Site
 Unk                   Unknown                                                           Date of Sale/Time
 VA                    Veterans Administration                                           Sale or Financing Concessions
 w                     Withdrawn Date                                                    Date of Sale/Time
 wo                    Walk Out Basement                                                 Basement & Finished Rooms Below Grade
 wu                    Walk Up Basement                                                  Basement & Finished Rooms Below Grade
 WtrFr                 Water Frontage                                                    Location
 Wtr                   Water View                                                        View
 Woods                 Woods View                                                        View

Other Appraiser-Defined Abbreviations

    Abbreviation                               Full Name                                       Fields Where This Abbreviation May Appear




                                                              UAD Version 9/2011

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                                                     License




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                          EXHIBIT #2 – Second Appraisal




                                        37
                                                                                                                                                                             20221031140104
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                                                            Solidifi FLEX Appraisal Report                                                                  File No. OR7297437
                                                                                                                                                            Loan No. 20221031140104
                                                             CLIENT AND PROPERTY IDENTIFICATION
Intended Purpose:                 Portfolio Evaluation                       Purchase                      ✘ Junior Lien                   Refinance            Other:
Data/Verification Source(s) Used:   ✘ Tax Record                             Appraiser Files                   MLS                         Other: Exterior Inspection
Interest:                            ✘ Fee Simple                            Leasehold
                                                             CLIENT AND PROPERTY IDENTIFICATION
Client/Lender: U.S. Bank, N.A.                                                                    Address:     200 S 6th Street, Minneapolis, MN 55402
Borrower/Applicant: Diana Davoli-Turner                                                           Owner of Public Record: Turner, Diana Davoli
Property Address: 265 Woodstream Dr                                                               City: Springboro                                     State: OH                ZIP: 45066
Legal Description: Lot 88 Springs 3                                               APN: 0403173004                             Census Tract: 0309.01                            County: Warren
Property Type: ✘ SFR             Condo             Attached/SFR             Vacant Lot              Other:                                        PUD HOA $                        per month            per year
Specific Zoning Classification: R-1                                                                Zoning Description: Residential Use

                                                               MARKET AREA AND COMPARABLES
Market Value Trend :              Increasing       ✘ Stable    Declining                                             Typical Market Price Range: $ 395,000                         to $ 489,900
Market Predominant Occupancy:                   Tenant    ✘ Owner                                                    Typical Market Property Age: 1                              yrs to 65                   yrs
Location:            Urban     ✘ Suburban                Rural Estimated marketing time for the subject property: ✘ Under 3 months                                    3-6 months              Over 6 months
Is the highest and best use of the subject property as improved (based on the improvements description provided by the various data sources available)
the present use?:       ✘ Yes              No
Summarize HBU Analysis Based on inspection of the immediate area, neighborhood chacteristics, single family residential has been determined as the highest/best use.

       FEATURE                                  SUBJECT                                COMPARABLE #1                             COMPARABLE #2                                 COMPARABLE #3
Address                         265 Woodstream Dr                            45 Willow Grove Dr                          285 Woodstream Dr                           30 Willow Grove Dr
                                Springboro, OH 45066                         Springboro, OH 45066                        Springboro, OH 45066                        Springboro, OH 45066
Proximity to Subject                                                         0.20 miles NW                               0.02 miles E                                0.15 miles NW
Sales Price                     $                                                                  $ 471,000                                  $ 451,000                                     $ 489,900
Price/Gross Liv. Area           $/SF        $                                $/SF $ 159.72                               $/SF $ 167.28                               $/SF $ 160.52
Data Sources                                                                 Pub Rec DAYMLS#856989                       Pub Rec DAYMLS#851491                       Pub Rec DAYMLS#845921
Sales/Fin. Concessions
Date of Sale (MM/DD/YY)                                                      03/24/2022                                  11/17/2021                                  08/31/2021
Location                        Suburban                                     Suburban                                    Suburban                                    Suburban
Site                            9600 sf                                      11690 sf                                    8910 sf                                     11573 sf
View
Design (Style)                  DT2;Traditional                              DT2;Traditional                             DT2;Traditional                             DT2;Traditional
Quality (UAD)
Actual Age                      10                                           4                                           10                                          7
Condition (UAD)                 C3                                           C3                                          C3                                          C3
Above Grade                         Total          Bdrms      Baths          Total Bdrms Baths                           Total Bdrms Baths                           Total Bdrms Baths
Room Count                             8             4         2.1               8        4          2.1                   9        4           2.1                      9        4            2.1
Gross Living Area (GLA)          3,898                        sq. ft.        2,949                  sq. ft.   +31,317    2,696                  sq. ft.   +39,666 3,052                       sq. ft.   +27,918
Basement & Finished             Full                                         Full                                        Full                                        Full
Rooms Below Grade               Unfinished                                   Unfinished                                  Part Finished                    -10,500 Part Finished                          -10,500
Functional Utility
Heating/Cooling
Garage/Carport                  2ga2dw                                       2ga2dw                                      2ga2dw                                      2ga2dw
                                1 Fireplace                                  1 Fireplace                                 1 Fireplace                                 1 Fireplace




Net Adjustment (Total)                                                           ✘ +          -       $        31,317      ✘ +         -           $       29,166        ✘+           -          $       17,418
Adjusted Sale Price                                                         Net Adj.          6.6 %                   Net Adj.    6.5 %                           Net Adj.                3.6 %
of Comparables                                                              Gross Adj.        6.6 % $         502,317 Gross Adj. 11.1 % $                 480,166 Gross Adj.              7.8 % $       507,318

                                                                              EVALUATION SUMMARY
Analysis of Prior Sale or Transfer History of the Subject Property or Comparable Sales:
The most recent transfer for the subject property appears to be arm length.




General Comments:
Comparable and competitive properties that were considered similar in location, design, age, GLA and other amenities were analyzed, the appraiser has presented what is
considered the 3 best sales. Due to the limited number of sales available similar in age, the following conditions will exist. The GLA could not be bracketed. The property is larger
in GLA, similar in amenities for traditional properties within the market area, these features should not affect the marketing of the property. The appraiser has considered all sales
with more weight given to sale #1 as it shows the lowest overall adjustment percentage.




The Appraiser has researched the transfer and listing history of the subject property for the past 3 years and the comparable sales for the past 12 months.
Subject Property Is Currently Listed For Sale?     Yes ✘ No             Data Source: DAYYMLS
Current Listing History                List Date                         List Price                                      Days on Market                              Data Source
                                N/A                                     $ N/A                                             N/A                                            N/A

Subject Property has been Listed within the last 12 Months?                            Yes        ✘ No          Data Source: DAYMLS
12 Month Listing History       List Date                                    List Price                                   Days on Market                              Data Source
                                                                        $
                                                                        $
Transfer History               Subject in past 36 months:                Comp 1 in past 12 months:                       Comp 2 in past 12 months:                    Comp 3 in past 12 months:
(if more than two, use       $ 442,000        11/09/2020                $ N/A          N/A                              $ N/A           N/A                         $ N/A          N/A
comments section)            $ N/A                                      $ N/A                                           $ N/A                                       $ N/A
                                              N/A                                      N/A                                              N/A                                        N/A

                       As Is Opinion of Market Value: $ 485,000                                                As of: 04/25/2022
                                                                                                  AI Ready                                                                                 Solidifi Desktop 2020
                                                                                                                                                                                      20221031140104
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                                                                    Solidifi FLEX Appraisal Report                                                                       File No. OR7297437
                                                                                                                                                                         Loan No. 20221031140104
    No inspection required per assignment
✘ I performed a visual inspection of the exterior only of the subject property from at least the street
   I performed a visual inspection of the readily available exterior and interior areas of the subject property
   FLEX Lite: I did not perform a visual inspection of the exterior or interior areas of the subject property. The appraiser obtained the information in the below Exterior Condition
   Inspection section (and Interior, if indicated below) from sources that he or she considers reliable and believes them to be true and correct. The appraiser does not assume
   responsibility for the accuracy of such items that were furnished by other parties. The below third party inspection information was provided by:
   Company:                                                       Agent/Inspector:                                           License No. (If Applicable):
   Other:                                                                   Please Specify:
                                                                            EXTERIOR CONDITION INSPECTION
The subject could be sufficiently viewed to complete this                                                  Property Type
inspection report ✘ Yes              No
Property Damage
                                                                                                             ✘ Detached SFR                 Attached SFR/Townhouse                   Condo        Duplex
                                                                                                               Manufactured/Modular Home                       Triplex         Quadplex           Vacant Lot
✘ No Visible Damage
                                                                                                               Other:
    Doors            Siding         Foundation         Roof         Windows
                                                                                                           For sale sign visible on the subject property
    Driveway           Other:
                                                                                                               Yes         ✘ No
Damage Type (if applicable)
                                                                                                           Construction Design
  Fire           Wind                   Water             Deferred Maintenance
   Other:
                                                                                                              1 Story     1.5 Story              ✘ 2 Story               3 Story        Split Level
                                                                                                               Other:
Damage Description:
                                                                                                           Exterior Sheathing
                                                                                                               Stucco        ✘ Vinyl/Wood/Aluminum                        Brick/Veneers
                                                                                                               Other:
Property Condition                                                                                         Garage         Indicate Type and Number of Bays
   C1        C2                 C3           C4           C5           C6            N/A                       None           ✘ Attached                   Detached                     Carport
Neighborhood Condition                                                                                         1 Car          ✘ 2 Car                      3 Car
   Improving              Declining       ✘ Stable               Unknown                                      Other:
Describe Above:                                                                                            Parking
                                                                                                             ✘ Drive Way              Street
                                                                                                                Other:

                                                                                                           General Inspection Comments:
Adverse Neighborhood Attributes
✘ No Adverse Attributes
    High Tension Power Lines                       Boarded/Condemned Homes
    Suspicious Odors                Vacant Lots         Highway
    Airport/Flight Path             Railroad Tracks           Streets In Disrepair
    Commercial/Industrial Presence
   Other:
Describe Attributes:




Beneficial Neighborhood Attributes
✘ No Beneficial Attributes
    Golf Course Community                           Community Amenities (parks, pools,
    Waterfront                                      bike paths, etc.)

   Other:
Describe Attributes:




Interior Inspection Performed                Yes       ✘ No                 INTERIOR CONDITION INSPECTION
Interior Features                                                                                          Foundation/Basement
Window Type:            Insulated         DblHung         Other:                                           Type:          Full        Partial          Slab         Crawl.           Other:
Flooring:               Hardwood          Carpet          Tile        Vinyl/Laminate                       Walls:          Poured            Conc. Block           Other:
    Other:                                                                                                 Basement Entry/Exit:               Walk Out             Walk Up           Interior Only
Walls:                  Dry Wall          Plaster         Other:                                           Evidence of:           Infestation          Dampness              Settlement
Trim/Finish:            Wood              Other:                                                           Other:
Add'l Features:                                                                                            Add'l Features:



                                                                                                           Mechanicals
Kitchen
Floor:        Tile      Hardwood          Vinyl/Lam.       Other:                                          Heat:          FWA             HWBB          Elec. BB           Radiant       Other:
Counter:          Granite/Stone           Laminate        Other:                                           Fuel:          GAS             Electric       Oil        Other:
Appliances:           Dishwasher          Disposal         Refrigerator                                    Cooling:          Central Air              Individual           Other:
   Oven/Range                 Microwave       Other:
                                                                                                           Electricity:          Public         Private                    Water:             Public       Private
Add'l Features:
                                                                                                           Gas:            Public               Private                    Sewer:             Public       Private
                                                                                                           Add'l Features:

Bath(s)
                                          Vinyl/Lam.                                                       Presence of deferred maintenance or conditions that affect the
Floor:        Tile      Hardwood                           Other:
                                                                                                           livability, soundness or structural integrity of the property?
Bath Wainscot:           Tile         Fiberglass        Other:
                                                                                                                Yes              No       Describe:
Add'l Features:




                                                                               MARKETABILITY STATEMENTS
Subject’s style conforms to neighborhood                                                   ✘ Yes        No
Subject's current use conforms to the neighborhood                                         ✘ Yes        No
Adverse easements or encroachments                                                            Yes    ✘ No           Unknown
Commercial activity occurring on subject property                                             Yes    ✘ No
Subject property is occupied                                                                  Yes       No     ✘ Unknown
Visible signs of construction or remodeling of subject                                        Yes    ✘ No
Damages affect the subject's safety or habitability                                           Yes    ✘ No
Presence of security bars on windows                                                          Yes    ✘ No
Presence of outbuildings other than common shed or detached garage                            Yes    ✘ No           Unknown
Subject located in a current designated natural disaster area                                 Yes    ✘ No           Unknown

                                                                                                    AI Ready                                                                                      Solidifi Desktop 2020
                                                                                                                                          20221031140104
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                                                     Solidifi FLEX Appraisal Report                                            File No. OR7297437
                                                                                                                               Loan No. 20221031140104
                                                                MARKETABILITY COMMENTS




                                                UNIFORM APPRAISAL DATASET (UAD) DEFINITIONS
                          (Source: Fannie Mae UAD Appendix D: UAD Field -Specific Standardization Requirements, updated 1/2014)
                                                        For full UAD Definitions Data Set please visit:
                                             https://www.fanniemae.com/singlefamily/uniform-appraisal-dataset#
Condition Ratings and Definitions

C1        The improvements have been recently constructed and have not been previously occupied. The entire structure and all components are new and the
          dwelling features no physical depreciation.
Note: Newly constructed improvements that feature recycled or previously used materials and/or components can be considered new dwellings provided that
the dwelling is placed on a 100 percent new foundation and the recycled materials and the recycled components have been rehabilitated/remanufactured into
like-new condition. Improvements that have not been previously occupied are not considered “new” if they have any significant physical depreciation (that is,
newly constructed dwellings that have been vacant for an extended period of time without adequate maintenance or upkeep).
C2        The improvements feature no deferred maintenance, little or no physical depreciation, and require no repairs. Virtually all building components are
          new or have been recently repaired, refinished, or rehabilitated. All outdated components and finishes have been updated and/or replaced with
          components that meet current standards. Dwellings in this category are either almost new or have been recently completely renovated and are
          similar in condition to new construction.
Note: The improvements represent a relatively new property that is well maintained with no deferred maintenance and little or no physical depreciation, or an
older property that has been recently completely renovated.
C3        The improvements are well maintained and feature limited physical depreciation due to normal wear and tear. Some components, but not every
          major building component, may be updated or recently rehabilitated. The structure has been well maintained.
Note: The improvement is in its first-cycle of replacing short-lived building components (appliances, floor coverings, HVAC, etc.) and is being well maintained.
Its estimated effective age is less than its actual age. It also may reflect a property in which the majority of short-lived building components have been replaced
but not to the level of a complete renovation .
C4        The improvements feature some minor deferred maintenance and physical deterioration due to normal wear and tear. The dwelling has been
          adequately maintained and requires only minimal repairs to building components/mechanical systems and cosmetic repairs. All major building
          components have been adequately maintained and are functionally adequate.
Note: The estimated effective age may be close to or equal to its actual age. It reflects a property in which some of the short-lived building components have
been replaced, and some short-lived building components are at or near the end of their physical life expectancy; however, they still function adequately. Most
minor repairs have been addressed on an ongoing basis resulting in an adequately maintained property.
C5        The improvements feature obvious deferred maintenance and are in need of some significant repairs. Some building components need repairs,
          rehabilitation, or updating. The functional utility and overall livability is somewhat diminished due to condition, but the dwelling remains useable and
          functional as a residence.
Note: Some significant repairs are needed to the improvements due to the lack of adequate maintenance. It reflects a property in which many of its short-lived
building components are at the end of or have exceeded their physical life expectancy but remain functional.
C6        The improvements have substantial damage or deferred maintenance with deficiencies or defects that are severe enough to affect the safety,
          soundness, or structural integrity of the improvements. The improvements are in need of substantial repairs and rehabilitation, including many or
          most major components.
Note: Substantial repairs are needed to the improvements due to the lack of adequate maintenance or property damage. It reflects a property with conditions
severe enough to affect the safety, soundness, or structural integrity of the improvements.
Quality Ratings and Definitions
Q1       Dwellings with this quality rating are usually unique structures that are individually designed by an architect for a specified user. Such residences
         typically are constructed from detailed architectural plans and specifications and feature an exceptionally high level of workmanship and
         exceptionally high-grade materials throughout the interior and exterior of the structure. The design features exceptionally high-quality exterior
         refinements and ornamentation, and exceptionally high-quality interior refinements. The workmanship, materials, and finishes throughout the dwelling
         are of exceptionally high quality.
Q2       Dwellings with this quality rating are often custom designed for construction on an individual property owner’s site. However, dwellings in this quality
         grade are also found in high-quality tract developments featuring residences constructed from individual plans or from highly modified or upgraded
         plans. The design features detailed, high quality exterior ornamentation, high-quality interior refinements, and detail. The workmanship, materials,
         and finishes throughout the dwelling are generally of high or very high quality.
Q3       Dwellings with this quality rating are residences of higher quality built from individual or readily available designer plans in above-standard residential
         tract developments or on an individual property owner’s site. The design includes significant exterior ornamentation and interiors that are well
         finished. The workmanship exceeds acceptable standards and many materials and finishes throughout the dwelling have been upgraded from “stock”
         standards.
Q4       Dwellings with this quality rating meet or exceed the requirements of applicable building codes. Standard or modified standard building plans are
         utilized and the design includes adequate fenestration and some exterior ornamentation and interior refinements. Materials, workmanship, finish, and
         equipment are of stock or builder grade and may feature some upgrades.
Q5       Dwellings with this quality rating feature economy of construction and basic functionality as main considerations. Such dwellings feature a plain
         design using readily available or basic floor plans featuring minimal fenestration and basic finishes with minimal exterior ornamentation and limited
         interior detail. These dwellings meet minimum building codes and are constructed with inexpensive, stock materials with limited refinements and
         upgrades.
Q6       Dwellings with this quality rating are of basic quality and lower cost; some may not be suitable for year-round occupancy. Such dwellings are often
         built with simple plans or without plans, often utilizing the lowest quality building materials. Such dwellings are often built or expanded by persons
         who are professionally unskilled or possess only minimal construction skills. Electrical, plumbing, and other mechanical systems and equipment may
         be minimal or non-existent. Older dwellings may feature one or more substandard or non-conforming additions to the original structure.
Definitions of Not Updated, Updated, and Remodeled
         Not Updated - Little or no updating or modernization. This description includes, but is not limited to, new homes. Residential properties of fifteen years
         of age or less often reflect an original condition with no updating, if no major components have been replaced or updated. Those over fifteen years of
         age are also considered not updated if the appliances, fixtures, and finishes are predominantly dated. An area that is ‘Not Updated’ may still be well
         maintained and fully functional, and this rating does not necessarily imply deferred maintenance or physical/functional deterioration.
         Updated - The area of the home has been modified to meet current market expectations. These modifications are limited in terms of both scope and
         cost. An updated area of the home should have an improved look and feel, or functional utility. Changes that constitute updates include refurbishment
         and/or replacing components to meet existing market expectations . Updates do not include significant alterations to the existing structure .
         Remodeled - Significant finish and/or structural changes have been made that increase utility and appeal through complete replacement and/or
         expansion. A remodeled area reflects fundamental changes that include multiple alterations. These alterations may include some or all of the following:
         replacement of a major component (cabinet(s), bathtub, or bathroom tile), relocation of plumbing/gas fixtures/appliances, significant structural alterations
         (relocating walls, and/or the addition of square footage). This would include a complete gutting and rebuild.
                                                                              AI Ready                                                             Solidifi Desktop 2020
                                                                                                                                            20221031140104
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                                                                                                                              File No. OR7297437
                                                              Solidifi FLEX Appraisal Report                                  Loan No. 20221031140104
PURPOSE OF APPRAISAL: The purpose of this appraisal is to form an “as is” opinion of the market value of the real property that is the subject of this
report based upon a quantitative sales comparison analysis for use in the mortgage finance transaction.
DEFINITION OF MARKET VALUE: The most probable price which a property should bring in a competitive and open market under all conditions requisite
to a fair sale, the buyer and seller each acting prudently and knowledgeably, and assuming the price is not affected by undue stimulus. Implicit in this
definition is the consummation of a sale as of a specified date and the passing of title from seller to buyer under conditions whereby: (1) buyer and seller are
typically motivated; (2) both parties are well informed or well advised, and acting in what they consider their own best interests; (3) a reasonable time is
allowed for exposure in the open market; (4) payment is made in terms of cash in United States dollars or in terms of financial arrangements comparable
thereto; and (5) the price represents the normal consideration for the property sold unaffected by special or creative financing or sales concessions granted
by anyone associated with the sale.
INTENDED USE: This appraisal report is intended for use only by the client. The function of this appraisal is to help the client analyze the risk associated
with making a loan on the subject property.
INTENDED USER: The intended user of this appraisal report is the lender/client identified.
SCOPE OF THE APPRAISAL: The scope of this appraisal consists of identifying the characteristics of the subject property that are relevant to the purpose
and intended use of the appraisal, as previously addressed. For the subject, this is accomplished by reviewing public record data, prior appraisal files and/or
other documentation from a disinterested source and which is considered reliable from the appraiser's perspective. The data sources for the comparable
sales may include public record data services, multiple listing services, automated valuation models and/or other data sources that become available and are
deemed to be reliable by the appraiser. The confirmation of comparable sale data (i.e., closed sale documentation and property characteristics) is via public
data sources and multiple listing services, as appropriate. The appraiser has not viewed the sales in the field. The data is collected, verified and analyzed in
accordance with set parameters as defined within this Scope and the Intended Use of the appraisal. Atypical variances of comparable sales in relation to the
subject will be accounted for and detailed in this report.
In developing this appraisal report, the appraiser has incorporated only the Sales Comparison Approach unless otherwise noted in the addenda attached
hereto. The appraiser has determined that the scope of this assignment does produce credible assignment results. The client agrees that the limited scope
and presentation of the analysis is appropriate given the intended use.
If no inspection of the property is completed, the appraiser has made some basic assumptions, including the following:
       • The subject property is assumed to be in average overall condition and generally conforms to the neighborhood in terms of style, condition,
       construction materials and in external and economic factors.
       • There are no adverse environmental conditions (hazardous wastes, toxic substances, etc.) present in the improvements, on the site, or in the
       immediate vicinity of the subject property.
       • There are no significant discrepancies between the public record information or other data source and the existing site or improvements.
ANALYSIS OF ANY CURRENT AGREEMENT OF SALE, PRIOR SALE WITHIN THREE YEARS AND RECONCILIATION: Unless otherwise noted, the
appraiser has no knowledge of any current agreement of sale or any current or past listing agreement. Prior sales of the subject property within three years
of the effective date of this appraisal have been researched and reported on the appraisal report (in the Transfer History section) if available from MLS or
public record sources. The appraiser has reconciled the quality and quantity of data available into an indication of Market Value, in accordance with the
intended use and scope of the appraisal.
STATEMENT OF CONTINGENT AND LIMITING CONDITIONS: The Appraiser’s Certification that appears in this report is subject to the following
conditions:
1. The appraiser will not be responsible for matters of a legal nature that affect the subject property.
2. The appraiser assumes the title is good and marketable and, therefore, will not render any opinions about the title. The property is appraised on the basis
of it being under responsible ownership.
3. The appraiser will not give testimony or appear in court because he or she performed this appraisal unless specific arrangements to do so have been
made beforehand.
4. Except as noted herein, the appraiser has not made an exterior or interior inspection of the subject property. The appraiser assumes that there are no
adverse conditions associated with the improvements or the subject site. Unless otherwise stated in this report, the appraiser has no knowledge of any
hidden or apparent conditions of the property or adverse environmental conditions (including the presence of hazardous wastes, toxic substances, etc.)
present in the improvements, on the site or in the immediate vicinity that would make the property more or less valuable, and has assumed that there are no
such conditions. The appraiser makes no guarantees or warranties, express or implied, regarding the condition of the property. The appraiser will not be
responsible for any such conditions that do exist or for any engineering or testing that might be required to discover whether such conditions exist. Because
the appraiser is not an expert in the field of environmental hazards, the appraisal report may not be considered an environmental assessment of the property.
5. The appraiser obtained the information, estimates, and opinions that were expressed in the appraisal report from sources that he or she considers reliable
and believes them to be true and correct. The appraiser does not assume responsibility for the accuracy of such items that were furnished by other parties.
6. The appraiser will not disclose the content of the appraisal report except as provided for in the Uniform Standards of Professional Appraisal Practice.
7. Unless otherwise noted, the appraiser has assumed that the subject real estate’s zoning classification complies with local zoning code.
8. Unless otherwise noted in this report, my opinion of reasonable exposure time at the market value stated in this report is equal to the indicated marketing
time noted on page 1 of this report.
APPRAISER’S CERTIFICATION: Unless otherwise noted in this report, the appraiser certifies, to the best of my knowledge and belief:
1. The statements of fact contained in this report are true and correct.
2. The reported analyses, opinions and conclusions are limited only by the reported assumptions and limiting conditions, and are my personal,
impartial, and unbiased professional analyses, opinions, and conclusions.
3. I have no present or prospective interest in the property that is the subject of this report, and no personal interest with respect to the parties
involved.
4. I have no bias with respect to the property that is the subject of this report or to the parties involved with this assignment.
5. My engagement in this assignment was not contingent upon developing or reporting predetermined results.
6. My compensation for completing this assignment is not contingent upon the development or reporting of a predetermined value or direction in
value that favors the cause of the client, the amount of the value opinion, the attainment of a stipulated result, or the occurrence of a subsequent
event directly related to the intended use of this appraisal.
7. My analyses, opinions, and conclusions were developed, and this report has been prepared, in conformity with the Uniform Standards of
Professional Appraisal Practice.
8.I have not made a personal inspection of the comparable sales noted in this report.
9. I personally prepared all conclusions and opinions about the real estate that were set forth in this appraisal report. I have identified all relied upon sources
to develop this appraisal report and appraisal assignment. I have identified any individuals who provided significant assistance in developing the opinion of
value, or preparation of the appraisal report, and have disclosed any tasks provided by such individuals on page 2 Condition Inspection page or attached
addenda.
10. Unless otherwise noted in this report, I have performed NO services, as an appraiser or in any other capacity, regarding the property that is the
subject of this report within the three-year period immediately preceding acceptance of this assignment.
           APPRAISER                                                                        LENDER/CLIENT
                                                                                            Name (AMC) Solidifi
           Signature                                                                        AMC #
           Name Thomas G Augspurger                                                         Company Name U.S. Bank, N.A.
         Company Name Residential Equity Specialists                                     Company Address 200 S 6th Street
         Company Address 526 Sage Run Dr                                                                     Minneapolis                     , MN   55402
                               Lebanon                   , OH       45036                Email Address
         Telephone Number (513) 423-5177                                                 SUPERVISORY APPRAISER (ONLY IF REQUIRED)
         Email Address gaugspurger@cinci.rr.com                                          Signature
         Date of Signature and Report 05/03/2022
                                                                                         Name
         Effective Date of Appraisal 04/25/2022                                          Company Name
         State Certification # 392602                                                    Company Address
         or State License #                                                                                                             ,
         or Other (describe)                        State #
                                                                                         Telephone Number
         State OH                                                                        Email Address
         Expiration Date of Certification or License 03/01/2023                          Date of Signature
         ADDRESS OF PROPERTY APPRAISED                                                   State Certification #
            265 Woodstream Dr
                                                                                         or State License #
            Springboro                                 , OH       45066                  State
         APPRAISED VALUE OF SUBJECT PROPERTY $ 485,000                                   Expiration Date of Certification or License
                                                                              AI Ready                                                              Solidifi Desktop 2020
                                                                                                                                       20221031140104
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                                                                    TEXT ADDENDUM                                                 File #   OR7297437

  Borrower/Client   Diana Davoli-Turner
  Property Address 265 Woodstream Dr
  City   Springboro                                       County Warren               State OH        Zip Code 45066

  Lender U.S. Bank, N.A.


Supplemental Addendum [Single-page]
Comparable Search Criteria
 The appraiser has analyzed sales similar in design, age, site area and other amenities, and presented what are considered the best sales available.

  Defined Market area
  The neighborhood boundaries are th Montgomery county line to the north Settlers Walk to the west, Yankee to the east, Lytle Five Points to the
south.

  This property is located within an acceptable distance from my office, 9 miles. I have spent sufficient time in this market and understand the
nuances of the local market and the supply and demand factors relating to the specific property type and location involved.

  Due to the exterior only nature of the inspection, the interior features and the GLA for this property has been determined by figures provided by the
Montgomery county auditor's office. The appraiser cannot comment on figures provided by other sources.

  All photo's are original with the report.

 The intended user of this report is the listed client and its assignee's.

  The intended use of this report is market valuation.

 This assignment was performed within the scope of work as outlined on page 2 of this report.

  This appraisal report will contain an electronic signature, and digital photographs that are password protected and locked on transmission. The
electronic signature will be considered as authentic as an actual hand signature.

    I have reviewed and utilized the best available data sources in reporting the physical attributes of
the subject property and comparable sales available. Any discrepancies between the reported physical attributes and what is visible in the public
domain is as follows. None

 The sales presented are considered the best available, although certain features of the subject property are not bracketed, the sales used are the
closest in range that were available.

  Based on the surrounding properties, and the current market conditions, the highest and best use of the subject property is single family residential.

 There were active or pending listings similar to the subject property available, due to this, a comparable listing cannot be provided.
                                                                                                                                                           20221031140104
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                                                                          USPAP ADDENDUM                                                           File No. OR7297437

   Borrower    Diana Davoli-Turner
   Property Address     265 Woodstream Dr

   City   Springboro                                      County Warren                                      State OH            Zip Code 45066
   Lender U.S. Bank, N.A.


    This report was prepared under the following USPAP reporting option:

    ✘ Appraisal Report                           This report was prepared in accordance with USPAP Standards Rule 2-2(a).

          Restricted Appraisal Report            This report was prepared in accordance with USPAP Standards Rule 2-2(b).




    Reasonable Exposure Time
      My opinion of a reasonable exposure time for the subject property at the market value stated in this report is: 30 to 70 days




    Additional Certifications
      I certify that, to the best of my knowledge and belief:

    ✘ Ithree-year
         have NOT performed services, as an appraiser or in any other capacity, regarding the property that is the subject of this report within the
                  period immediately preceding acceptance of this assignment.
          I HAVE performed services, as an appraiser or in another capacity, regarding the property that is the subject of this report within the three-year
          period immediately preceding acceptance of this assignment. Those services are described in the comments below.
     — The statements of fact contained in this report are true and correct.
     — The reported analyses, opinions, and conclusions are limited only by the reported assumptions and limiting conditions and are my personal, impartial, and unbiased
     professional analyses, opinions, and conclusions.
     — Unless otherwise indicated, I have no present or prospective interest in the property that is the subject of this report and no personal interest with respect to the parties
     involved.
     — I have no bias with respect to the property that is the subject of this report or the parties involved with this assignment.
     — My engagement in this assignment was not contingent upon developing or reporting predetermined results.
     — My compensation for completing this assignment is not contingent upon the development or reporting of a predetermined value or direction in value that favors the cause of
     the client, the amount of the value opinion, the attainment of a stipulated result, or the occurrence of a subsequent event directly related to the intended use of this appraisal.
     — My analyses, opinions, and conclusions were developed, and this report has been prepared, in conformity with the Uniform Standards of Professional Appraisal Practice
     that were in effect at the time this report was prepared.
     — Unless otherwise indicated, I have made a personal inspection of the property that is the subject of this report.
     — Unless otherwise indicated, no one provided significant real property appraisal assistance to the person(s) signing this certification (if there are exceptions, the name of
     each individual providing significant real property appraisal assistance is stated elsewhere in this report).




    Additional Comments




 APPRAISER:                                                                                     SUPERVISORY APPRAISER: (only if required)


 Signature:                                                                                     Signature:
 Name: Thomas G Augspurger                                                                      Name:
 Date Signed:      05/03/2022                                                                   Date Signed:
 State Certification #: 392602                                                                  State Certification #:
 or State License #:                                                                            or State License #:
 or Other (describe)                                 State #                                    State:
 State: OH                                                                                      Expiration Date of Certification or License:
 Expiration Date of Certification or License: 03/01/2023                                        Supervisory Appraiser Inspection of Subject Property:
 Effective Date of Appraisal: 04/25/2022                                                             Did Not          Exterior-only from Street           Interior and Exterior

USPAP 2014                                                                               AI Ready
                                                                                                 20221031140104
        Case: 3:23-cv-00371-WHR-CHG Doc #: 9 Filed: 02/26/24 Page: 82 of 152 PAGEID #: 298
                                        SUBJECT PHOTOGRAPH ADDENDUM                           File # OR7297437
Borrower/Client   Diana Davoli-Turner
Property Address 265 Woodstream Dr
City   Springboro                         County Warren   State OH   Zip Code 45066

Lender U.S. Bank, N.A.




                                                                            FRONT OF SUBJECT PROPERTY

                                                                             Subject Front
                                                                             265 Woodstream Dr




                                                                             REAR OF SUBJECT PROPERTY

                                                                             Subject Rear
                                                                             265 Woodstream Dr




                                                                            STREET SCENE


                                                                             Subject Street
                                                                             265 Woodstream Dr
                                                                                                20221031140104
        Case: 3:23-cv-00371-WHR-CHG Doc #: 9 Filed: 02/26/24 Page: 83 of 152 PAGEID #: 299
                                        SUBJECT PHOTOGRAPH ADDENDUM                          File # OR7297437
Borrower/Client   Diana Davoli-Turner
Property Address 265 Woodstream Dr
City   Springboro                          County Warren   State OH   Zip Code 45066

Lender U.S. Bank, N.A.




                                                                              ADDITIONAL SUBJECT PHOTO
                                                                              Subject Side




                                                                              ADDITIONAL SUBJECT PHOTO
                                                                              Subject Side




                                                                              ADDITIONAL SUBJECT PHOTO
                                                                              Address
                                                                                         20221031140104
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                                         LOCATION MAP ADDENDUM                      File #   OR7297437

Borrower/Client   Diana Davoli-Turner
Property Address 265 Woodstream Dr
City   Springboro                       County Warren   State OH   Zip Code 45066

Lender U.S. Bank, N.A.
                                                                                                    20221031140104
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                                                    Location Map
                                                                                               File #   OR7297437

Borrower/Client   Diana Davoli-Turner
Property Address 265 Woodstream Dr
City   Springboro                       County Warren              State OH   Zip Code 45066

Lender U.S. Bank, N.A.
                                                                                                    20221031140104
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                                                    2022 License
                                                                                               File #   OR7297437

Borrower/Client   Diana Davoli-Turner
Property Address 265 Woodstream Dr
City   Springboro                       County Warren              State OH   Zip Code 45066

Lender U.S. Bank, N.A.
                                                                                                    20221031140104
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                                                        2022 E-O
                                                                                               File #   OR7297437

Borrower/Client   Diana Davoli-Turner
Property Address 265 Woodstream Dr
City   Springboro                       County Warren              State OH   Zip Code 45066

Lender U.S. Bank, N.A.
                                                                        20221031140104
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                     EXHIBIT #3 – Henley Defendants’ Appraisal




                                        38
                                                                                                                                                                        20221031140104
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                                                                                        20221031140104
                                                              Uniform Residential Appraisal Report                                                                     File # USB-220506-02084-1
 The purpose of this summary appraisal report is to provide the lender/client with an accurate, and adequately supported, opinion of the market value of the subject property.
   Property Address 265 Woodstream Dr                                                                           City Springboro                             State OH            Zip Code 45066
   Borrower DIANA DAVOLI-TURNER                                       Owner of Public Record DAVOLI-TURNER DIANA                                            County Warren
   Legal Description SPRINGS 3 LOT: 88, 0.228 ACRES
   Assessor's Parcel # 0403173004                                                                               Tax Year 2021                               R.E. Taxes $ 6,010
S Neighborhood Name Springs                                                                                     Map Reference 17140                         Census Tract 0309.01
U
   Occupant ✘ Owner              Tenant           Vacant                   Special Assessments $ 0                                             ✘  PUD     HOA $ 580          ✘ per year     per month
B
J Property Rights Appraised         ✘ Fee Simple          Leasehold         Other (describe)
E Assignment Type           Purchase Transaction            Refinance Transaction ✘ Other (describe) Home Equity
C Lender/Client U.S. Bank, N.A.                                                      Address 1050 Woodward Avenue, Detroit, MI 48226
T
   Is the subject property currently offered for sale or has it been offered for sale in the twelve months prior to the effective date of this appraisal?                   Yes ✘ No
   Report data source(s) used, offering price(s), and date(s).
    DayMLS


  I     did       did not analyze the contract for sale for the subject purchase transaction. Explain the results of the analysis of the contract for sale or why the analysis was not performed.
C
O
N
  Contract Price $                     Date of Contract                      Is the property seller the owner of public record?           Yes       No Data Source(s)
T
R Is there any financial assistance (loan charges, sale concessions, gift or downpayment assistance, etc.) to be paid by any party on behalf of the borrower?                                Yes      No
A If Yes, report the total dollar amount and describe the items to be paid.
C
T

  Note: Race and the racial composition of the neighborhood are not appraisal factors.
             Neighborhood Characteristics                                         One-Unit Housing Trends                          One-Unit Housing            Present Land Use %
N Location      Urban       ✘ Suburban          Rural         Property Values       Increasing   ✘ Stable      Declining       PRICE             AGE     One-Unit               68 %
E Built-Up ✘ Over 75%           25-75%          Under 25% Demand/Supply             Shortage     ✘ In Balance Over Supply      $(000)            (yrs)   2-4 Unit                 1 %
I Growth        Rapid       ✘ Stable            Slow          Marketing Time ✘ Under 3 mths         3-6 mths   Over 6 mths      250      Low       0     Multi-Family             9 %
G Neighborhood Boundaries
                                                                                                                                550     High      125    Commercial             15 %
H
  East of 741, west of Bunnell Hill Rd, north of Central Ave, south of Austin Blvd.
B                                                                                                                               350     Pred.      20    Other                    7 %
O Neighborhood Description
R
  The subject is within a typical suburban neighborhood of Warren County, in a PUD. All necessary amenities are within 5 miles. There is an average overall condition of homes within
H
  the subject's neighborhood. There are many different styles and sizes of homes within the subject's neighborhood. Other land use is 6% parks, 1% undeveloped, not affecting market
O value or marketability.
O
D Market Conditions (including support for the above conclusions)
    Market studies from MLS, Pace and Court House Records indicate that the property values appear to be stable. This indicates an active absorption rate and general balance
    between supply and demand. There is no known prevalence of unusual seller financing concessions/buydowns that impact this market. Marketing time should not exceed 100 days if
    reasonably priced.
   Dimensions NA, irregular, see attached plat map                           Area 9932 sf                            Shape Irregular                         View N;Res;
   Specific Zoning Classification PUD                                         Zoning Description Planned Unit Development District
   Zoning Compliance ✘ Legal              Legal Nonconforming (Grandfathered Use)           No Zoning          Illegal (describe)
   Is the highest and best use of subject property as improved (or as proposed per plans and specifications) the present use?     ✘ Yes              No If No, describe.


S Utilities   Public Other (describe)                                     Public Other (describe)                    Off-site Improvements-Type          Public    Private
I Electricity   ✘                                           Water           ✘                                        Street     Asphalt                    ✘
T Gas           ✘                                           Sanitary Sewer ✘                                         Alley      None
E
  FEMA Special Flood Hazard Area                Yes ✘ No FEMA Flood Zone X                        FEMA Map # 39165C0030E                   FEMA Map Date 12/17/2010
   Are the utilities and off-site improvements typical for the market area? ✘ Yes       No If No, describe.
   Are there any adverse site conditions or external factors (easements, encroachments, environmental conditions, land uses, etc.)?               Yes ✘ No If Yes, describe.
    The site is average in size for the area and the subject improvements. There are no apparent adverse easements, encroachments or use changes presently or contemplated. The
    improvement on the property apparently conforms to current zoning regulations. If site dimensions are not listed above, they are not available from data source or during normal
    course of business. Dimensions may be available from county engineer.

                General Description                                     Foundation                          Exterior Description materials/condition              Interior      materials/condition
   Units   ✘ One       One with Accessory Unit                Concrete Slab       Crawl Space               Foundation Walls     Concrete/C3                      Floors              CarpetHrdWd/C3
   # of Stories 2                                         ✘ Full Basement             Partial Basement      Exterior Walls       ConbrdBrckStone/C3               Walls               Drywall/C3
   Type ✘ Det.          Att.   S-Det./End Unit            Basement Area                  1,816 sq. ft.      Roof Surface         AspShingle/C3                    Trim/Finish         Wood/C3
   ✘ Existing         Proposed    Under Const.            Basement Finish                    85 %           Gutters & Downspouts Aluminum/C3                      Bath Floor          Viny/C3
   Design (Style) Colonial                                    Outside Entry/Exit       ✘ Sump Pump          Window Type              VinDubHng/C3                 Bath Wainscot       FiberGl/C3
  Year Built 2012                                        Evidence of           Infestation             Storm Sash/Insulated Metal/Insulate/C3         Car Storage           None
I Effective Age (Yrs) 6                                      Dampness                Settlement        Screens               Metal/half/C3            ✘ Driveway # of Cars              2
M
P
  Attic                          None                   Heating      ✘  FWA        HWBB        Radiant Amenities                 WoodStove(s) # 0     Driveway Surface Concrete
R      Drop Stair                Stairs                      Other              Fuel Gas               ✘ Fireplace(s) # 2     ✘ Fence MetalFenc ✘ Garage # of Cars                      2
O      Floor                  ✘  Scuttle                Cooling       ✘  Central Air Conditioning      ✘  Patio/Deck  Ludk    ✘  Porch   UpoLupat          Carport     # of Cars        0
V
E
       Finished                  Heated                      Individual          Other                    Pool None              Other None           ✘ Att.           Det       Built-in
M Appliances           Refrigerator ✘ Range/Oven ✘ Dishwasher ✘ Disposal ✘ Microwave                          Washer/Dryer      Other (describe)
E Finished area above grade contains:                       11 Rooms                     4 Bedrooms              2.1 Bath(s)        3,818 Square Feet of Gross Living Area Above Grade
N
  Additional features (special energy efficient items, etc.)
T
S UAD condition descriptions are for all items in the improvements section, just not overall condition.

   Describe the condition of the property (including needed repairs, deterioration, renovations, remodeling, etc.).
    C3;No updates in the prior 15 years;ago;Physical depreciation appears to be normal and expected for the age of the improvements, in average condition throughout. The subject's
    floor plan reflects adequate separation between work,recreational and sleeping areas. There is no functional obsolescence or deferred maintenance noted.Appliances only checked
    if real estate, not chattel.



   Are there any physical deficiencies or adverse conditions that affect the livability, soundness, or structural integrity of the property?                     Yes   ✘ No If Yes, describe



   Does the property generally conform to the neighborhood (functional utility, style, condition, use, construction, etc.)?                        ✘ Yes         No If No, describe




Freddie Mac Form 70 March 2005                UAD Version 9/2011                                    Page 1 of 6                                                              Fannie Mae Form 1004 March 2005
                                                                                                     AI Ready
                                                                                                                                                                                 20221031140104
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                                                                                          20221031140104
                                                                  Uniform Residential Appraisal Report                                                                          File # USB-220506-02084-1
  There are      0           comparable properties currently offered for sale in the subject neighborhood ranging in price from $ 0                                        to $ 0
  There are 11               comparable sales in the subject neighborhood within the past twelve months ranging in sale price from $ 407,900                                  to $ 530,000
              FEATURE                        SUBJECT                            COMPARABLE SALE # 1                               COMPARABLE SALE # 2                           COMPARABLE SALE # 3
   Address       265 Woodstream Dr                                21 Stanton Dr                                     190 Stanton Dr                                    266 Woodstream Dr
                 Springboro, OH 45066                             Springboro, OH 45066                              Springboro, OH 45066                              Springboro, OH 45066
   Proximity to Subject                                           0.31 miles W                                      0.34 miles NW                                     0.04 miles S
   Sale Price                       $                                                          $       495,000                                    $      450,000                                          $      427,000
   Sale Price/Gross Liv. Area       $                    sq.ft.   $          136.93 sq.ft.                          $          132.35 sq.ft.                          $           116.57 sq.ft.
  Data Source(s)                                                  DayMls#847097;DOM 53                              DayMls#836580;DOM 42                              DayMls#825178;DOM 57
  Verification Source(s)                                          WarrnCountyAuditorPRC/Realtor                     WarrnCountyAuditorPRC/Realtor                     WarrnCountyAuditorPRC/Realtor
  VALUE ADJUSTMENTS                      DESCRIPTION                    DESCRIPTION            + (-) $ Adjustment           DESCRIPTION          + (-) $ Adjustment        DESCRIPTION                   + (-) $ Adjustment
  Sale or Financing                                                ArmLth                                           ArmLth                                            ArmLth
  Concessions                                                      Conv;0                                           Conv;0                                            Conv;0
  Date of Sale/Time                                                s10/21;c08/21                                    s05/21;c03/21                                     s10/20;c09/20                              +21,350
  Location                          N;Res;                         N;Res;                                           N;Res;                                            N;Res;
  Leasehold/Fee Simple              Fee Simple                     Fee Simple                                       Fee Simple                                        Fee Simple
  Site                              9932 sf                        12319 sf                                   0     13839 sf                                    0     8973 sf                                           0
  View                              N;Res;                         N;Res;                                           N;Res;                                            N;Res;
S Design (Style)                    DT2;Colonial                   DT2;Colonial                                     DT2;ContCapeCod                             0     DT2;Colonial
A
L Quality of Construction
                                    Q3                             Q3                                               Q3                                                Q3
E Actual Age                        10                             16                                         0     16                                          0     8                                                 0
S Condition                         C3                             C3                                               C3                                                C3
  Above Grade                       Total     Bdrms. Baths         Total    Bdrms. Baths                            Total     Bdrms. Baths                      0     Total     Bdrms. Baths                            0
C
O Room Count                        11        4         2.1        11       4        2.1                            10        4        2.1                      0     10        4         2.1                           0
M Gross Living Area                 3,818               sq.ft.    3,615               sq.ft.            +4,872      3,400               sq.ft.           +10,032      3,663                     sq.ft.            +3,720
P Basement & Finished               1816sf1544sfin                 1904sf1428sfin                             0     2421sf1210sfin                              0     1815sf0sfin                                 +8,000
A Rooms Below Grade
                                    1rr1br0.0ba1o                  1rr0br0.0ba1o                              0     1rr0br1.0ba2o                          -4,000                                                       0
R
I Functional Utility                Average                        Average                                          Average                                           Average
S Heating/Cooling                   FWA/CA                         FWA/CA                                           FWA/CA                                            FWA/CA
O
  Energy Efficient Items            NoneNoted                      NoneNoted                                        NoneNoted                                         NoneNoted
N
  Garage/Carport                    2ga2dw                         2ga2dw                                           2ga2dw                                            2ga2dw
A Porch/Patio/Deck                  UnPorLUdkLupt                  UpoLrUpatUdk                           +500      UporLUptLudk                                0     CovPorLrgUnPt                                 +500
P Exterior Materials                VinBrickStone                  VinylBrick                                 0     VinylBrick                                  0     VinBrickStone
P
  Extra Amenities In/Out            2FirplacFence                  FireplaceFence                             0     2Fireplace                                  0     Fireplace                                         0
R
O Updates/Dated/Upgrades            NoneNoted                      2UpdBaths                             -8,000     NoneNoted                                         UpdKitchen                                   -6,000
A Net Adjustment (Total)                                                   +       ✘ -         $         -2,628     ✘ +                 -        $          6,032     ✘ +                   -            $        27,570
C Adjusted Sale Price                                             Net Adj.           0.5 %                     Net Adj.                1.3 %                     Net Adj.                 6.5 %
H                                                                                              $
  of Comparables                                                  Gross Adj.         2.7 %             492,372 Gross Adj.              3.1 % $           456,032 Gross Adj.               9.3 %          $       454,570

   I     ✘ did       did not research the sale or transfer history of the subject property and comparable sales. If not, explain




   My research       ✘ did       did not reveal any prior sales or transfers of the subject property for the three years prior to the effective date of this appraisal.
   Data source(s)       Courthouse Records/DayMLS&CinMLS
   My research           did ✘ did not reveal any prior sales or transfers of the comparable sales for the year prior to the date of sale of the comparable sale.
   Data source(s)     Courthouse Records/DayMLS&CinMLS
   Report the results of the research and analysis of the prior sale or transfer history of the subject property and comparable sales (report additional prior sales on page 3).
                   ITEM                                SUBJECT                             COMPARABLE SALE #1                           COMPARABLE SALE #2                         COMPARABLE SALE #3
   Date of Prior Sale/Transfer              11/09/2020                                08/18/2018                                    05/27/2005                                08/28/2018
   Price of Prior Sale/Transfer             $442,000                                  $380,000                                      $338,838                                  $386,000
   Data Source(s)                           WarrenCountyAuditorWeb                    WarrenCountyAuditorWeb                        WarrenCountyAuditorWeb                    WarrenCountyAuditorWeb
   Effective Date of Data Source(s)         05/14/2022                                05/14/2022                                    05/14/2022                                05/14/2022
   Analysis of prior sale or transfer history of the subject property and comparable sales
       Prior transfer of the subject is only listed on the auditor site and no further information is available during the normal course of business.No prior sales of the comparables within the
       past 12 months unless reported below or under Comps 4-6 page:




   Summary of Sales Comparison Approach
       My search included sales from the past year within the neighborhood boundaries, defined on previous page. My comparable search included sales and listings most similar to the
       subject and ones included in the report are believed to be the most similar. My search included all 2story dwellings,3218-4418 sf of GLA, 2-40 yrs old, C2-C4 condition and similar
       quality. Due to a lack of sales more similar to the subject, I used sales that sold over 90 days and 6 months ago, as well as over a 1/2 mile away. Comp1 is weighted heaviest and
       used for very similar GLA and finished basement area,limited updates,under 20 yrs old. Comp2 (sold 05/07/2021) is used and weighted 2nd for finished basement area and lack of
       updates, but not weighted heavier due to larger GLA difference. Comp3 is used and weighted 3rd for most similar GLA, same PUD as subject,limited update,but not weighted
       heavier due to unfinished basement and sold well over a year ago. It sold over a year ago, used for an extreme lack of similar sales from the subject's PUD, selling in the past year.
       APPRAISAL FEE IS $400, BUT A FEE IS CHARGED BACK TO ME.


   Indicated Value by Sales Comparison Approach $ 470,000
  Indicated Value by: Sales Comparison Approach $ 470,000                               Cost Approach (if developed) $ 488,227                      Income Approach (if developed) $
R
E  The  Sales  Comparison    Approach     was  given the  most   weight in determining   the final estimated  value  since it appears   to be the most  reliable
C indicator of the value in the current local market. The Cost Approach is not deemed reliable, due to the difficulty in estimating accrued depreciation
O and the constant fluctuation of costs for materials. The Income Approach was not requested, and subject is not a rental, thus not completed.
N
C This appraisal is made ✘ "as is,"            subject to completion per plans and specifications on the basis of a hypothetical condition that the improvements have been
I completed,         subject to the following repairs or alterations on the basis of a hypothetical condition that the repairs or alterations have been completed, or     subject to the
L
  following required inspection based on the extraordinary assumption that the condition or deficiency does not require alteration or repair:
I
A It is assumed that no major
T problems exist with the subject's integral components.
I Based on a complete visual inspection of the interior and exterior areas of the subject property, defined scope of work, statement of assumptions and limiting
O
N conditions, and appraiser’s certification, my (our) opinion of the market value, as defined, of the real property that is the subject of this report is
  $ 470,000                             as of 05/14/2022                              , which is the date of inspection and the effective date of this appraisal.
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                                                                                                       AI Ready
                                                                                                                                                                                             20221031140104
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    I have two offices I work out of. One is 529 Ramsgate Dr., Dayton, OH 45430; the other is 7686 Cincinnati Dayton Rd, West Chester, OH
    I USE LOCAL, RAPATONI MLS OF GREATER CINCINNATI, AND DAYTON MLS. I USE COUNTY AUDITOR SITE, LOCAL REALTORS, ZILLOW.COM, TRULIA.COM, AND
    LOCAL NEWSPAPER. THE SUBJECT IS WITHIN 20 MILES OF APPRAISER'S OFFICE OR HOME, AS THIS APPRAISER LIVES IN BEAVERCREEK, VERY CLOSE TO
    DAYTON, AND MY OFFICE IS IN CINCINNATI. I HAVE APPRAISED IN THE SUBJECT'S MARKET FOR OVER 22 YEARS, AND IN THE PAST YEAR I HAVE APPRAISED OVER
    10 HOMES IN THE SUBJECT'S MARKET. DURING THE PAST 22 YEARS I HAVE HAD APPRAISAL OFFICES IN MONTGOMERY COUNTY, GREENE COUNTY, BUTLER
    COUNTY, AND HAMILTON COUNTY AND I AM VERY FAMILIAR WITH ALL MARKETS IN THOSE COUNTIES, AS WELL AS BORDERING COUNTIES.
    I HAVE NOT PERFORMED ANY SERVICES ON THE SUBJECT PROPERTY IN THE PAST THREE YEARS.The market value is the value the subject should sell for, if listed today,
    within an exposure time of 60 days, preceding the date of this appraisal.
A
    Some listings may have sold for many days below or above the marketing time noted. This is typically due to initial list price being too high or too
D   low, or the season in which the property is listed .
D
I   No special assessments reported or known. NO EXTERNAL OBSOLESCENCE IS NOTED. There is no gas or oil drilling or leased on the subject property.
T
I   Due to updates and upgrades over the years, the subject's effective age is much less than its actual age.
O
N   No personal property is included within the estimate value of the subject, and appraiser has no training in the valuation of personal property,
    whatsoever.
A
L   The subject is above predominant values due to its much larger GLA compared to all dwellings in the market.

C   CONDITION ADJUSTMENTS, WITHIN THE CONDITION FIELD ON THE GRID, ARE BASED ON THE DEFINITIONS PROVIDED WITHIN THIS REPORT. FURTHER
O   ADJUSTMENTS, I MAY BELIEVE THAT GO BEYOND THESE STRICT AND MINIMAL RANGE OF DEFINITIONS, CAN BE FOUND AT THE BOTTOM OF THE GRID. THIS IS
M   WHERE ADJUSTMENTS FOR UPGRADES, UPDATES, OR DATED MATERIALS ARE MADE. DATED EXAMPLES WOULD BE, BUT NOT LIMITED TO: WORN CARPET;
M   WALLS WITH DAMAGE OR DISCOLORING; STAINS ON WALLS OR CARPETS; MISSING PIECES OF WAINSCOTT; OLDER KITCHEN CABINETS; OLDER ROOF;
E   OUTDATED WALLPAPER,ETC.
    I avoided the use of REO homes and homes with limited exposure time.
N
T   THE SUBJECT'S PUD INCLUDES SHARED GREEN SPACES, EXERCISE ROOM, PLAY AREA,POOL, PROFESSIONAL MANAGEMENT.
S




                                                                      COST APPROACH TO VALUE (not required by Fannie Mae)
    Provide adequate information for the lender/client to replicate the below cost figures and calculations.
    Support for the opinion of site value (summary of comparable land sales or other methods for estimating site value)
    Site value is based on extraction method.
C
O
S
T ESTIMATED            REPRODUCTION OR               ✘ REPLACEMENT COST NEW                                OPINION OF SITE VALUE ..............................................................                   =$     110,000
  Source of cost data Marshall and SwiftEstimator                                                          Dwelling 3,818                             Sq. Ft. @ $ 82.50                              ............ =$     314,985
A Quality rating from cost service Aavg             Effective date of cost data 05/14/2022                 Basement1,816                              Sq. Ft. @ $ 35.00                              ............ =$      63,560
P
P Comments     on Cost Approach  (gross living area calculations, depreciation, etc.)                                                                                                                             =$
R The estimated remaining economical life of the property is 64 years                                      Garage/Carport            442              Sq. Ft. @ $ 30.00                              ............ =$      13,260
O    T                                                                                                     Total Estimate of Cost-New ...............................................................             =$     391,805
A
C
H                                                                                                          Less                      Physical          Functional             External
                                                                                                           Depreciation              33,578                                                                       =$ (   33,578 )
                                                                                                           Depreciated Cost of Improvements ...................................................                   =$     358,227
                                                                                                           "As-is" Value of Site Improvements ...................................................                 =$      20,000


    Estimated Remaining Economic Life (HUD and VA only)                                    64 Years        Indicated Value by Cost Approach                  ..................................................   =$      488,227
                                                                   INCOME APPROACH TO VALUE (not required by Fannie Mae)
I
N Estimated Monthly Market Rent $                                  X Gross Rent Multiplier                                                         =$                               Indicated Value by Income Approach
C Summary of Income Approach (including support for market rent and GRM)
O
M
E

                                                                         PROJECT INFORMATION FOR PUDs (if applicable)
    Is the developer/builder in control of the Homeowners' Association (HOA)?                     Yes   ✘ No            Unit type(s)         ✘ Detached                  Attached
    Provide the following information for PUDs ONLY if the developer/builder is in control of the HOA and the subject property is an attached dwelling unit.
P Legal Name of Project
U
D Total number of phases                                                  Total number of units                                         Total number of units sold
  Total number of units rented                                            Total number of units for sale                                Data source(s)
I Was the project created by the conversion of existing building(s) into a PUD?                     Yes      No If Yes, date of conversion
N
F Does the project contain any multi-dwelling units?             Yes        No Data source(s)
O Are the units, common elements, and recreation facilities complete?                    Yes         No If No, describe the status of completion.
R
M
A
T
I Are the common elements leased to or by the Homeowners' Association?                               No If Yes, describe the rental terms and options.
                                                                                          Yes
O
N



    Describe common elements and recreational facilities




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     This report form is designed to report an appraisal of a one-unit property or a one-unit property with an accessory unit; including a unit
     in a planned unit development (PUD). This report form is not designed to report an appraisal of a manufactured home or a unit in a
     condominium or cooperative project.

     This appraisal report is subject to the following scope of work, intended use, intended user, definition of market value, statement of
     assumptions and limiting conditions, and certifications. Modifications, additions, or deletions to the intended use, intended user,
     definition of market value, or assumptions and limiting conditions are not permitted. The appraiser may expand the scope of work to
     include any additional research or analysis necessary based on the complexity of this appraisal assignment. Modifications or deletions
     to the certifications are also not permitted. However, additional certifications that do not constitute material alterations to this appraisal
     report, such as those required by law or those related to the appraiser's continuing education or membership in an appraisal
     organization, are permitted.


     SCOPE OF WORK: The scope of work for this appraisal is defined by the complexity of this appraisal assignment and the reporting
     requirements of this appraisal report form, including the following definition of market value, statement of assumptions and limiting
     conditions, and certifications. The appraiser must, at a minimum: (1) perform a complete visual inspection of the interior and exterior
     areas of the subject property, (2) inspect the neighborhood, (3) inspect each of the comparable sales from at least the street, (4)
     research, verify, and analyze data from reliable public and/or private sources, and (5) report his or her analysis, opinions, and
     conclusions in this appraisal report.

     INTENDED USE: The intended use of this appraisal report is for the lender/client to evaluate the property that is the subject of this
     appraisal for a mortgage finance transaction.

     INTENDED USER: The intended user of this appraisal report is the lender/client.

     DEFINITION OF MARKET VALUE: The most probable price which a property should bring in a competitive and open market under all
     conditions requisite to a fair sale, the buyer and seller, each acting prudently, knowledgeably and assuming the price is not affected by
     undue stimulus. Implicit in this definition is the consummation of a sale as of a specified date and the passing of title from seller to buyer
     under conditions whereby: (1) buyer and seller are typically motivated; (2) both parties are well informed or well advised, and each
     acting in what he or she considers his or her own best interest; (3) a reasonable time is allowed for exposure in the open market; (4)
     payment is made in terms of cash in U. S. dollars or in terms of financial arrangements comparable thereto; and (5) the price
     represents the normal consideration for the property sold unaffected by special or creative financing or sales concessions* granted by
     anyone associated with the sale.

     *Adjustments to the comparables must be made for special or creative financing or sales concessions. No adjustments are necessary
     for those costs which are normally paid by sellers as a result of tradition or law in a market area; these costs are readily identifiable
     since the seller pays these costs in virtually all sales transactions. Special or creative financing adjustments can be made to the
     comparable property by comparisons to financing terms offered by a third party institutional lender that is not already involved in the
     property or transaction. Any adjustment should not be calculated on a mechanical dollar for dollar cost of the financing or concession
     but the dollar amount of any adjustment should approximate the market's reaction to the financing or concessions based on the
     appraiser's judgment.

     STATEMENT OF ASSUMPTIONS AND LIMITING CONDITIONS: The appraiser's certification in this report is subject to the following
     assumptions and limiting conditions:

     1. The appraiser will not be responsible for matters of a legal nature that affect either the property being appraised or the title to it,
     except for information that he or she became aware of during the research involved in performing this appraisal. The appraiser
     assumes that the title is good and marketable and will not render any opinions about the title.


     2. The appraiser has provided a sketch in this appraisal report to show the approximate dimensions of the improvements. The sketch is
     included only to assist the reader in visualizing the property and understanding the appraiser's determination of its size.


     3. The appraiser has examined the available flood maps that are provided by the Federal Emergency Management Agency (or other
     data sources) and has noted in this appraisal report whether any portion of the subject site is located in an identified Special Flood
     Hazard Area. Because the appraiser is not a surveyor, he or she makes no guarantees, express or implied, regarding this
     determination.

     4. The appraiser will not give testimony or appear in court because he or she made an appraisal of the property in question, unless
     specific arrangements to do so have been made beforehand, or as otherwise required by law.


     5. The appraiser has noted in this appraisal report any adverse conditions (such as needed repairs, deterioration, the presence of
     hazardous wastes, toxic substances, etc.) observed during the inspection of the subject property or that he or she became aware of
     during the research involved in performing this appraisal. Unless otherwise stated in this appraisal report, the appraiser has no
     knowledge of any hidden or unapparent physical deficiencies or adverse conditions of the property (such as, but not limited to, needed
     repairs, deterioration, the presence of hazardous wastes, toxic substances, adverse environmental conditions, etc.) that would make
     the property less valuable, and has assumed that there are no such conditions and makes no guarantees or warranties, express or
     implied. The appraiser will not be responsible for any such conditions that do exist or for any engineering or testing that might be
     required to discover whether such conditions exist. Because the appraiser is not an expert in the field of environmental hazards, this
     appraisal report must not be considered as an environmental assessment of the property.


     6. The appraiser has based his or her appraisal report and valuation conclusion for an appraisal that is subject to satisfactory
     completion, repairs, or alterations on the assumption that the completion, repairs, or alterations of the subject property will be performed
     in a professional manner.




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    APPRAISER'S CERTIFICATION: The Appraiser certifies and agrees that:


    1. I have, at a minimum, developed and reported this appraisal in accordance with the scope of work requirements stated in this
    appraisal report.

    2. I performed a complete visual inspection of the interior and exterior areas of the subject property. I reported the condition of the
    improvements in factual, specific terms. I identified and reported the physical deficiencies that could affect the livability, soundness, or
    structural integrity of the property.

    3. I performed this appraisal in accordance with the requirements of the Uniform Standards of Professional Appraisal Practice that were
    adopted and promulgated by the Appraisal Standards Board of The Appraisal Foundation and that were in place at the time this
    appraisal report was prepared.

    4. I developed my opinion of the market value of the real property that is the subject of this report based on the sales comparison
    approach to value. I have adequate comparable market data to develop a reliable sales comparison approach for this appraisal
    assignment. I further certify that I considered the cost and income approaches to value but did not develop them, unless otherwise
    indicated in this report.

    5. I researched, verified, analyzed, and reported on any current agreement for sale for the subject property, any offering for sale of the
    subject property in the twelve months prior to the effective date of this appraisal, and the prior sales of the subject property for a
    minimum of three years prior to the effective date of this appraisal, unless otherwise indicated in this report.

    6. I researched, verified, analyzed, and reported on the prior sales of the comparable sales for a minimum of one year prior to the date
    of sale of the comparable sale, unless otherwise indicated in this report.

    7. I selected and used comparable sales that are locationally, physically, and functionally the most similar to the subject property.

    8. I have not used comparable sales that were the result of combining a land sale with the contract purchase price of a home that has
    been built or will be built on the land.

    9. I have reported adjustments to the comparable sales that reflect the market's reaction to the differences between the subject
    property and the comparable sales.

    10. I verified, from a disinterested source, all information in this report that was provided by parties who have a financial interest in the
    sale or financing of the subject property.

    11. I have knowledge and experience in appraising this type of property in this market area.

    12. I am aware of, and have access to, the necessary and appropriate public and private data sources, such as multiple listing services,
    tax assessment records, public land records and other such data sources for the area in which the property is located.

    13. I obtained the information, estimates, and opinions furnished by other parties and expressed in this appraisal report from reliable
    sources that I believe to be true and correct.

    14. I have taken into consideration the factors that have an impact on value with respect to the subject neighborhood, subject property,
    and the proximity of the subject property to adverse influences in the development of my opinion of market value. I have noted in this
    appraisal report any adverse conditions (such as, but not limited to, needed repairs, deterioration, the presence of hazardous wastes,
    toxic substances, adverse environmental conditions, etc.) observed during the inspection of the subject property or that I became aware
    of during the research involved in performing this appraisal. I have considered these adverse conditions in my analysis of the property
    value, and have reported on the effect of the conditions on the value and marketability of the subject property.

    15. I have not knowingly withheld any significant information from this appraisal report and, to the best of my knowledge, all statements
    and information in this appraisal report are true and correct.

    16. I stated in this appraisal report my own personal, unbiased, and professional analysis, opinions, and conclusions, which are subject
    only to the assumptions and limiting conditions in this appraisal report.

    17. I have no present or prospective interest in the property that is the subject of this report, and I have no present or prospective
    personal interest or bias with respect to the participants in the transaction. I did not base, either partially or completely, my analysis
    and/or opinion of market value in this appraisal report on the race, color, religion, sex, age, marital status, handicap, familial status, or
    national origin of either the prospective owners or occupants of the subject property or of the present owners or occupants of the
    properties in the vicinity of the subject property or on any other basis prohibited by law.

    18. My employment and/or compensation for performing this appraisal or any future or anticipated appraisals was not conditioned on
    any agreement or understanding, written or otherwise, that I would report (or present analysis supporting) a predetermined specific
    value, a predetermined minimum value, a range or direction in value, a value that favors the cause of any party, or the attainment of a
    specific result or occurrence of a specific subsequent event (such as approval of a pending mortgage loan application).

    19. I personally prepared all conclusions and opinions about the real estate that were set forth in this appraisal report. If I relied on
    significant real property appraisal assistance from any individual or individuals in the performance of this appraisal or the preparation of
    this appraisal report, I have named such individual(s) and disclosed the specific tasks performed in this appraisal report. I certify that
    any individual so named is qualified to perform the tasks. I have not authorized anyone to make a change to any item in this appraisal
    report; therefore, any change made to this appraisal is unauthorized and I will take no responsibility for it.

    20. I identified the lender/client in this appraisal report who is the individual, organization, or agent for the organization that ordered and
    will receive this appraisal report.




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     21. The lender/client may disclose or distribute this appraisal report to: the borrower; another lender at the request of the borrower; the
     mortgagee or its successors and assigns; mortgage insurers; government sponsored enterprises; other secondary market participants;
     data collection or reporting services; professional appraisal organizations; any department, agency, or instrumentality of the United
     States; and any state, the District of Columbia, or other jurisdictions; without having to obtain the appraiser's or supervisory appraiser's
     (if applicable) consent. Such consent must be obtained before this appraisal report may be disclosed or distributed to any other party
     (including, but not limited to, the public through advertising, public relations, news, sales, or other media).

     22. I am aware that any disclosure or distribution of this appraisal report by me or the lender/client may be subject to certain laws and
     regulations. Further, I am also subject to the provisions of the Uniform Standards of Professional Appraisal Practice that pertain to
     disclosure or distribution by me.

     23. The borrower, another lender at the request of the borrower, the mortgagee or its successors and assigns, mortgage insurers,
     government sponsored enterprises, and other secondary market participants may rely on this appraisal report as part of any mortgage
     finance transaction that involves any one or more of these parties.

     24. If this appraisal report was transmitted as an ''electronic record'' containing my ''electronic signature,'' as those terms are defined in
     applicable federal and/or state laws (excluding audio and video recordings), or a facsimile transmission of this appraisal report
     containing a copy or representation of my signature, the appraisal report shall be as effective, enforceable and valid as if a paper
     version of this appraisal report were delivered containing my original hand written signature.

     25. Any intentional or negligent misrepresentation(s) contained in this appraisal report may result in civil liability and/or criminal penalties
     including, but not limited to, fine or imprisonment or both under the provisions of Title 18, United States Code, Section 1001, et seq., or
     similar state laws.

     SUPERVISORY APPRAISER'S CERTIFICATION: The Supervisory Appraiser certifies and agrees that:

     1. I directly supervised the appraiser for this appraisal assignment, have read the appraisal report, and agree with the appraiser's
     analysis, opinions, statements, conclusions, and the appraiser's certification.

     2. I accept full responsibility for the contents of this appraisal report including, but not limited to, the appraiser's analysis, opinions,
     statements, conclusions, and the appraiser's certification.

     3. The appraiser identified in this appraisal report is either a sub-contractor or an employee of the supervisory appraiser (or the
     appraisal firm), is qualified to perform this appraisal, and is acceptable to perform this appraisal under the applicable state law.

     4. This appraisal report complies with the Uniform Standards of Professional Appraisal Practice that were adopted and promulgated by
     the Appraisal Standards Board of The Appraisal Foundation and that were in place at the time this appraisal report was prepared.


     5. If this appraisal report was transmitted as an "electronic record" containing my "electronic signature," as those terms are defined in
     applicable federal and/or state laws (excluding audio and video recordings), or a facsimile transmission of this appraisal report
     containing a copy or representation of my signature, the appraisal report shall be as effective, enforceable and valid as if a paper
     version of this appraisal report were delivered containing my original hand written signature.




        APPRAISER                                                                       SUPERVISORY APPRAISER (ONLY IF REQUIRED)

        Signature                                                                       Signature
        Name Kevin Henley                                                               Name
        Company Name Henley Appraisals                                                  Company Name
        Company Address 529 Ramsgate Dr                                                 Company Address
                         Dayton                  , OH                    45430                                                                ,
        Telephone Number 513-290-4400                                                   Telephone Number
        Email Address khenleyappraisals@gmail.com                                       Email Address
        Date of Signature and Report 05/18/2022                                         Date of Signature
        Effective Date of Appraisal 05/14/2022                                          State Certification #
        State Certification # 2008004175                                                or State License #
        or State License #                                                              State
        or Other (describe)                          State #                            Expiration Date of Certification or License
        State OH
        Expiration Date of Certification or License 06/01/2023                          SUBJECT PROPERTY

        ADDRESS OF PROPERTY APPRAISED                                                          Did not inspect subject property
            265 Woodstream Dr                                                                  Did inspect exterior of subject property from street
            Springboro                                    , OH         45066                   Date of Inspection
        APPRAISED VALUE OF SUBJECT PROPERTY $             470,000                              Did inspect interior and exterior of subject property

        LENDER/CLIENT                                                                          Date of Inspection

        Name Red Sky Risk Services, LLC
                                                                                        COMPARABLE SALES
        Company Name U.S. Bank, N.A.
        Company Address 1050 Woodward Avenue                                                   Did not inspect exterior of comparable sales from street

                                 Detroit                        , MI     48226                 Did inspect exterior of comparable sales from street
        Email Address                                                                          Date of Inspection



Freddie Mac Form 70 March 2005             UAD Version 9/2011                    Page 6 of 6                                                           Fannie Mae Form 1004 March 2005
                                                                                  AI Ready
                                                                                                                                                                               20221031140104
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                                                                                         20221031140104
                                                                Uniform Residential Appraisal Report                                                                           File # USB-220506-02084-1
            FEATURE                        SUBJECT                             COMPARABLE SALE # 4                               COMPARABLE SALE # 5                           COMPARABLE SALE # 6
    Address      265 Woodstream Dr                              8835 Winton Hills Ct                               8837 Glen Abby Ct
                 Springboro, OH 45066                           Springboro, OH 45066                               Springboro, OH 45066
  Proximity to Subject                                          0.66 miles SW                                      0.71 miles SW
  Sale Price                     $                                                            $       503,000                                     $       465,000                                    $
S                                $
  Sale Price/Gross Liv. Area                           sq.ft.   $           155.44 sq.ft.                          $          111.01     sq.ft.                        $                   sq.ft.
A
L Data  Source(s)                                               DayMls#846736;DOM 54                               DayMls#844324;DOM 44
E Verification Source(s)                                        WarrnCountyAuditorPRC/Realtor                      WarrnCountyAuditorPRC/Realtor
S VALUE ADJUSTMENTS                   DESCRIPTION                     DESCRIPTION             + (-) $ Adjustment           DESCRIPTION            + (-) $ Adjustment       DESCRIPTION              + (-) $ Adjustment
  Sale or Financing                                              ArmLth                                            ArmLth
C
  Concessions                                                    Conv;0                                            Conv;0
O
M Date of Sale/Time                                              s10/21;c08/21                                     s08/21;c07/21
P Location                       N;Res;                          N;Res;                                            N;Res;
A Leasehold/Fee Simple           Fee Simple                      Fee Simple                                        Fee Simple
R
  Site                           9932 sf                         2.75 ac                               -14,000     27482 sf                                 -3,000
I
S View                           N;Res;                          B;ResWoods;                           -12,000     N;Res;
O Design (Style)                 DT2;Colonial                    DT2;Colonial                                      DT2;Colonial
N Quality of Construction        Q3                              Q3                                                Q3
  Actual Age                     10                              39                                           0    38                                            0
A
P Condition                      C3                              C3                                                C3
P Above Grade                    Total      Bdrms. Baths        Total      Bdrms. Baths                       0    Total     Bdrms. Baths                        0     Total   Bdrms. Baths
R Room Count                     11         4         2.1        10        4        2.1                       0    11        4          3.1                 -8,000
O
  Gross Living Area              3,818                 sq.ft.   3,236                sq.ft.           +13,968      4,189                sq.ft.              -8,904                        sq.ft.
A
C Basement & Finished            1816sf1544sfin                  1568sf900sfwo                            +800     1854sf400sfwo                           +4,800
H Rooms Below Grade              1rr1br0.0ba1o                   1rr0br0.1ba0o                          -2,000     1rr0br1.0ba0o                            -4,000
    Functional Utility           Average                         Average                                           Average
    Heating/Cooling              FWA/CA                          FWA/CA                                            FWA/CA
    Energy Efficient Items       NoneNoted                       NoneNoted                                         NoneNoted
    Garage/Carport               2ga2dw                          2ga2dw                                            2ga2dw
    Porch/Patio/Deck             UnPorLUdkLupt                   CovPorLrgUndk                            -500     CporUpatLrUdk                            -1,000
    Exterior Materials           VinBrickStone                   BrickStucWood                                0    BrckStucConbrd                                0
    Extra Amenities In/Out       2FirplacFence                   2FireplacePool                         -5,000     3FireplacePool                           -5,000
    Updates/Dated/Upgrades       NoneNoted                       NoneNoted                                         Dated                                  +23,250
    Net Adjustment (Total)                                                 +      ✘ -          $       -18,732               +      ✘ -           $         -1,854             +           -     $
    Adjusted Sale Price                                         Net Adj.            3.7 %                     Net Adj.                  0.4 %                     Net Adj.                     %
    of Comparables                                              Gross Adj.          9.6 % $           484,268 Gross Adj. 12.5               % $           463,146 Gross Adj.                   % $
    Summary of Sales Comparison Approach

    * OVERFLOW - SEE "ADDITIONAL FIELD TEXT ADDENDA" *




A
N
A
L
Y
S
I
S
/
C                   ITEM                                  SUBJECT                        COMPARABLE SALE #4                              COMPARABLE SALE #5                         COMPARABLE SALE #6
O
    Date of Prior Sale/Transfer            11/09/2020                             07/12/1993                                       03/03/2011
M
M   Price of Prior Sale/Transfer           $442,000                               $0                                               $0
E   Data Source(s)                         WarrenCountyAuditorWeb                 WarrenCountyAuditorWeb                           WarrenCountyAuditorWeb
N   Effective Date of Data Source(s)       05/14/2022                             05/14/2022                                       05/14/2022
T
    Analysis of prior sale or transfer history of the subject property and comparable sales
S




Freddie Mac Form 70 March 2005                  UAD Version 9/2011                                                                                                                 Fannie Mae Form 1004 March 2005
                                                                                                       AI Ready
                                                                                                                                      20221031140104
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                                                             ADDITIONAL FIELD TEXT                                               File #   USB-220506-02084-1

   Borrower/Client   DIANA DAVOLI-TURNER
   Property Address 265 Woodstream Dr
   City   Springboro                                     County Warren                State OH        Zip Code 45066

   Lender U.S. Bank, N.A.


COMMENT SALES COMPARE COMPS 4-6

Comps 4 and 5 are used due to an extreme lack of more similar sales that sold within the past year, where 2 comps over a year were used, I added
two other sales, not as similar as those two, but sold in the past year. Comp4 is weighted 4th and used for lack of updates, but not weighted heavier
due to much larger lot size and much smaller GLA. Comp5 is used for bracketing of subject's GLA and lack of more similar sales that bracket
subject's GLA. It is weighted last due to dated,interior wallpaper, bathrooms and kitchen.

ALL ADJUSTMENTS AND LACK OF ADJUSTMENTS ARE BASED ON RESULTS FROM A PAIRED SALES (DATA) ANALYSIS, IN WHICH I
COMPARED SIMILAR SALES WITH THEIR DIFFERENT OR SIMILAR ATTRIBUTES, EXTRAPOLATING CONTRIBUTORY VALUE,OR LACK OF
CONTRIBUTORY VALUE. AFTER THESE EXTRAPOLATIONS, I APPLIED MY ESTIMATED RESULTS TO THE SALES COMPARISON GRID. I
HAVE REPORTED ADJUSTMENTS TO THE COMPARABLE SALES THAT REFLECT THE MARKET'S REACTION TO THE DIFFERENCES
BETWEEN THE SUBJECT PROPERTY AND COMPARABLE SALES. THE LOGIC AND REASONING WAS DERIVED FROM THIS METHOD,
SUPPORTED AND USED BY MY APPRAISER PEERS. THE FOLLOWING NARRATION IS A BRIEF SUMMARY OF HOW THE ADJUSTMENTS
WERE DERIVED.

A 5% adjustment is supported for 5% appreciation, when this market appreciated at this rate from 10/20-04/21, since has remained stable. There is
no value difference for lot sizes that have less than a 5,000 sq ft difference. A lot size adjustment is warranted at about $1000 for every 5,000 sq ft,
estimated, up to 2 acres. A CDS or wooded lot is valued at about $6000 more than typical lots and a lot on a CDS and with woods, contributes
$12,000. There is no value difference for style differences. No age adjustments are supported once dwellings are over 10 yrs old or within 10 yrs of
each other, over 5 yrs old. There is no value difference for differences in room counts. There is no value difference for bedrooms once 3 bedrooms
are accounted for. A full bath and 1/2 bath contribute about $8000 and $4000 to market value, above grade and respectively. GLA was supported at
about $24.00 per square foot, in relation to sales of Q3 quality, over 3000 sf of GLA. There is no value difference noted for different sizes of
basements, but finished area contributes about $8.00 per sq ft of finished area, up to 1000 sf. No value difference not for different types of rooms
below grade, except bathrooms. A bathroom and 1/2 bathroom, below grade, contributes $4000 and $2000 to market value, respectively. A walk-out
basement doesn't contribute to market value in this neighborhood. There is no value difference for driveway count difference. Covered porches,
covered patios, covered decks or larger porches,patios and decks contribute $2000 to market value. Open porches, decks and patios contribute
$1000. No siding adjustments are warranted. Fences and fireplaces do not contribute to market value. An upgraded kitchen contributes about $12000
to market value; updated kitchens contribute about $6000; upgraded bathrooms contribute $6000 and updated bathrooms contribute $4000. A dated
property is valued about 5% less than a property that is not dated. There is no value for properties being from different PUDs or for having different
HOA fees or ammenities. Typically, fees are higher for more ammenties and less for less ammenties.
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  Borrower/Client   DIANA DAVOLI-TURNER
  Property Address 265 Woodstream Dr
  City   Springboro                                       County Warren                 State OH        Zip Code 45066

  Lender U.S. Bank, N.A.


Supplemental Addendum [Multi-page]
Henley Appraisals



In accordance with your request, we have appraised this property. The report of that appraisal follows.

The purpose of this appraisal is to estimate the fair market value of the property described in this appraisal report,

as improved, in unencumbered fee simple title of ownership.


This report is based on a physical inspection and analysis of the site and improvements, a locational analysis of the

neighborhood and city, and an economical analysis of the market for properties such as the subject. The appraisal

was developed and the report was prepared in accordance with the Uniform Standards of Professional Appraisal

Practice.


The value conclusions reported are as of the effective date stated in the body of the report and contingent upon the

certification and limiting conditions attached.

It has been a pleasure to assist you. Please do not hesitate to contact me or any of my associates if we can be of any

additional service to you.


Sincerely,



Kevin Henley

Supplemental Addendum [Multi-page]
The appraiser certifies and agrees that this appraisal was prepared in accordance with the requirements of Title XI of the Financial Institutions,
Reform, Recovery, and Enforcement Act (FIRREA) of 1989, as amended (12 U.S.C. 3331 et seq.), and any applicable implementing regulations in
effect at the time the appraiser signs the appraisal certification.

  The Sixth Edition of The Dictionary of Real Estate Appraisal by the Appraisal Institute defines highest and best use as: The reasonably probable and
legal use of vacant land or an improved property that is physically possible, appropriately supported, financially feasible and that results in the highest
value. The subject is a legally permissible use based on its current zoning. Also, the lot size, shape and land-to-building ratio allow the present
structure and indicate a good utilization of the improvements. Based on current market conditions, the existing structure as a single family residence
is its financially feasible and maximally productive use. The highest and best use, as if vacant, would be to construct a single family
residence.Highest and best use of property is as it is being used and how it is legally zoned, conforming to other similar properties in its
neighborhood.

 All public utilities and appliances were on at the time of the site visit and appear to be operational. The garage was observed with the same
consistency as the dwelling and no issues noted..

 UAD DESCRIPTIONS ARE USED IN ALL OF IMPROVEMENTS AREA, AS EXPECTED PER UAD PROTOCOL. WITHIN UAD DIRECTIVES,
THERE IS NO DIRECTION ON USING AVERAGE, GOOD, FAIR, BELOW AVERAGE, POOR, TYPICAL, NEUTRAL, GOOD+, -AVERAGE, ETC.
THERE IS, HOWEVER, DIRECTIVES TO USE C1-C6, AND THIS IS NOT EXCLUSIVE TO OVERALL CONDITION. SIMPLY STATED, THE
UAD PROTOCOL, WITH REGARDS TO IMPROVEMENTS SECTION, ONLY REFERS TO THE C1-C6 RATINGS.

In addition to providing an estimate of value, the appraisal provides an examination of the property for any visible, obvious and/or apparent
deficiencies that may affect the livability of the property in terms of basic needs, health and safety of the occupants. This information is not
warranted.Buyers/borrowers must determine for themselves that the condition of the property is acceptable.

This appraiser has made a "complete" interior and exterior site visit of the subject property. This means that the appraiser has walked around
the exterior of the subject property at ground level. An interior walk through of all habitable area has been made. No personal property was moved
and the inspection is considered non-invasive.

Even though a reader or user of this appraisal may consider broad streets, RR tracks, creeks or rivers, as neighborhood dividers, the neighborhood
boundaries are, as defined, on the first page of the URAR. The boundaries are discussed within this report. Properties located on any side of large
artery roads or across creeks or other, large man-mad structures does not change market value or marketability, as long as located within the
neighborhood boundaries defined on the URAR, or if discussed here, or anywhere within the report.

Verification source was my drive by, verifying comps exist and matches MLS, as well as any sales agents I called who viewed the interior of
comparable sales, but were not involved in their respective transactions. This list is provided by the listing agent, who keeps records of agents who
"showed" the properties.

Exposure time is always presumed to precede the effective date of the appraisal. It is the estimated length of time the property would have been
offered on the market, prior to the hypothetical sale, at the appraised value, on the effective date of the appraisal. It is a retrospective estimate based
on an analysis of past events assuming a competitive and open market. This includes not only adequate, sufficient and reasonable time, but
adequate, sufficient and reasonable effort. It is often expressed as a range and is based on the following:
1. Statistical information about days on the market, most commonly obtained from the local Multiple Listing Service.
2. Information gathered through sales verification.
3. Interviews with market participants.

Exposure time of 60 DAYS is based on the analyses of current market trends in the general area and takes into account the size, condition and price
range of the subject property and surrounding area. It presupposes that the listed price would be at or near the appraised value. It also assumes
aggressive professional marketing by reputable local real estate offices . Exposure time can vary widely for a number of variables in this particular
market.

There is a difference in adjusted price ranges due to the differences in comparable sales that are larger or more different with regards to their
differences when being compared to the subject, individually. Comparables are compared to the subject within the Sales Comparison Approach, not
compared to each other. These sales most represent the subject in most regards, but some are better, larger, have more amenities than the subject,
but much more than they have from each other. The subject, overall, falls somewhere between the low and high values, but weighted as discussed.

***CONTINUED ON NEXT PAGE***
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                                                                  TEXT ADDENDUM                                                   File #   USB-220506-02084-1

  Borrower/Client   DIANA DAVOLI-TURNER
  Property Address 265 Woodstream Dr
  City   Springboro                                      County Warren                  State OH      Zip Code 45066

  Lender U.S. Bank, N.A.


Sales are used if they have one or two items similar to the subject, or bracket certain line items, such as GLA. This practice leads to larger
differences in adjusted sales price, as well.
THERE ARE NO LAWS, GUIDELINES, REGULATIONS FOR THE SUBJECT, PERTAINING TO SMOKE OR CARBON MONOXIDE DETECTORS.
FEMA HAS DECLARED THE SUBJECT'S MARKET , AS WELL AS THE ENTIRE US, A DISASTER AREA DUE TO COVID 19, AS OF
03/31/2020. THIS DOES NOT APPEAR TO HAVE AN AFFECT ON MARKET VALUE OR MARKETABILITY.
I USE ANSI MEASUREMENTS AND GUIDELINES WHEN CALCULATING THE GLA AND LIVING AREA.
I WAS ASKED TO ADDRESS SALES DUE TO THE FOLLOWING REASONING: An online source did reveal some closed sales with less than a mile
from the subject. That being said, there are at least 40 other sales that sold in the past year, within a mile from subject. There was no other
reasoning given for me to address the following sales:30 willow Grove Dr 45 Willow Grove Dr, and 285 Wood stream Dr.

30 Willow Grove only has 3052 sf of GLA, too small to use
45 Willow Grove only has 2949 sf of GLA, too small to use
285 Wood Stream only has 2696 sf of GLA, too small to use.

The GLA of all of the preceding sales is available on the Warren County Auditor site.

As reported on my appraisal, ".....My search included all 2story dwellings,3218-4418 sf of GLA, 2-40 yrs old, C2-C4 condition and similar quality......"
                                                                                                    20221031140104
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    INVOICE                                                                                             USB-220506-02084-1
                                                                             File No.




                  USB-220506-02084-1
    Invoice #
    Invoice Date 05/16/2022
    Fee           400.00

    Due Date



    Lender or Client:                                            Borrower:   DIANA DAVOLI-TURNER

                                                                             265 Woodstream Dr

                                                                             Springboro            OH      45066




                                                     Item                                                   Cost
    FULL APPRAISAL WITH LENDER REQUIREMENTS                                                                          400.00




                                                                                                                     400.00
                                                                               Total Amount Due


    Terms




    Please remit payment to: KEVIN HENLEY
                                HENLEY APPRAISALS

                                529 RAMSGATE DR

                                DAYTON              OH   45430



    Thank you
I
                                                                                                                                                   20221031140104
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                                                                                    PAGEID #: 317
                                                                    USPAP COMPLIANCE ADDENDUM
                                                                                                                                         File No. USB-220506-02084-1
                                                                                      SUBJECT
              DIANA DAVOLI-TURNER
Borrower
Property Address 265 Woodstream Dr
City Springboro                                     County Warren                                     State      OH                       Zip Code     45066

Lender/Client U.S. Bank, N.A.

                                                                        PURPOSE OF THE APPRAISAL
As reported



                                                                          SCOPE OF-THE APPRAISAL
As noted and complying with Appraisal reporting requirements within standards 2-2.(a) and client requirements.




                                         REPORT OF THE PRIOR YEAR SALES HISTORY FOR THE SUBJECT PROPERTY
Is the subject property currently listed?                     Yes    ✘ No            List Price $
Has the property sold during the prior year?                  Yes    ✘ No            If yes, describe below:




                                                                                MARKETING TIME
What is your estimate of marketing time for the subject property? 60 days                                             Describe below the basis (rationale) for your estimate:

Based on other similar sales in the market.




                                                                     NON-REAL PROPERTY TRANSFERS
Does the transaction involve the transfer of personal property, fixtures, or intangibles that are not real property?                   Yes     ✘     No
If yes, provide description and valuation below:




                                                  ADDITIONAL LIMITING CONDITIONS OR ADDITIONAL COMMENTS
None added.




                                              ADDITIONAL CERTIFICATION STATEMENTS OR ADDITIONAL COMMENTS
I have not performed any services on the subject property in the past three years.

DO DUE LENDER BRACKETING RULES OR GUIDELINES, THERE IS A CHANCE COMPARABLE SALES USED ARE LESS LIKE THE SUBJECT THAN OTHER POSSIBLE
SALES NOT USED JUST TO BRACKET ONE OR MORE BRACKETING ITEMS. IF THIS IS THE CASE, I WILL TYPICALLY ADD A STATEMENT THAT THE COMP WAS USED
FOR THAT PURPOSE.




Date: 05/18/2022                              Appraiser(s):

                                                               Kevin Henley


Date:                                         Review Appraiser(s):
                                                                                                                      20221031140104
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                                                                                                                 20221031140104
                                                                                                                           USB-220506-02084-1
                                  APPRAISER DISCLOSURE STATEMENT                                                File No.
                             In Compliance with Ohio Revised Code Section 4763.12 (C)

                              Kevin Henley
    Name of Appraiser:


    Class of Certification/Licensure:                      Certified General
                                             YES           Certified Residential
                                                           Licensed Residential
                                                           Temporary                General YES          Licensed

                                              2008004175
    Certification/Licensure Number:


                            YES          is within the scope of my Certification or License.
    Scope: This Report
                                         is not within the scope of my Certification or License.


                            YES          Disinterested & Unbiased Third Party
    Service Provided by:
                                         Interested & Biased Third Party
                                         Interested Third Party on Contingent Fee Basis


    Signature of person preparing and reporting the Appraisal:




    This form must be included in conjunction with all appraisal assignments or specialized services performed by a
    state-certified or state-licensed real estate appraiser



                                                           State of Ohio
                                                     Department of Commerce
                                             Division of Real Estate Appraiser Section
                                                     Cleveland (216) 787-3100
                                                                                                                                                           20221031140104
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                                                                          USPAP ADDENDUM                                                           File No. USB-220506-02084-1

   Borrower    DIANA DAVOLI-TURNER
   Property Address     265 Woodstream Dr

   City   Springboro                                      County Warren                                      State OH            Zip Code 45066
   Lender U.S. Bank, N.A.


    This report was prepared under the following USPAP reporting option:

    ✘ Appraisal Report                           This report was prepared in accordance with USPAP Standards Rule 2-2(a).

          Restricted Appraisal Report            This report was prepared in accordance with USPAP Standards Rule 2-2(b).




    Reasonable Exposure Time
      My opinion of a reasonable exposure time for the subject property at the market value stated in this report is: 60 Days




    Additional Certifications
      I certify that, to the best of my knowledge and belief:

    ✘ Ithree-year
         have NOT performed services, as an appraiser or in any other capacity, regarding the property that is the subject of this report within the
                  period immediately preceding acceptance of this assignment.
          I HAVE performed services, as an appraiser or in another capacity, regarding the property that is the subject of this report within the three-year
          period immediately preceding acceptance of this assignment. Those services are described in the comments below.
     — The statements of fact contained in this report are true and correct.
     — The reported analyses, opinions, and conclusions are limited only by the reported assumptions and limiting conditions and are my personal, impartial, and unbiased
     professional analyses, opinions, and conclusions.
     — Unless otherwise indicated, I have no present or prospective interest in the property that is the subject of this report and no personal interest with respect to the parties
     involved.
     — I have no bias with respect to the property that is the subject of this report or the parties involved with this assignment.
     — My engagement in this assignment was not contingent upon developing or reporting predetermined results.
     — My compensation for completing this assignment is not contingent upon the development or reporting of a predetermined value or direction in value that favors the cause of
     the client, the amount of the value opinion, the attainment of a stipulated result, or the occurrence of a subsequent event directly related to the intended use of this appraisal.
     — My analyses, opinions, and conclusions were developed, and this report has been prepared, in conformity with the Uniform Standards of Professional Appraisal Practice
     that were in effect at the time this report was prepared.
     — Unless otherwise indicated, I have made a personal inspection of the property that is the subject of this report.
     — Unless otherwise indicated, no one provided significant real property appraisal assistance to the person(s) signing this certification (if there are exceptions, the name of
     each individual providing significant real property appraisal assistance is stated elsewhere in this report).




    Additional Comments




 APPRAISER:                                                                                     SUPERVISORY APPRAISER: (only if required)


 Signature:                                                                                     Signature:
 Name: Kevin Henley                                                                             Name:
 Date Signed:      05/18/2022                                                                   Date Signed:
 State Certification #: 2008004175                                                              State Certification #:
 or State License #:                                                                            or State License #:
 or Other (describe)                                 State #                                    State:
 State: OH                                                                                      Expiration Date of Certification or License:
 Expiration Date of Certification or License: 06/01/2023                                        Supervisory Appraiser Inspection of Subject Property:
 Effective Date of Appraisal: 05/14/2022                                                             Did Not          Exterior-only from Street           Interior and Exterior

USPAP 2014                                                                               AI Ready
                                                                                                                                            20221031140104
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                                                                                                                                           File # USB-220506-02084-1

                       UNIFORM APPRAISAL DATASET (UAD) DEFINITIONS ADDENDUM
                                        (Source: UAD Appendix D: UAD Field-Specific Standardization Requirements)
Condition Ratings and Definitions
 C1
 The improvements have been very recently constructed and have not previously been occupied. The entire structure and all components are new and the
 dwelling features no physical depreciation.*

 *Note: Newly constructed improvements that feature recycled materials and/or components can be considered new dwellings provided that the dwelling is
 placed on a 100% new foundation and the recycled materials and the recycled components have been rehabilitated/re-manufactured into like-new condition.
 Recently constructed improvements that have not been previously occupied are not considered "new" if they have any significant physical depreciation (i.e.,
 newly constructed dwellings that have been vacant for an extended period of time without adequate maintenance or upkeep).
 C2
 The improvements feature no deferred maintenance, little or no physical depreciation, and require no repairs. Virtually all building components are new or
 have been recently repaired, refinished, or rehabilitated. All outdated components and finishes have been updated and/or replaced with components that
 meet current standards. Dwellings in this category either are almost new or have been recently completely renovated and are similar in condition to new
 construction.
 C3
 The improvements are well maintained and feature limited physical depreciation due to normal wear and tear. Some components, but not every major
 building component, may be updated or recently rehabilitated. The structure has been well maintained.
 C4
 The improvements feature some minor deferred maintenance and physical deterioration due to normal wear and tear. The dwelling has been adequately
 maintained and requires only minimal repairs to building components/mechanical systems and cosmetic repairs. All major building components have been
 adequately maintained and are functionally adequate.
 C5
 The improvements feature obvious deferred maintenance and are in need of some significant repairs. Some building components need repairs, rehabilitation,
 or updating. The functional utility and overall livability is somewhat diminish d due to condition, but the dwelling remains useable and functional as a
 residence.
 C6
 The improvements have substantial damage or deferred maintenance with deficiencies or defects that are severe enough to affect the safety, soundness, or
 structural integrity of the improvements. The improvements are in need of substantial repairs and rehabilitation, including many or most major components.



Quality Ratings and Definitions
 Q1
 Dwellings with this quality rating are usually unique structures that are individually designed by an architect for a specified user. Such residences typically are
 constructed from detailed architectural plans and specifications and feature an exceptionally high level of workmanship and exceptionally high-grade
 materials throughout the interior and exterior of the structure. The design features exceptionally high-quality exterior refinement s and ornamentation, and
 exceptionally high-quality interior refinements. The workmanship, materials, and finishes throughout the dwelling are of exceptionally high quality.
 Q2
 Dwellings with this quality rating are often custom designed for construction on an individual property owner’s site. However, dwellings in this quality grade
 are also found in high-quality tract developments featuring residence constructed from individual plans or from highly modified or upgraded plans. The design
 features detailed, high quality exterior ornamentation, high-quality interior refinements, and detail. The workmanship, materials, and finishes throughout the
 dwelling are generally of high or very high quality.
 Q3
 Dwellings with this quality rating are residences of higher quality built from individual or readily available designer plans in above-standard residential tract
 developments or on an individual property owner’s site. The design includes significant exterior ornamentation and interiors that are well finished. The
 workmanship exceeds acceptable standards and many materials and finishes throughout the dwelling have been upgraded from “stock” standards.
 Q4
 Dwellings with this quality rating meet or exceed the requirements of applicable building codes. Standard or modified standard building plans are utilized and
 the design includes adequate fenestration and some exterior ornamentation and interior refinements. Materials, workmanship, finish, and equipment are of
 stock or builder grade and may feature some upgrades.

 Q5
 Dwellings with this quality rating feature economy of construction and basic functionality as main considerations. Such dwellings feature a plain design using
 readily available or basic floor plans featuring minimal fenestration and basic finishes with minimal exterior ornamentation and limited interior detail. These
 dwellings meet minimum building codes and are constructed with inexpensive, stock materials with limited refinements and upgrades.
 Q6
 Dwellings with this quality rating are of basic quality and lower cost; some may not be suitable for year-round occupancy. Such dwellings are often built with
 simple plans or without plans, often utilizing the lowest quality building materials. Such dwellings are often built or expanded by persons who are
 professionally unskilled or possess only minimal construction skills. Electrical, plumbing, and other mechanical systems and equipment may be minimal or
 non-existent. Older dwellings may feature one or more substandard or non-conforming additions to the original structure.



Definitions of Not Updated, Updated, and Remodeled
 Not Updated
     Little or no updating or modernization. This description includes, but is not limited to, new homes.
     Residential properties of fifteen years of age or less often reflect an original condition with no updating, if no major components have been replaced
     or updated. Those over fifteen years of age are also considered not updated if the appliances, fixtures, and finishes are predominantly dated. An
     area that is ‘Not Updated’ may still be well maintained and fully functional, and this rating does not necessarily imply deferred maintenance or
     physical /functional deterioration.

 Updated
     The area of the home has been modified to meet current market expectations. These modifications are limited in terms of both scope and
     cost.
     An updated area of the home should have an improved look and feel, or functional utility. Changes that constitute updates include refurbishment
     and/or replacing components to meet existing market expectations. Updates do not include significant alterations to the existing structure .
 Remodeled
      Significant finish and/or structural changes have been made that increase utility and appeal through complete replacement and/ or
      expansion.
      A remodeled area reflects fundamental changes that include multiple alterations. These alterations may include some or all of the following:
      replacement of a major component (cabinet(s), bathtub, or bathroom tile), relocation of plumbing/gas fixtures/appliances, significant structural
      alterations (relocating walls, and/or the addition of) square footage). This would include a complete gutting and rebuild.



Explanation of Bathroom Count
 Three-quarter baths are counted as a full bath in all cases. Quarter baths (baths that feature only a toilet) are not included in the bathroom count.
 The number of full and half baths is reported by separating the two values using a period, where the full bath count is represented to the left of the
 period and the half bath count is represented to the right of the period.


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                                                                                   AI Ready
                                                                                                                      20221031140104
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                                                                                                                     File # USB-220506-02084-1

                                            Abbreviations Used in Data Standardization Text
                 Abbreviation                 Full Name                              Appropriate Fields
                 ac                           Acres                                  Area, Site
                 AdjPrk                       Adjacent to Park                       Location
                 AdjPwr                       Adjacent to Power Lines                Location
                 A                            Adverse                                Location & View
                 ArmLth                       Arms Length Sale                       Sale or Financing Concessions
                 ba                           Bathroom(s)                            Basement & Finished Rooms Below Grade
                 br                           Bedroom                                Basement & Finished Rooms Below Grade
                 B                            Beneficial                             Location & View
                 Cash                         Cash                                   Sale or Financing Concessions
                 CtySky                       City View Skyline View                 View
                 CtyStr                       City Street View                       View
                 Comm                         Commercial Influence                   Location
                 c                            Contracted Date                        Date of Sale/Time
                 Conv                         Conventional                           Sale or Financing Concessions
                 CrtOrd                       Court Ordered Sale                     Sale or Financing Concessions
                 DOM                          Days On Market                         Data Sources
                 e                            Expiration Date                        Date of Sale/Time
                 Estate                       Estate Sale                            Sale or Financing Concessions
                 FHA                          Federal Housing Authority              Sale or Financing Concessions
                 GlfCse                       Golf Course                            Location
                 Glfvw                        Golf Course View                       View
                 Ind                          Industrial                             Location & View
                 in                           Interior Only Stairs                   Basement & Finished Rooms Below Grade
                 Lndfl                        Landfill                               Location
                 LtdSght                      Limited Sight                          View
                 Listing                      Listing                                Sale or Financing Concessions
                 Mtn                          Mountain View                          View
                 N                            Neutral                                Location & View
                 NonArm                       Non-Arms Length Sale                   Sale or Financing Concessions
                 BsyRd                        Busy Road                              Location
                 o                            Other                                  Basement & Finished Rooms Below Grade
                 Prk                          Park View                              View
                 Pstrl                        Pastoral View                          View
                 PwrLn                        Power Lines                            View
                 PubTrn                       Public Transportation                  Location
                 rr                           Recreational (Rec) Room                Basement & Finished Rooms Below Grade
                 Relo                         Relocation Sale                        Sale or Financing Concessions
                 REO                          REO Sale                               Sale or Financing Concessions
                 Res                          Residential                            Location & View
                 RH                           USDA –Rural Housing                    Sale or Financing Concessions
                 s                            Settlement Date                        Date of Sale/Time
                 Short                        Short Sale                             Sale or Financing Concessions
                 sf                           Square Feet                            Area, Site, Basement
                 Unk                          Unknown                                Date of Sale/Time
                 VA                           Veterans Administration                Sale or Financing Concessions
                 w                            Withdrawn Date                         Date of Sale/Time
                 wo                           Walk Out Basement                      Basement & Finished Rooms Below Grade
                 wu                           Walk Up Basement                       Basement & Finished Rooms Below Grade
                 WtrFr                        Water Frontage                         Location
                 Wtr                          Water View                             View
                 Woods                        Woods View                             View

                                                     Other Appraiser-Defined Abbreviations
                Abbreviation                               Full Name                 Fields Where This Abbreviation May Appear




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                                                                          AI Ready
                                                                                                 20221031140104
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                                        SUBJECT PHOTOGRAPH ADDENDUM                           File # USB-220506-02084-1
Borrower/Client   DIANA DAVOLI-TURNER
Property Address 265 Woodstream Dr
City   Springboro                         County Warren   State OH   Zip Code 45066

Lender U.S. Bank, N.A.




                                                                            FRONT OF SUBJECT PROPERTY

                                                                             Subject Front
                                                                             265 Woodstream Dr




                                                                             REAR OF SUBJECT PROPERTY

                                                                             Subject Rear
                                                                             265 Woodstream Dr




                                                                            STREET SCENE


                                                                             Subject Street
                                                                             265 Woodstream Dr
                                                                                                20221031140104
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                                        ADDITIONAL PHOTOGRAPH ADDENDUM                       File # USB-220506-02084-1
Borrower/Client   DIANA DAVOLI-TURNER
Property Address 265 Woodstream Dr
City   Springboro                          County Warren   State OH   Zip Code 45066

Lender U.S. Bank, N.A.




                                                                              Bedroom




                                                                              Sitting Room




                                                                              Office
                                                                                                  20221031140104
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                                        ADDITIONAL PHOTOGRAPH ADDENDUM                         File # USB-220506-02084-1
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Property Address 265 Woodstream Dr
City   Springboro                          County Warren   State OH   Zip Code 45066

Lender U.S. Bank, N.A.




                                                                              Landing




                                                                              Mud Room




                                                                              Laundry closet
                                                                                                 20221031140104
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                                        ADDITIONAL PHOTOGRAPH ADDENDUM                        File # USB-220506-02084-1
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Lender U.S. Bank, N.A.




                                                                              Half Bathroom




                                                                              Bathroom 1




                                                                              Bathroom 2
                                                                                           20221031140104
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                                        ADDITIONAL PHOTOGRAPH ADDENDUM                  File # USB-220506-02084-1
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City   Springboro                          County Warren   State OH   Zip Code 45066

Lender U.S. Bank, N.A.




                                                                              Bedroom




                                                                              Bedroom




                                                                              Bedroom
                                                                                              20221031140104
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                                        ADDITIONAL PHOTOGRAPH ADDENDUM                     File # USB-220506-02084-1
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Property Address 265 Woodstream Dr
City   Springboro                          County Warren   State OH   Zip Code 45066

Lender U.S. Bank, N.A.




                                                                              Basement
                                                                              rec-room




                                                                              Basement
                                                                              bedroom




                                                                              basement
                                                                              media room
                                                                                                     20221031140104
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                                        ADDITIONAL PHOTOGRAPH ADDENDUM                         File # USB-220506-02084-1
Borrower/Client   DIANA DAVOLI-TURNER
Property Address 265 Woodstream Dr
City   Springboro                          County Warren   State OH   Zip Code 45066

Lender U.S. Bank, N.A.




                                                                              garage




                                                                              opposite street view




                                                                              Left side
                                                                                               20221031140104
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Property Address 265 Woodstream Dr
City   Springboro                          County Warren   State OH   Zip Code 45066

Lender U.S. Bank, N.A.




                                                                              Right side




                                                                              Living room




                                                                              Family Room
                                                                                               20221031140104
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                                        ADDITIONAL PHOTOGRAPH ADDENDUM                      File # USB-220506-02084-1
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Property Address 265 Woodstream Dr
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                                                                              Dining Room




                                                                              Kitchen
                                                                                                     20221031140104
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                                        COMPARABLES PHOTOGRAPH ADDENDUM                           File # USB-220506-02084-1
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Property Address 265 Woodstream Dr
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Lender U.S. Bank, N.A.




                                                                                 Comparable Sale 1
                                                                                  21 Stanton Dr

                                                                                  Springboro              OH   45066

                                                                                 Date of Sale: s10/21;c08/21
                                                                                 Sale Price:      495,000
                                                                                 Sq. Ft.:         3,615
                                                                                 $ / Sq. Ft.:     136.93




                                                                                 Comparable Sale 2
                                                                                  190 Stanton Dr

                                                                                  Springboro              OH   45066

                                                                                 Date of Sale: s05/21;c03/21
                                                                                 Sale Price:      450,000
                                                                                 Sq. Ft.:         3,400

                                                                                 $ / Sq. Ft.:     132.35




                                                                                 Comparable Sale 3
                                                                                  266 Woodstream Dr
                                                                                  Springboro              OH   45066

                                                                                 Date of Sale: s10/20;c09/20
                                                                                 Sale Price:      427,000
                                                                                 Sq. Ft.:         3,663
                                                                                 $ / Sq. Ft.:     116.57
                                                                                                    20221031140104
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                                        COMPARABLES PHOTOGRAPH ADDENDUM                          File # USB-220506-02084-1
Borrower/Client   DIANA DAVOLI-TURNER
Property Address 265 Woodstream Dr
City   Springboro                           County Warren   State OH   Zip Code 45066

Lender U.S. Bank, N.A.




                                                                                 Comparable Sale 4
                                                                                  8835 Winton Hills Ct

                                                                                  Springboro             OH   45066

                                                                                 Date of Sale: s10/21;c08/21
                                                                                 Sale Price:     503,000
                                                                                 Sq. Ft.:        3,236
                                                                                 $ / Sq. Ft.:    155.44




                                                                                 Comparable Sale 5
                                                                                  8837 Glen Abby Ct

                                                                                  Springboro             OH   45066

                                                                                 Date of Sale: s08/21;c07/21
                                                                                 Sale Price:     465,000
                                                                                 Sq. Ft.:        4,189

                                                                                 $ / Sq. Ft.:    111.01




                                                                                 Comparable Sale 6



                                                                                 Date of Sale:
                                                                                 Sale Price:
                                                                                 Sq. Ft.:

                                                                                 $ / Sq. Ft.:
                                                                                         20221031140104
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                                         LOCATION MAP ADDENDUM                      File #   USB-220506-02084-1

Borrower/Client   DIANA DAVOLI-TURNER
Property Address 265 Woodstream Dr
City   Springboro                       County Warren   State OH   Zip Code 45066

Lender U.S. Bank, N.A.
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                                              SKETCH ADDENDUM                       File #   USB-220506-02084-1

Borrower/Client   DIANA DAVOLI-TURNER
Property Address 265 Woodstream Dr
City   Springboro                       County Warren   State OH   Zip Code 45066

Lender U.S. Bank, N.A.
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                                              SKETCH ADDENDUM                       File #   USB-220506-02084-1

Borrower/Client   DIANA DAVOLI-TURNER
Property Address 265 Woodstream Dr
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Lender U.S. Bank, N.A.
                                                                                         20221031140104
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                                            PLAT MAP ADDENDUM                       File #   USB-220506-02084-1

Borrower/Client   DIANA DAVOLI-TURNER
Property Address 265 Woodstream Dr
City   Springboro                       County Warren   State OH   Zip Code 45066

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                                                                                                      20221031140104
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                                                        Aerial Map
                                                                                                 File #   USB-220506-02084-1

Borrower/Client   DIANA DAVOLI-TURNER
Property Address 265 Woodstream Dr
City   Springboro                       County Warren                State OH   Zip Code 45066

Lender U.S. Bank, N.A.
                                                                                                     20221031140104
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                                                   Kevins License
                                                                                                File #   USB-220506-02084-1

Borrower/Client   DIANA DAVOLI-TURNER
Property Address 265 Woodstream Dr
City   Springboro                       County Warren               State OH   Zip Code 45066

Lender U.S. Bank, N.A.
                                                                                                                      20221031140104
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                                                                      E AND O 2022 2023
                                                                                                                 File #   USB-220506-02084-1

                     Borrower/Client   DIANA DAVOLI-TURNER
                     Property Address 265 Woodstream Dr
                     City   Springboro                       County Warren           State OH   Zip Code 45066

                     Lender U.S. Bank, N.A.




FNCNETklimqf1i54
SwlylpUOg6gA2TG
nxif/e7abgMI7KfNR
xCAUNcd/LJ69icTo
Ai/zi7qICVEqDCd7
8NXcNyuCGv8bkR
2xSpv6GnSqut1a1
       ZGgRFT
+nRLInN4qs36iyUI
mFqMduALWBAk3
      uszh4fn5
+ytXz55vcSwQV85
hLp5/aXvag7CvaM
ZAS/euhoMiPgTvU
 RYgAsgWYdA67Y
 1kcTI7xw4V5Nb/Z
  BDfv8aJIMTeCvV
    WxwhFWx0T
 +z5YYeAYGaNHh
MiNKl6AiGM8HjTH
   q5fpJRQdeg0k
+f4zyQPNy3ytjGGe
 vPGHIqwsKfCH9v
CCO4fonVTEOC62
sd7imwknxIdPvgsx
 4/yt/9aWXAIxYrKo
KKlqLK5Y0bTOuIe
 qskHOlauT/FlDTrL
          XTr
 +MBr3IJkVjbpc9JL
o76sRK06l1jp0nyD
bjRXISKeqCbkjiSjZ
SsnYP1K/aAduK3v
      agIvwNXc
  +LDdBy1UpPds1
+6lDkTCRF9UwdQ
 nyzmmbXGwtHtxF
           3
 +J3QZczyGvIq4fiL
Hoaw/f3EYbBc2Op
 0DYCncSk0/zPgjJ
 wlR5zluQYmCTBF
 37gcHaUoEm1Wv
  SW/WX1JthdDzIq
QzZ45v3ijX0w6Ys4
  KJTroK78X7HZ62
Nmn1jk4Ama4Ge7
    05WwM3ADH
+KD7/ArY0TX0BZo
    0SftHsZEGoP
+OysGvJBYOkKhR
y/rUX5qjeJ5fmKrvz
s2gdXhJZjTgosgu1
 Vafi5DumNYFapj8
 2cQmRcLbMFyuJI
 SnDKEoRY27EQ4
 XjmxCvKpEO78hc
 YCQPttsV4EHvGg
b7vKPNfwEzzk5Zg
  OSpPJHPsku5lSe
BSwuZJ8TcB/HLj7
HxGFuXcOtVC0Cg
CS9DYDNafuffn7M
        0STSB
+xz8tg5l6fjn74AmJ
 qLw3gAwWKGQN
         GGX
+aGLGZKvQM0Q2
 RX7E0mILTKdGqf
          Gkq
+I07mnMQZOkc0gl
IkqVUurPKtdzHYR/
       PHfLx6F
+ESuJHR3FHLHrF
sI5Flq1F5lGVfKgjsl
FPoFEyPeiFW9l5g
QsLGtghkEpq7x9Q
LKNxhSgQdMjbEcl
0zXYJm1M4nz1q5
yrOqGmu5P09fALI
       gJz/WB
+TVkTwvYQMkVfJ
Xiniz6FMTLf1JPsU
85e9P7m1OWyHQ
 nl4Ls7cY1IltBze16
RzHZAIM6PdR5ZN
erOOCR8V/RYfBO
1mh3vEfv1GLVzUz
 C0wI9Lf80XVNyVf
         oNbY
 +61NTDx8W4jFu4
SPcd4NYNvo8Q62
 Wyv8Dl6bBg0866/
CiP2B5e8aC6YqZ3
d96mmEt1QqSyi6p
ofWJIi8lxbEeYk3sz
 jL4ln7YailWgTk4M
 oFMqGsd1yrCkbB
0SuF1tV9A9Jgh1a
 EoPwb1kzGCA8pi
           h
 +EIp8FT5duVsW1
         7Cjfj
 +7o/nDfdjlQLL2JD
 XMv6E1FkeEx4By
FY0h7Hjy4UeZz2S
 hIdYpj7pylZQg9ys
GqK0VH1iP2LrS8u
 cOfaUhy62u7Sz1x
           4f
  +DxLs3vJNrzvzop
+scVgrQIguQWylKl
 VDJzawBOK6AAY
8TE0VCrZuqb0/Pm
wi9wAzbMQgS/WV
  Fr9v2I3SegFVMM
                                                                         20221031140104
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                      EXHIBIT #4 – The Whitewashed Appraisal




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                     EXHIBIT #5 – U.S. Bank HELOC Documents




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                                                                                            LINDA ODA
                                                                                      WARREN COUNTY RECORDER.
                                                                                            2022-020006
                                                                                                   MTG
                                                                                        06/15/2022 10:49:43 AM
                                                                                         REC FEE: 82.00 PGS: 8
                                                                                                   PIN:




        by EO 8pgs
      Return To: Radian Settlement Services Inc.
      1000 GSK Drive, Suite 210
      Coraopolis, PA 15108




                                       Open-End Mortgage
                                        With Future Advance Clause

     The date of this Mortgage ( "Security Instrument") is June 9, 2022.
      Mortgagor                                            Lender
      DIANA DAVOLI-TURNER AND CARLOS                       U.S. BANK NATIONAL ASSOCIATION
      TURNER, MARRIED TO EACH OTHER                        Organized and existing under the laws of the
      265 WOODSTREAM DR                                    United States
      SPRINGBORO, OH 45066                                 425 WALNUT STREET
                                                           CINCINNATI, OH 45202

      1. Conveyance. For good and valuable consideration, the receipt and sufficiency of which is
      acknowledged, upon the statutory condition, and to secure the Secured Debt (defined below) and
      Mortgagor's performance under this Security Instrument, Mortgagor grants, bargains, conveys and
      mortgages to Lender, with mortgage covenants, the following described property:
      SITUATED IN SECTION 3, TOWN 2, RANGE 5 BTM, CLEARCREEK TOWNSHIP, CITY OF
      SPRINGBORO, COUNTY OF WARREN, STATE OF OHIO AND BEING LOT NUMBERED 88
      THE SPRINGS SECTION THREE, AS RECORDED IN PLAT BOOK 77, PAGES 49-51, OF THE
      PLAT RECORDS OF SAID COUNTY.
      Parcel ID Number: 0403173004          EO
      The property is located in WARREN County at 265 WOODSTREAM DRIVE, SPRINGBORO, Ohio
      45066.
      Together with all rights, easements, appurtenances, royalties, mineral rights, oil and gas rights,
      all water and riparian rights, ditches, and water stock and all existing and future improvements,
      structures, fixtures, and replacements that may now, or at any time in the future, be part of the real
      estate described above (all referred to as "Property").
      2. Maximum Obligation Limit. The total principal amount secured by this Security Instrument
      at any one time shall not exceed $34,363.00. This limitation of amount does not include interest and
      other fees and charges validly made pursuant to this Security Instrument. Also, this limitation does not
      apply to advances made under the terms of this Security Instrument to protect Lender's security and to
      perform any of the covenants contained in this Security Instrument.




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     3. Secured Debt and Future Advances. The term "Secured Debt" is defined as follows:
        (A)Debt incurred under the terms of all promissory note(s), contract(s), guaranty(ies) or other
           evidence of debt described below and all their extensions, renewals, modifications or
           substitutions.
           The credit agreement signed by DIANA DAVOLI-TURNER (the "Borrower") ana dated the
           same date as this Security Instrument (the "Note"). Under the Note, the Lender agrees, subject
           to certain terms, conditions and limitations, to make advances to the Borrower in a principal
           amount outstanding not to exceed Thirty four thousand three hundred sixty-three and 00/100
           Dollars (U.S. $34,363.00). Borrower has promised to pay this debt with interest in regular
           periodic payments and to pay the debt in full not later than June 15, 2052.
        (B)AII future advances from Lender to Mortgagor or other future obligations of Mortgagor to
           Lender under any promissory note, contract, guaranty, or other evidence of debt executed
           by Mortgagor in favor of Lender after this Security Instrument whether or not this Security
           Instrument is specifically referenced. If more than one person signs this Security Instrument,
           each Mortgagor agrees that this Security Instrument will secure all future advances and future
           obligations that are given to or incurred by any one or more Mortgagor, or any one or more
           Mortgagor and others. All future advances and other future obligations are secured by this
           Security Instrument even though all or part may not yet be advanced. All future advances and
           other future obligations are secured as if made on the date of this Security Instrument. Nothing
           in this Security Instrument shall constitute a commitment to make additional or future loans or
           advances in any amount. Any such commitment must be agreed to in a separate writing.
        (C)AII other obligations Mortgagor owes to Lender, which may later arise, to the extent not
           prohibited by law, including, but not limited to, liabilities for overdrafts relating to any deposit
           account agreement between Mortgagor and Lender.
        (D)AII additional sums advanced and expenses incurred by Lender for insuring, preserving or
           otherwise protecting the Property and its value and any other sums advanced and ~xpenses
           incurred by Lender under the terms of this Security Instrument.
     In the event that Lender fails to provide any required noti~e of the right ofrescission, Lender waives
     any subsequent security interest in the Mortgagor's principal dwelling that is created by this Security
     Instrument.
     This Security Instrument will not secure any other debt if Lender fails, with respect to that other debt,
     to fulfill any necessary requirements or to conform to any limitations of Regulation Zand X that are
     required for loans secured by the Property.
     4. Mortgage Covenants. Mortgagor agrees that the covenants in this section are material
     obligations under the Secured Debt and this Security Instrument. If Mortgagor breaches any covenant
     in this section, Lender may refuse to make additional extensions of credit and reduce the credit limit.
     By not exercising either remedy on Mortgagor's breach, Lender does not waive Lender's right to later
     consider the event a breach if it happens again.
        Payments. Mortgagor agrees that all payments under the Secured Debt will be paid when due and
        in accordance with the terms of the Secured Debt and this Security Instrument.
        Prior Security Interests. With regard to any other mortgage, deed of trust, security agreement
        or other lien document that created a prior security interest or encumbrance on the Property,
        Mortgagor agrees to make all payments when due and to perform or comply with all covenants.
        Mortgagor also agrees not to allow any modification or extension of, nor to request any future
        advances under any note or agreement secured by the lien document without Lender's prior written
        approval.
        Claims Against Title. Mortgagor will pay all taxes, assessments, liens, encumbrances, lease
        payments, ground rents, utilities, and other charges relating to the Property when due. Lender may
        require Mortgagor to provide to Lender copies of all notices that such amounts are due and the
        receipts evidencing Mortgagor's payment. Mortgagor will defend title to the Property against any
        claims that would impair the lien of this Security Instrument. Mortgagor agrees to assign to Lender,
        as requested by Lender, any rights, claims or defenses Mortgagor may have against parties who
        supply labor or materials to maintain or improve the Property. Lender is authorized to do all things
        provided to be done by a mortgagee under section 1311.14 of the Ohio Revised Code.




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        Property Condition, Alterations and Inspection. Mortgagor will keep the Property in good
        condition and make all repairs that are reasonably necessary. Mortgagor shall not commit or allow
        any waste, impairment, or deterioration of the Property. Mortgagor agrees that the nature of the
        occupancy and use will not substantially change without Lender's prior written consent. Mortgagor
        will not permit any change in any license, restrictive covenant or easement without Lender's prior
        written consent. Mortgagor will notify Lender of all demands, proceedings, claims and actions
        against Mortgagor, and of any loss or damage to the Property.
        Lender or Lender's agents may, at Lender's option, enter the Property at any reasonable time for the
        purpose of inspecting the Property. Lender shall give Mortgagor notice at the time of or before an
        inspection specifying a reasonable purpose for the inspection. Any inspection of the Property shall
        be entirely for Lender's benefit and Mortgagor will in no way rely on Lender's inspection.
        Authority to Perform. If Mortgagor fails to perform any duty or any of the covenants contained
        in this Security Instrument, Lender may, without notice, perform or cause them to be performed.
        Mortgagor appoints Lender as attorney in fact to sign Mortgagor's name or pay any amount
        necessary for performance. Lender's right to perform for Mortgagor shall not create an obligation to
        perform, and Lender's failure to perform will not preclude Lender from exercising any of Lender's
        other rights under the law or this Security Instrument.
        Assignment of Leases and Rents. Mortgagor irrevocably grants, bargains, conveys and
        mortgages to Lender as additional security all the right, title and interest in and to any and all
        existing or future leases, subleases, and any other written or verbal agreements for the use and
        occupancy of any portion of the Property, including any extensions, renewals, modifications or
        substitutions of such agreements (all referred to as "Leases") and rents, issues and profits (all
        referred to as "Rents"). In the event any item listed as Leases or Rents is determined to be personal
        property, this Assignment will also be regarded as a security agreement. Mortgagor will promptly
        provide Lender with true and correct copies of all existing ~nd future Leases. Mortgagor may
        collect, receive, enjoy and use the Rents so long as Mortgagor is not in default under the terms of
        this Security Instrument.
        Mortgagor agrees that this assignment is immediately effective between the parties to this
        assignment and effective as to third parties on Mortgagor's default when Lender takes actual
        possession of the Property, when a receiver is appointed, when Lender commences a foreclosure
        on the Property or as the law otherwise provides, and this assignment will remain effective during
        any redemption period until the Secured Debt is satisfied. Mortgagor agrees that Lender may
        take actual possession of the Property without the necessity of commencing any legal action or
        proceeding and Mortgagor agrees that actual possession of the Property is deemed to occur when
        Lender notifies Mortgagor of the default and demands that Mortgagor and Mortgagor's tenants pay
        all Rents due and to become due directly to Lender. On receiving notice of default, Mortgagor will
        endorse and deliver to Lender any payment of Rents in Mortgagor's possession and will receive
        any Rents in trust for Lender and will not commingle the Rents with any other funds. Any amounts
        collected will be applied as provided in this Security Instrument. Mortgagor warrants that no
        default exists under the Leases or any applicable landlord/tenant law. Mortgagor also agrees to
        maintain and require any tenant to comply with the terms of the Leases and applicable law.
        Leaseholds; Condominiums; Planned Unit Developments. Mortgagor agrees to comply
        with the provisions of any lease if this Security Instrument is on a leasehold. If the Property
        includes a unit in a condominium or a planned unit development, Mortgagor will perform all of
        Mortgagor's duties under the covenants, by-laws, or regulations of the condominium or planned
        unit development.
        Condemnation. Mortgagor will give Lender prompt notice of any pending or threatened action,
        by private or public entities to purchase or take any or all of the Property through condemnation,
        eminent domain, or any other means. Mortgagor authorizes Lender to intervene in Mortgagor's
        name in any of the above described actions or claims. Mortgagor assigns to Lender the proceeds
        of any award or claim for damages connected with a condemnation or other taking of all or any
        part of the Property. Such proceeds shall be considered payments and will be applied as provided in
        this Security Instrument. This assignment of proceeds is subject to the terms of any prior mortgage,
        deed of trust, security agreement or other lien document.




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        Insurance. Mortgagor shall keep Property insured against loss by fire, flood, theft and other
        hazards and risks reasonably associated with the Property due to its type and location. This
        insurance shall be maintained in the amounts and for the periods that Lender requires. What Lender
        requires pursuant to the preceding two sentences can change during the term of the Secured Debt.
        The insurance carrier providing the insurance shall be chosen by Mortgagor subject to Lender's
        approval, which shall not be unreasonably withheld. If Mortgagor fails to maintain the coverage
        described above, Lender may, at Lender's option, obtain coverage to protect Lender's rights in the
        Property according to the terms of this Security Instrument.
        All insurance policies and renewals shall be acceptable to Lender and shall include a standard
        "mortgage clause" and, where applicable, "loss payee clause". Mortgagor shall immediately
        notify Lender of cancellation or termination of the insurance. Lender shall have the right to hold
        the policies and renewals. If Lender requires, Mortgagor shall immediately give to Lender all
        receipts of paid premiums and renewal notices. Upon loss, Mortgagor shall give immediate notice
        to the insurance carrier and Lender. Lender may make proof of loss if not made immediately by
        Mortgagor.
        Unless otherwise agreed in writing, all insurance proceeds shall be applied to the restoration or
        repair of the Property or to the Secured Debt, whether or not then due, at Lender's option. Any
        application of proceeds to principal shall not extend or postpone the due date of the scheduled
        payment nor change the amount of any payment. Any excess will be paid to the Mortgagor. If the
        Property is acquired by Lender, Mortgagor's right to any insurance policies and proceeds resulting
        from damage to the Property before the acquisition shall pass to Lender to the extent of the Secured
        Debt immediately before the acquisition.
        Financial Reports and Additional Documents. Mortgagor will provide to Lender upon
        request, any financial statement or information Lender may deem reasonably necessary. Mortgagor
        agrees to sign, deliver, and file any additional documents or certifications that Lender may consider
        necessary to perfect, continue, and preserve Mortgagor's obligations under this Security Instrument
        and Lender's lien status on the Property.
     5. Due on Sale. Lender may, at its option, declare the entire balance of the Secured Debt to be
     immediately due and payable upon the creation of, or contract for the creation of, a transfer or sale
     of all or any part of the Property. This right is subject to the restrictions imposed by federal law, as
     applicable.
     6. Warranties and Representations. Mortgagor has the right and authority to enter into this
     Security Instrument. The execution and delivery of this Se9urity Instrument will not violate any
     agreement governing Mortgagor or to which Mortgagor is a party.
     7. Default. Mortgagor will be in default if any of the following occur:
        Fraud. Any Borrower engages in fraud or material misrepresentation in connection with the
        Secured Debt that is an open end home equity plan.
        Payments. Any Borrower on any Secured Debt that is an open end home equity plan fails to
        make a payment when due.
        Property. Any action or inaction by Borrower or Mortgagor occurs that adversely affects the
        Property or Lender's rights in the Property. This includes, but is not limited to, the following:
        (a) Mortgagor fails to maintain required insurance on the Property; (b) Mortgagor transfers the
        Property; (c) Mortgagor commits waste or otherwise destructively uses or fails to maintain the
        Property such that the action or inaction adversely affects Lender's security; (d) Mortgagor fails
        to pay taxes on the Property or otherwise fails to act and thereby causes a lien to be filed against
        the Property that is senior to the lien of this Security Instrument; (e) a sole Mortgagor dies; (f)
        if more than one Mortgagor, any Mortgagor dies and Lender's security is adversely affected; (g)
        the Property is taken through eminent domain; (h) a judgment is filed against Mortgag9r and
        subjects Mortgagor and the Property to action that adversely affects Lender's interest; or (i) a prior
        lienholder forecloses on the Property and as a result, Lender's interest is adversely affected.
        Executive Officers. Any Borrower is an executive officer of Lender or an affiliate and such
        Borrower becomes indebted to Lender or another lender in an aggregate amount greater than the
        amount permitted under federal laws and regulations.




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     8. Remedies on Default. In addition to any other remedy available under the terms of this Security
     Instrument, Lender may accelerate the Secured Debt and foreclose this Security Instrument in a
     manner provided by law if Mortgagor is in default. In some instances, federal and state law will
     require Lender to provide Mortgagor with notice of the right to cure, or other notices and may
     establish time schedules for foreclosure actions.
     At the option of the Lender, all or any part of the agreed fees and charges, accrued interest and
     principal shall become immediately due and payable, after giving notice if required by law, upon
     the occurrence of a 4efault or anytime thereafter. The acceptance by Lender of any sum in payment
     or partial payment on the Secured Debt after the balance is due or is accelerated or after foreclosure
     proceedings are filed shall not constitute a waiver of Lender's right to require complete cure of
     any existing default. By not exercising any remedy on Mortgagor's default, Lender does not waive
     Lender's right to later consider the event a default if it happens again.
     9. Expenses; Advances on Covenants; Attorneys' Fees; Collection Costs. lfMortgagor
     breaches any covenant in this Security Instrument, Mortgagor agrees to pay all expenses Lender incurs
     in performing such covenants or protecting its security interest in the Property. Such expenses include,
     but are not limited to, fees incurred for inspecting, preserving, or otherwise protecting the Property
     and Lender's security interest. These expenses are payable on demand and will bear interest from the
     date of payment until paid in full at the highest rate of interest in effect as provided in the terms of
     the Secured Debt. Mortgagor agrees to pay all costs and expenses incurred by Lender in collecting,
     enforcing or protecting Lender's rights and remedies under this Security Instrument. This amount
     may include, but is not limited to, attorneys' fees, court costs, and other legal expenses. To the extent
     permitted by the United States Bankruptcy Code, Mortgagor agrees to pay the reasonable attorneys'
     fees Lender incurs to collect the Secured Debt as awarded by any court exercising jurisdiction under
     the Bankruptcy Code. This Security Instrument shall remain in effect until released. Mortgagor agrees
     to pay for any recordation costs of such release.
     10. Environmental Laws and Hazardous Substances. As used in this section, (I)
     "Environmental Law" means, without limitation, the Comprehensive Environmental Response,
     Compensation and Liability Act (CERCLA, 42 U.S.C. 9601 et seq.), and all other federal, state
     and local laws, regulations, ordinances, court orders, attorney general opinions or interpretive
     letters concerning the public health, safety, welfare, environment or a hazardous substance; and (2)
     "Hazardous Substance" means any toxic, radioactive or hazardous material, waste, pollutant or
     contaminant which has characteristics which render the subs~nce dangerous or potentially dangerous
     to the public health, safety, welfare or environment. The term includes, without limitation, any
     substances defined as "hazardous material," "toxic substances," "hazardous waste" or "hazardous
     substance" under any Environmental Law.
      Mortgagor represents, warrants and agrees that:
        (A)Except as previously disclosed and acknowledged in writing to Lender, no Hazardous
            Substance is or will be located, stored or released on or in the Property. This restriction does
            not apply to small quantities of Hazardous Substances that are generally recognized to be
            appropriate for the normal use and maintenance of the Property.
        (8) Except as previously disclosed and acknowledged in writing to Lender, Mortgagor- and every
            tenant have been, are, and shall remain in full compliance with any applicable Environmental
            Law.
        (C) Mortgagor shall immediately notify Lender if a release or threatened release of a Hazardous
            Substance occurs on, under or about the Property or there is a violation of any Environmental
            Law concerning the Property. In such an event, Mortgagor shall take all necessary remedial
            action in accordance with any Environmental Law.
        (D)Mortgagor shall immediately notify Lender in writing as soon as Mortgagor has reason to
            believe there is any pending or threatened investigation, claim, or proceeding relating to the
            release or threatened release of any Hazardous Substance or the violation of any Environmental
            Law.
     11. Escrow for Taxes and Insurance. Mortgagor will pay to Lender amounts for (a) yearly taxes
     and assessments on the Property which under the law may be superior to this Security Instrument,
     (b) yearly leasehold payments or ground rents (if any), (c) yearly premiums for hazard or property
     insurance, (d) yearly premiums for flood insurance (if any), and (e) yearly premiums for mortgage




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     insurance (if any). Mortgagor will pay those amounts to Lender unless Lender tells Mortgagor, in
     writing, that Mortgagor does not have to do so, or unless the law requires otherwise. Mortgagor will
     make those payments at the times required by Lender.
     Lender will estimate from time to time Mortgagor's yearly taxes, assessments, leasehold payments
     or ground rents and insurance premiums, which will be called the ''Escrow Items". Lender will use
     existing assessments and bills and reasonable estimates of future assessments and bills. The amounts
     that Mortgagor pays to Lender for Escrow Items under this section will be called the "Funds". Lender
     will collect and hold Funds in an amount not to exceed the maximum amount a lender for a federally
     related mortgage loan may require for Mortgagor's escrow account under the federal Real Estate
     Settlement Procedures Act of 1974 (as amended), unless another law that applies to the Funds sets a
     lesser amount. If so, Lender will collect and hold Funds in the lesser amount.
     Lender will keep the Funds in a savings or banking institution which has its deposits or accounts
     insured or guaranteed by a federal or state agency. If Lender is such an institution, Lender may hold
     the Funds. Lender will use the Funds to pay the Escrow Items. Lender will give Mortgagor, without
     charge, an annual accounting of the Funds. That accounting must show all additions to and deductions
     from the Funds and the reason for each deduction.
     Lender may not charge Mortgagor for holding or keeping the Funds, for using the Funds to pay
     Escrow Items, for analyzing Mortgagor's payments of Funds, or for receiving, verifying and totaling
     assessments and bills. However, Lender may charge Mortgagor for these services if Lender pays
     Mortgagor interest on the Funds and if the law permits Lender to make such a charge. Lender may
     require Mortgagor to pay a one-time charge for an independent real estate tax reporting service used
     by Lender in accordance with the Secured Debts, unless applicable law provides otherwise. Lender
     will not be required to pay Mortgagor any interest or earnings on the Funds unless either (i) Lender
     and Mortgagor agree in writing, at the time Mortgagor signed this Security Instrument, that Lender
     will pay interest on the Funds; or (ii) the law requires Lender to pay interest on the Funds.
     If the Funds held by Lender exceed the amounts permitted to be held by applicable law, Lender will
     account to borrower for the excess Funds in accordance with the requirements of applicable law. If the
     amount of the funds held by Lender at any time is not sufficient to pay the Escrow Items when due,
     Lender may notify borrower in writing, and, in such case, borrpwer will pay to Lender the amount
     necessary to make up the shortage or deficiency. Borrower shall make up the shortage or deficiency as
     Lender directs, subject to the requirements of applicable law.
     If, by reason of any default under this Security Instrument, Lender declares all Secured Debts due and
     payable, Lender may then apply any Funds against the Secured Debts.
     When Mortgagor has paid all of the sums secured, Lender will promptly refund to Mortgagor any
     Funds that are then being held by Lender.
     12. Joint and Individual Liability; Co-Signers; Successors and Assigns Bound. All
     duties under this Security Instrument are joint and individual. If Mortgagor signs this Security
     Instrument but does not sign an evidence of debt, Mortgagor does so only to mortgage Mortgagor's
     interest in the Property to secure payment of the Secured Debt and Mortgagor does not agree to be
     personally liable on the Secured Debt. If this Security Instrument secures a guaranty between Lender
     and Mortgagor, Mortgagor agrees to waive any rights that may prevent Lender from bringing any
     action or claim against Mortgagor or any party indebted under the obligation. These rights may
     include, but are not limited to, any anti-deficiency or one-action laws. The duties and benefits of this
     Security Instrument shall bind and benefit the successors and assigns of Mortgagor and Lender.
     13. Severability; Interpretation. This Security Instrument is complete and fully integrated.
     This Security Instrument may not be amended or modified by oral agreement. Any section in this
     Security Instrument, attachments, or any agreement related to the Secured Debt that conflicts with
     applicable law will not be effective, unless that law expressly or impliedly permits the variations by
     written agreement. If any section of this Security Instrument cannot be enforced according to its terms,
     that section will be severed and will not affect the enforceability of the remainder of this Security
     Instrument. Whenever used, the singular shall include the plural and the plural the singular. The
     captions and headings of the sections of this Security Instrument are for convenience only.and are not
     to be used to interpret or define the terms of this Security Instrument. Time is of the essence in this
     Security Instrument.




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     14. Notice. Unless otherwise required by law, any notice shall be given by delivering it er by mailing
     it by first class mail to the appropriate party's address in this Security Instrument, or to any other
     address designated in writing. Notice to one mortgagor will be deemed to be notice to all mortgagors.
     15. Waivers. Except to the extent prohibited by law, Mortgagor waives all rights of appraisement,
     marshalling of liens and assets, and homestead exemption rights relating to the Property. Mortgagor
     does hereby remise, release, and forever quitclaim all their right and title of dower in the Property to
     Lender.
     16. Line of Credit. The Secured Debt includes a revolving line of credit. Although the Secured Debt
     may be reduced to a zero balance, this Security Instrument will remain in effect until released.
     17. Applicable Law. This Security Instrument shall be governed by Federal law and the law of the
     jurisdiction in which the Property is located.
     18. Riders. The covenants and agreements of each of the riders checked below are incorporated into
     and supplement and amend the terms of this Security instrument.
     [Check all applicable boxes]
     D Assignment of Leases and Rents D Other: _ _ _ _ _ _ _ _ _ __
     19. o Additional Terms. _ _ _ _ _ _ _ _ __
      Signatures
     By signing below, Mortgagor agrees to the terms and covenants contained in this Security.Instrument
     and in any attachments. Mortgagor also acknowledges receipt of a copy of this Security Instrument on
     the date stated in this Security Instrument.

     Mortgagor




     Acknowledgment
     State of Ohio
     County of WARREN
     No oath or affirmation was administered to the signer with regar to this acknowledgment.
     This instrument was acknowledged before me on ____;;:D~b~O__:.q-1--=2/i)_,'----"=-=2;___ _ by DIANA
     DAVOLI-TURNER .




      (Print Name)                 ~ /
      My commission expires:     0J b1~G~)




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     Acknowledgment
     State of Ohio
     County of WARREN
     No oath or affirmation was administered to the signer wit regard to this acknowledgment.
     This instrument was acknowled                     ____;:_O_b_,__o....;..1,-._;2:..._0_2_2_ _ bycARLos
     TURNER.




     (Print Name)                 /\fl j             _
     My commission expires:       <AJ//b /_!&,..,S
     This instrument was prepared by: Meghan M Joyce
     425 Walnut Street
     Cincinnati, OH 45202




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